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                          EXHIBIT A
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                                   Texas Complaints Notice



                               Have a complaint or need help?

If you have a problem with a claim or your premium, call your insurance company or HMO
first. If you can’t work out the issue, the Texas Department of Insurance may be able to
help.




CE
Even if you file a complaint with the Texas Department of Insurance, you should also file a
complaint or appeal through your insurance company or HMO. If you don’t, you may lose your
right to appeal.




                       RT
AmRisc, LLC
To get information or file a complaint with your insurance company or HMO:
       Call: Complaints Department at 252-247-8760




                                              IF
       Toll-free: 877-284-4900
       Online: www.AmRISC.com
       Email: Complaints@AmRISC.com




                                                           IE
       Mail:   AmRISC, LLC
               Complaints Department
               20405 State Highway 249, Suite 430




                                                             D
               Houston, TX 77070


The Texas Department of Insurance
To get help with an insurance question or file a complaint with the state:
       Call with a question: 1-800-252-3439
       File a complaint: www.tdi.texas.gov
       Email: ConsumerProtection@tdi.texas.gov
       Mail: MC 111-1A, P.O. Box 149091, Austin, TX 78714-9091




LMA9080D
06 January 2020
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                             TEXAS SURPLUS LINES NOTICE

 This insurance contract is with an insurer not licensed to transact insurance in this state
 and is issued and delivered as surplus line coverage under the Texas insurance statutes.
 The Texas Department of Insurance does not audit the finances or review the solvency of
 the surplus lines insurer providing this coverage, and the insurer is not a member of the
 property and casualty insurance guaranty association created under Chapter 462,
 Insurance Code. Chapter 225, Insurance Code, requires payment of a 4.85% percent tax on
 gross premium.




CE
                     RT
 LMA9079
 September 1, 2013




                                           IF
                                                           IE
                                                             D
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This Declaration Page is attached to and forms part of Certificate Provisions.
 Previous Account No.      NEW                                                                           Account ID 941662
 Name and address of the Insured                                                         Producer
 Eduro Healthcare LLC                                                                    CRC Group
 206 West P Street                                                                       800 5th Avenue Suite 1600
 Deer Park, TX 77536                                                                     Seattle, WA 98104
   Effective From                          02/15/2022            To              02/15/2023        ;
   Both days at 12:01 a.m. standard time at the Insured's mailing address.
   Insurance is effective with: Insurer(s) as stated on Form AR CA - Contract Allocation Endorsement
This Policy consists of the following coverage parts for which a premium is indicated -




          CE
This premium may be subject to adjustment.
COMMERCIAL PROPERTY COVERAGE PART                                              Certificate/Policy No.                            Premium


Certain Underwriters at Lloyds, London                                         AMR-78036                   Property     $
 One Lime Street, London EC3M 7HA                                                                          TRIA         $            0
 c/o Thompson Heath and Bond Limited, 107 Leadenhall Street, London EC3A 4AF




            RT
QBE Specialty Insurance Company                                                MSP-37937                   Property     $
 88 Pine Street, 16th Floor, Wall Street Plaza                                                             TRIA         $            0
 New York, NY 10005




                                                                         IF
                                                                            IE
                                                                              D
                                                                                                   Inspection Fee       $


                                                                                                   Total                $
Minimum Earned Premium =



   Dated                          03/07/22                 By
                                                                  Correspondent and/or Program Manager for the Company(ies)
                                                                  AmRisc, LLC, 20405 SH 249, Suite 430, Houston, TX 77070

State stamp if applicable                                The Correspondent and/or Program Manager is not an Insurer hereunder and neither
CERTCO 01 19                                             is nor shall be liable for any loss or claim whatsoever.
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              SCHEDULE OF FORMS AND ENDORSEMENTS
Account No.            NAMED INSURED
941662                 Eduro Healthcare LLC

                                      Forms and Endorsements

LMA 9080D 01 06 20            TEXAS COMPLAINTS NOTICE
LMA 9079 09 01 13             TEXAS SURPLUS LINES NOTICE
CERTCO 01 19                  DECLARATION PAGE




       CE
FORMS SCHEDULE                SCHEDULE OF FORMS AND ENDORSEMENTS
CHANGE END PAGE               POLICY ENDORSEMENT PAGE
CP 12 05 11 85                SUPPLEMENTAL DECLARATIONS
AR CA 03 18                   CONTRACT ALLOCATION ENDORSEMENT
AR CCP 01 17                  CAT COVERED PROPERTY ENDORSEMENT
IL 00 17 11 98                COMMON POLICY CONDITIONS




                         RT
CP 00 90 07 88                COMMERCIAL PROPERTY CONDITIONS
AROL PE 04 20                 ONLINE PROPERTY ENDORSEMENT
LLOYDS SOS 10 19              LLOYDS OF LONDON AMENDATORY ENDT
IL-2002 12-21                 QBE SERVICE OF PROCESS ENDT
VRS COS SOS – 09 21           VARIOUS COMPANIES SERVICE OF SUIT CLAUSES ENDT
PN CW 01 0122                 FRAUD NOTICE




                                               IF
U-GU-1041-A LMA3100           OFAC NOTICE AND SANCTION LIMITATION CLAUSES
AR CYNS 08 14                 CALENDAR YEAR NAMED STORM DEDUCTIBLE
UE&O-1 07 08                  UNINTENTIONAL ERRORS AND OMISSIONS
CP 00 32 10 12                BUSINESS INCOME WITHOUT EXTRA EXPENSE COVERAGE FORM




                                                               IE
CP 00 50 10 12                EXTRA EXPENSE COVERAGE FORM
AR 03 21L 11 05               VALUES PER LOCATION WINDSTORM OR HAIL PERCENTAGE DEDUCTIBLE ENDT
AR 04 05 07 08                ORDINANCE OR LAW COVERAGE ENDT
SP 05 98                      SPECIFIED PERILS EXCLUSIONS ENDORSEMENT
CP 00 99 10 12                STANDARD PROPERTY POLICY




                                                                 D
AR CAC 01 20                  CONTACT AND COMPLAINTS NOTICE
AR TRIA EXCL 03 21            EXCLUSION OF CERTIFIED ACTS OF TERRORISM ENDT
AR EPE 08 18                  ENHANCEMENT PLUS ENDORSEMENT
CP 15 31 10 12                ORDINANCE OR LAW - INCREASED PERIOD OF RESTORATION




                                   Additional Miscellaneous Forms




 Forms Schedule
             Case 4:23-cv-02626                Document 1-1             Filed on 07/19/23 in TXSD                   Page 6 of 96
(The Attaching Clause needs to be completed only when this endorsement is issued subsequent to preparation of the policy.)

                                                              ENDORSEMENT 1
This endorsement, effective on                   02/15/2022          , at 12:01 A.M. standard time, forms a part of:
Account No.        941662

Certain Underwriters at Lloyds, London                                                                             AMR-78036
QBE Specialty Insurance Company                                                                                    MSP-37937

Issued to:       Eduro Healthcare LLC
By:              See Contract Allocation Endorsement AR CA




         CE
      1. The following sublimit(s) shall apply:
                                                                                                        Authorized Representative




                                        RT
         $25,000  Per Occurrence as regards Extra Expense 40%; 80%; 100%
                  [per form CP 00 50]
      2. Replacement Cost Valuation shall apply as regards to 'Real & Personal Property';
         Except roof coverings to be Actual Cash Value if originally installed or last fully
         replaced prior to 2007.
      3. Coverage explicitly excludes all flooding, including but not limited to flooding




                                                                      IF
         during windstorm events.
      4. Coverage excludes all damage directly or indirectly caused by any Named Storm in
         existence upon AmRisc receipt of written request to bind.
      5. All Buildings with outstanding damage are excluded. Contact Underwriter if waiver
         needed.




                                                                                          IE
      6. The complete Named Insured listing, if applicable, is per schedule on file with
         AmRisc.
      7. Property damage coinsurance is waived.
      8. Item A.3.d. of Form CP 00 99 “Standard Property Policy” is deleted in its entirety




                                                                                            D
         and replaced with the following:

         A.3.d. Windstorm or Hail caused by or resulting from Named Storm, but not including:
         (1) Frost or cold weather;
         (2) Ice (other than hail), snow or sleet, whether driven by wind or not;
         (3) Loss or damage to the interior of any building or structure, or the property
         inside the building or structure, caused by rain, snow, sand or dust, whether driven
         by wind or not, unless the building or structure first sustains wind or hail damage
         to its roof or walls through which the rain, snow, sand or dust enters;
                    or
         (4) Loss or damage by hail to lawns, trees, shrubs or plants which are part of a
         vegetated roof.
      9. Warrant no losses last 3 years on properties to be covered unless specified in
         AmRisc Application - Statement of Values.
      10.Warrant no expiring AmRisc markets that are quoted herein unless exception by the
         underwriter.
      11.Warrant no Exterior Insulation and Finish Systems (EIFS) Construction.




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                                                                                                                           CP 12 05 11 85

                                      COMMERCIAL PROPERTY COVERAGE PART
                                         SUPPLEMENTAL DECLARATIONS
ACCOUNT NO. 941662                 COMPANY                                     See Contract Allocation Endorsement AR CA
NAMED INSURED Eduro Healthcare LLC
DESCRIPTION OF PREMISES GOV NURSING HOMES
PREM. NO.                BLDG. NO.                 LOCATION, CONSTRUCTION AND OCCUPANCY

ALL                      ALL                       Per schedule on file with Program Manager.




         CE
COVERAGES PROVIDED
PREM. NO. BLDG. NO.                COVERAGE             LIMITS OF INSURANCE            COVERED CAUSES OF LOSS       COINSURANCE* RATES
ALL           ALL      Real & Personal Property and Per schedule on file with Windstorm or Hail caused by               Waived
                       Business Income/Rents.       Program Manager; subject to or resulting from Named Storm
                                                    sublimits stated elsewhere Only.
                                                    in the policy; and based on
                                                    Total Insurable Values of
                                                    $6,234,778.




                                       RT
OPTIONAL COVERAGES                                                             *IF EXTRA EXPENSE COVERAGE, LIMITS ON LOSS PAYMENT
                    AGREED VALUE                                            REPLACEMENT COST (X)
PREM.   BLDG.
NO.     NO.         EXPIRATION DATE     COVERAGE       AMOUNT               BUILDING               PERSONAL PROPERTY INCLUDING "STOCK"
ALL     ALL                                                                 See Endorsement #1     See Endorsement #1




                                                                   IF
                    INFLATION GUARD (Percentage)                    *MONTHLY LIMIT OF            *MAXIMUM PERIOD         *EXTENDED PERIOD

                    BUILDING       PERSONAL PROPERTY              INDEMNITY (Fraction)          OF INDEMNITY (X)        OF INDEMNITY (Days)
ALL     ALL                                                                 1/12




                                                                                        IE
MORTGAGE HOLDERS                                                                                     *APPLIES TO BUSINESS INCOME ONLY
PREM. NO.              BLDG. NO.              MORTGAGE HOLDER NAME AND MAILING ADDRESS
ALL                    ALL                    All mortgage holders, lien holders, additional insureds, loss payees, and
                                              certificate holders are per schedule on file with Program Manager.




                                                                                          D
FORMS APPLICABLE TO SPECIFIC PREMISES/COVERAGES
PREM. NO.              BLDG. NO.                                COVERAGES                    FORM NUMBER




                                                                                                                          Hart Forms & Services
CP 12 05 11 85                          Copyright, ISO Commercial Risk Services, Inc., 1983, 1984                         Reorder No. 14-9026
                          Case 4:23-cv-02626                 Document 1-1                Filed on 07/19/23 in TXSD              Page 8 of 96
                                                                                                             Effective Date: 2/15/2022
           CONTRACT ALLOCATION ENDORSEMENT
This insurance is effected with certain insurance underwriters (hereinafter called the "Underwriters"). The following words shall be
deemed to be synonymous: "Underwriters", "Insurers" and "Company".
The liability of each Underwriter on this contract with the Insured is limited to the participation amount shown in the schedule below.
The liability of each separate contract listed and for each Underwriter represented thereby for any loss or losses or amounts payable
is several as to each and shall not exceed its participation percentage shown below and there is no joint liability of any Underwriters
pursuant to this contract. An Underwriter shall not have its liability hereunder increased or decreased by reason of failure or delay of
another Underwriter, its successors, assigns, or legal representatives. Any loss otherwise payable under the provisions of the
attached policy that exceeds the allocation of "Risk" as defined herein shall be bourne proportionately by the contracts as to their
limit of liability at the time and place of the loss bears to the total allocated limits herein.
This contract shall be constructed as a separate contract between the Insured and each of the Underwriters. This evidence of




                CE
coverage consists of separate sections of a composite insurance for all Underwriter's at Lloyd's combined and separate policies
issued by the insurance company(ies), all as identified below. This evidence of coverage does not constitute in any manner or form
a joint certificate of coverage by Underwriter's at Lloyd's with any other insurance company(ies).
In witness whereof, the following Underwriters execute and attest these presents, and subscribe for the amount of insurance
provided.
The security is as noted below.




                  RT
   LAYER OF PARTICIPITATION             PERILS (AS PER            CONTRACT #             COMPANY    POLICY # /           PARTICIPITATION             rate
                                           POLICY)                                         CODE    CERTIFICATE #
   $6,234,778 excess of   Deductibles        NW                  B123022AMR1269           Lloyds     AMR-78036       $5,299,561          85.0000%   $0.764
   $6,234,778 excess of   Deductibles        NW                       QBE22                QBE       MSP-37937       $935,217            15.0000%   $0.764




                    IF
                      IE
                                                                                                                            D

AR CA 03 18                                              Printed/Issued On:   3/7/2022                                            Page 1 of 3
                     Case 4:23-cv-02626                 Document 1-1               Filed on 07/19/23 in TXSD             Page 9 of 96
ALLOCATION OF LIABILITY:
The contracts herein cover mutually exclusive perils. The maximum limit of liability is not to exceed the per occurrence
participation stated herein, regardless of whether multiple perils and multiple contracts are involved. Recognition of liability
by either of the contracts reduces the limit of liability of any corresponding contract.

The liability otherwise determined to exist under the terms and conditions of this policy shall be bourne by the contract
covering the proximate cause of loss identified in the allocation of security. Any loss covered by the policy by a peril not
allocated to a contract herein shall be bourne by the contract covering the most comprehensive perils, generally in
accordance with the ISO Special Causes of Loss Contracts. The liability of the policy shall not be increased or decreased
by any condition of the allocation to specific contracts on this endorsement.

Covered perils shall be defined by the applicable forms attached to this policy or otherwise as per the industry standard
definition.




              CE
SYMBOLS USED HEREIN:             CAUSE OF LOSS          SYMBOL               CODE       COMPANY
                                                Basic   BA                   Lloyds     Certain Underwriters at Lloyds
                                               Broad    BR                     QBE      QBE Specialty Insurance Co.
                                              Special   SP




                RT
                                  All Risk excl F/Q     AR
                          Difference in Conditions      DIC
                               Windstorm and Hail       WH
                                Named Windstorm         NW
                              All Other Windstorm       AOW
                              Named Storm Flood         NF




                  IF
                                                Flood   F
                                   All Other Flood      AOF
                                       Earthquake       Q
                       Terrorism Coverages (T3)         T
         Certified Terrorism as Defined by TRIA,




                    IE
                                                        T1
                                         if available
                          Non-Certified Terrorism       T2
                           Equipment Breakdown          EBD
                                           Excluding    EXCL




                                                                                                                         D
                                            Including   INCL
         Cyber/Data Compromise or Cyber Suite           CYB

  "Risk" as per contract terms, shall be defined as follows:
                                  Risk                       Basis of Limits
                                   Flood and Earthquake         Any One Occurrence and Aggregate
                                      Named Windstorm           Any One Occurrence
                              Wind and Hail EXCL NW             Any One Occurrence
                            All Other Perils EXCL F, Q          Any One Occurrence
                                           T, T1 and T2         Any One Occurrence
                         Maximum "Risk" is defined as           Any One Occurrence

 This schedule forms a part of the original Account #                          941662

                              by




                                                Authorized Signature




AR CA 03 18                                        Printed/Issued On:   3/7/2022                                          Page 2 of 3
                  Case 4:23-cv-02626 Document 1-1 Filed on 07/19/23 in TXSD Page 10 of 96
                CERTAIN UNDERWRITER'S AT LLOYD'S, LONDON - Syndicate List

 If Certain Underwriter's at Lloyd's, London are listed as security on the Contract Allocation Endorsement attached to
 the policy, the list of syndicates is shown below:


              Account #: 941662

          Certificate #: AMR-78036


                            Syndicate Number           Syndicate Abbreviation




               CE
                                     510                            KLN
                                     1880                           TMK
                                     2987                           BRT
                                     609                            AUW
                                     1618                            KII
                                     727                            SAM




                 RT
                                     2988                           BRT
                                     1969                           APL




                   IF
                     IE
                                                                                                                D

AR CA 03 18                                    Printed/Issued On:   3/7/2022                                         Page 3 of 3
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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  CAT COVERED PROPERTY ENDORSEMENT

 This endorsement modifies insurance provided by all Underwriters, Carriers and Insurers of this
 policy (subject to the Contract Allocation Endorsement AR CA) under the following forms (if
 attached to this policy):

 BUILDING AND PERSONAL PROPERTY COVERAGE FORM




CE
 CONDOMINIUM ASSOCIATION COVERAGE FORM
 BUILDERS RISK COVERAGE FORM
 CAUSES OF LOSS – SPECIAL FORM
 STANDARD PROPERTY POLICY

 As used in this endorsement, the word “peril” is synonymous with “cause of loss”; and the term




                        RT
 “limit of liability” is synonymous with “limit of insurance”.

 As respects the Perils of Hurricane, Windstorm and Hail, the following is added to A.2 Property
 Not Covered in the BUILDING AND PERSONAL PROPERTY COVERAGE FORM CP 00 10,
 CONDOMINIUM ASSOCIATION COVERAGE FORM CP 00 17, BUILDERS RISK
 COVERAGE FORM CP 00 20 and STANDARD PROPERTY POLICY CP 00 99:




                                                    IF
 PROPERTY NOT COVERED

 1. We do not cover:




                                                                      IE
    a.    Other structures

            We do not cover other structures on the Described Location set apart from the building by clear
            space. This includes structures connected to the building or mobile home by only a fence,




                                                                        D
            utility line or similar connection.

    b.    Animals, birds, or fish, unless owned by others and boarded by you, or if owned by you, only as
          “stock” while inside a building described on the Declarations;

    c.    Accounts, bank notes, bills, bullion, coins, currency, deeds, evidences of debt; letters of credit,
          tickets and stamps, manuscripts, medals, money, notes, bank notes, passports, personal records, or
          securities;

    d.    Articles of gold, gold ware; gold-plated ware, silverware, silver-plated ware, platinum; or platinum
          ware, platinum-plated ware, pewter, pewter ware; or pewter-plated ware. This includes flatware,
          hollowware, tea sets, trays and trophies made of or including silver, gold, pewter or platinum.

    e.    Aircraft and parts. Aircraft means any contrivance used or designed for flight, except model or
          hobby aircraft not used or designed to carry people or cargo; or if owned by you, only as “stock”
          while inside a building described in the Declarations.

    f.    Motor vehicles or all other motorized land conveyances; trailers on wheels. This includes:
          (1) Their equipment and accessories; or
          (2) Electronic apparatus that is designed to be operated solely by use of the power from the
              electrical system of motor vehicles or all other motorized land conveyances.
              Electronic apparatus includes:
              (a) Accessories or antennas; or




 AR CCP 01 17                                                                                    Page 1 of 4
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             (b) Tapes, wires, records, discs or other media for use with any electronic apparatus described
                  in this item f.
         The exclusion of property described in f.(1) and f.(2) above, applies only while the property is in
         or upon the vehicle or conveyance.

         We do cover vehicles or conveyances, other than autos or vehicles you hold for sale, not subject
         to motor vehicle registration contained within an enclosed structure on the Described Location
         which are:
         (a) contained within an enclosed structure; and




CE
         (b) used to service an “insured” location; or
         (c) designed for assisting the handicapped; and
         (d) are self-propelled machines; and
         (e) are not autos or vehicles you hold for sale.

    g.   Watercraft and their furnishings, other than rowboats and canoes out of water at the Location
         described in the Declarations, unless:




                        RT
         (1) owned by you only as “stock” when removed from, out of, or not over water; and
         (2) located in or within 100 feet of the building described in the Declarations.

    h.   Data, including data stored in:
         (1) Books of account, card index systems, drawings or other paper records; or
         (2) Electronic data processing tapes, wires, records, drums, cells, discs, magnetic recording,




                                                    IF
             storage or other software media.

         However, we do cover up to $1,000 under item h.(2) the cost of blank or unexposed recording or
         storage media and of prerecorded computer programs available in the market. This limit does not
         increase the Coverage B contents Limit of Liability.




                                                                      IE
         If the Electronic Data Processing endorsement EDP-1 is attached to this policy, this exclusion
         does not apply to the extent that coverage is provided under such endorsement.




                                                                        D
    i.   Credit cards or fund transfer cards;

    j.   Business personal property while airborne, waterborne or in transit;

    k.   Pilings, piers, wharves, retaining walls, seawalls, bulkheads, beach or diving platforms or
         appurtenances, docks or boathouses;

    l.   Trees, shrubs, plants, flowers, lawns, tee boxes, fairways, greens, landscaping, bunkers or sand
         traps, or artifical turf;

    m. Windmills, wind pumps or their towers, or smokestacks;

    n. Awnings, canopies or other roof like projection or covering, whether fabric or not, whether
       permanent or retractable;

    o.   Steeples and fountains;

    p.   Grain, hay, straw and other crops, crop silos or their contents;

    q.   Bridges, boardwalks, trestles, catwalks, bleachers, dune walks, ramps, roadways, walks, decks,
         and patios and similar structures, or other paved or graveled surfaces, whether or not attached to
         the building;

    r.   Amusement equipment;




 AR CCP 01 17                                                                                  Page 2 of 4
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      s.   Fabric windscreens on fences;

      t.   Any structure or attachment, whether attached or separate from the covered building, where that
           structure’s roof coverings are of fabric, thatch, lattice, or slats and similar material; or where that
           structure’s exterior wall coverings are of fabric, thatch, lattice, or slats and similar material, and
           personal property within or on these structures;

      u.   Slat houses, chickees, tiki huts, gazebos and pergolas or similar structures and personal property
           contained within or on these structures;




CE
      v.   Signs, scoreboards, radio or television antennas or aerials, satellite dishes (including lead-in
           wiring, masts or towers and their supports), fences, gates, fountains, statues, monuments, utility
           poles (including light fixtures), light poles, traffic lights and traffic signals.

           However, we do cover solar paneling and other similar water heating or electrical apparatus when:
           (1) outside the building (including lead-in pipes, wiring, masts or towers and their supports), and




                          RT
           (2) permanently installed, and
           (3) located on the described location, and
           (4) used for the service of the covered property.

      w. Land, including land on which the other structures are located.




                                                      IF
 2.   We do cover the following property if, and only if, it is described as separate and specific items in the
      Declarations and a Limit of Liability is shown in the Declarations for each of such items:

      a.   Any structure, whether attached or separate from the covered building, where that structure’s roof
           covering is of screen;




                                                                         IE
      b.   Signs, scoreboards, light poles, fences, gates, fountains, statues, monuments, artificial turf,
           bleachers, property walls and similar structures separating parcels of land;
      c.   Greenhouses, glasshouses, hothouses, open-sided sheds, carports, cabanas, gazebos, swimming
           pools, jacuzzis, hot tubs/spas, or similar structures, including their decking, but not:




                                                                           D
           (1) business personal property or contents contained within or on these structures, or
           (2) when these structures are comprised of fabric, thatch, lattice, slats or similar material.
      d.   Enclosed garages, enclosed tool sheds, enclosed sheds, enclosed pump houses, enclosed boiler
           sheds, enclosed pool houses, enclosed air conditioning sheds, enclosed guardhouses, enclosed
           workshops, enclosed maintenance sheds, and the business personal property or contents contained
           within or on the structures;
      e.   Any structure, including the contents and business personal property contained within or on the
           structure, that is located in whole or in part over water;
      f.   Mobile homes, temporary buildings, portable buildings, travel trailers and similar structures or
           conveyances, (including business personal property contained in or on or pertaining to these
           structures or conveyances).
      g.   However, we do not cover business personal property or contents of any structure or other
           property regardless of whether it is described as separate and specific item(s) in the Declarations
           and a Limit of Liability is shown in the Declarations, when:
           (1) Such structure is comprised of fabric, thatch, lattice, slats or similar material; or
           (2) Not covered as explained in other sections of this policy.
      h.   Self-supported, stand alone canopies.


 LIMIT

 As respects property covered by this Endorsement, the Company’s Limit of Liability shall be limited to the
 values reported; however, in no event to exceed $100,000 per Occurrence as respects all property
 combined.




 AR CCP 01 17                                                                                       Page 3 of 4
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 DEDUCTIBLE

 As respects property covered by this Endorsement, the Deductible shall be equal to 10% of the total
 insurable values of the property covered by this endorsement, subject to a minimum deductible of $100,000
 per Occurrence.

 This deductible shall be a separate deductible from any other deductible stated elsewhere in the policy, but
 only the largest minimum deductible shall apply.




CE
 DEFINITIONS

 As used in this endorsement these words have the following meaning:

 1.   “Windstorm” means wind, wind gusts, tornadoes or cyclones which result in direct physical loss or
      damage to property.




                        RT
 2. “Hurricane” means:
     a. Coverage for loss or damage caused by the peril of windstorm during a hurricane.
     b. “Windstorm” for the purposes of subparagraph a. means wind, wind gusts, hail, rain, or tornadoes
        or cyclones caused by or resulting from a hurricane which results in direct physical loss or damage
        to property.




                                                    IF
     c. “Hurricane” for the purposes of subparagraphs a. and b. means a storm system that has been
        declared to be a hurricane by the National Hurricane Center of the National Weather Service. The
        duration of the hurricane includes the time period, in the state of the insured location:
        (1) Beginning at the time of a hurricane watch or warning is issued by the National Hurricane
             Center of the National Weather Service;




                                                                     IE
        (2) Continuing for the time period during which the hurricane conditions exist; and
        (3) Ending 72 hours following the termination of the last hurricane watch or hurricane warning
             issued by the National Hurricane Center of the National Weather Service.




                                                                       D
 All other terms and conditions remain unchanged.




 AR CCP 01 17                                                                                   Page 4 of 4
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                                                                                                 IL 00 17 11 98



                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.
A. Cancellation                                                   b. Give you reports on the conditions we
                                                                     find; and
   1. The first Named Insured shown in the Dec-
      larations may cancel this policy by mailing or              c. Recommend changes.
      delivering to us advance written notice of




     CE
       cancellation.                                          2. We are not obligated to make any inspections,
                                                                  surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or de-                 such actions we do undertake relate only to
      livering to the first Named Insured written                 insurability and the premiums to be charged.
       notice of cancellation at least:                           We do not make safety inspections. We do
                                                                  not undertake to perform the duty of any
       a. 10 days before the effective date of can-               person or organization to provide for the
          cellation if we cancel for nonpayment of                health or safety of workers or the public. And




                              RT
          premium; or                                             we do not warrant that conditions:
       b. 30 days before the effective date of can-               a. Are safe or healthful; or
          cellation if we cancel for any other
          reason.                                                 b. Comply with laws, regulations, codes or
                                                                     standards.
   3. We will mail or deliver our notice to the first
       Named Insured’s last mailing address known             3. Paragraphs 1. and 2. of this condition apply




                                                      IF
       to us.                                                    not only to us, but also to any rating, ad-
                                                                  visory, rate service or similar organization
   4. Notice of cancellation will state the effective             which makes insurance inspections, surveys,
      date of cancellation. The policy period will                reports or recommendations.
       end on that date.




                                                                       IE
                                                              4. Paragraph 2. of this condition does not apply
   5. If this policy is cancelled, we will send the              to any inspections, surveys, reports or recom-
      first Named Insured any premium refund due.                mendations we may make relative to certifi-
      If we cancel, the refund will be pro rata. If the           cation, under state or municipal statutes, or-
      first Named Insured cancels, the refund may                 dinances or regulations, of boilers, pressure




                                                                         D
      be less than pro rata. The cancellation will be             vessels or elevators.
      effective even if we have not made or offered
       a refund.                                          E. Premiums
   6. If notice is mailed, proof of mailing will be           The first Named Insured shown in the Dec-
       sufficient proof of notice.                            larations:
B. Changes                                                    1. Is responsible for the payment of all
                                                                  premiums; and
   This policy contains all the agreements between
   you and us concerning the insurance afforded.              2. Will be the payee for any return premiums we
   The first Named Insured shown in the Declara-                  pay.
   tions is authorized to make changes in the terms
                                                          F. Transfer Of Your Rights And Duties Under This
   of this policy with our consent. This policy’s
                                                              Policy
   terms can be amended or waived only by
   endorsement issued by us and made a part of this           Your rights and duties under this policy may not
   policy.                                                    be transferred without our written consent except
C. Examination Of Your Books And Records                      in the case of death of an individual named
                                                              insured.
   We may examine and audit your books and
   records as they relate to this policy at any time          If you die, your rights and duties will be
   during the policy period and up to three years             transferred to your legal representative but only
   afterward.                                                 while acting within the scope of duties as your
                                                              legal representative. Until your legal represen-
D. Inspections And Surveys                                    tative is appointed, anyone having proper tem-
                                                              porary custody of your property will have your
   1. We have the right to:                                   rights and duties but only with respect to that
       a. Make inspections and surveys at any                 property.
          time;
                                                                                                  Hart Forms & Services
                                                                                                   Reorder No. 14-B234

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                                                                                                              CP 00 90 07 88


                       COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commercial Property Coverage Forms.

A. CONCEALMENT, MISREPRESENTATION OR FRAUD                                Part bears to the Limits of Insurance of all
     This Coverage Part is void in any case of fraud by                   insurance covering on the same basis.
     you as it relates to this Coverage Part at any time. I t        2.   I f there is other insurance covering the same loss
     is also void if you or any other insured, at any time,               or damage, other than that described in 1.




      CE
     intentionally conceal or misrepresent a material fact                above, w e will pay only for the amount of
     concerning:                                                          covered loss or damage in excess of the amount
     1 . This Coverage Part;                                              due f r o m that other insurance, whether you can
                                                                          collect on it or not. But w e will not pay more
     2 . The Covered Property;                                            than the applicable Limit of Insurance.
     3 . Your interest in the Covered Property; or              H. POLICY PERIOD, COVERAGE TERRITORY
     4 . A claim under this Coverage Part.                           Under this Coverage Part:




                                 RT
B.   CONTROL OF PROPERTY                                             1.   We cover loss or damage commencing:
     Any act or neglect of any person other than you                      a.   During the policy period shown in the Decla-
     beyond your direction or control will not affect this                     rations; and
     insurance.
                                                                          b.   Within the coverage territory.
     The breach of any condition of this Coverage Part at
     any one or more locations will not affect coverage at           2.   The coverage territory is:




                                                           IF
     any location where, at the time of loss or damage,                   a.   The United States of America (including its
     the breach of condition does not exist.                                   territories and possessions);
C. INSURANCE UNDER TWO OR MORE COVERAGES                                  b.   Puerto Rico; and
     I f t w o or more of this policy's coverages apply to                c.   Canada.
     the same loss or damage, w e will not pay more than




                                                                               IE
                                                                I.   TRANSFER OF RIGHTS OF RECOVERY AGAINST
     the actual amount of the loss or damage.                        OTHERS TO US
D. LEGAL ACTION AGAINST US                                           I f any person or organization to or for w h o m w e
     No one may bring a legal action against us under                make payment under this Coverage Part has rights
     this Coverage Part unless:                                      to recover damages f r o m another, those rights are




                                                                                 D
     1 . There has been full compliance w i t h all of the           transferred to us to the extent of our payment. That
         terms of this Coverage Part; and                            person or organization must do everything necessary
                                                                     to secure our rights and must do nothing after loss
     2 . The action is brought within 2 years after the              to impair them. But you may waive your rights
         date on which the direct physical loss or damage            against another party in writing:
         occurred.
                                                                     1.   Prior to a loss to your Covered Property or
E.   LIBERALIZATION                                                       Covered Income.
     I f w e adopt any revision that would broaden the               2.   A f t e r a loss to your Covered Property or Covered
     coverage under this Coverage Part without additional                 Income only if, at time of loss, that party is one
     premium within 4 5 days prior to or during the policy                of the following:
     period, the broadened coverage will immediately
     apply to this Coverage Part.                                         a.   Someone insured by this insurance;

F.   NO BENEFIT TO BAILEE                                                 b.   A business firm:

     No person or organization, other than you, having                         (1) Owned or controlled by you; or
     custody of Covered Property will benefit f r o m this                     (2) That owns or controls you; or
     insurance.                                                           c.   Your tenant.
G. OTHER INSURANCE                                                   This will not restrict your insurance.
     1 . You may have other insurance subject to the
         same plan, terms, conditions and provisions as
         the insurance under this Coverage Part. I f you
         do, w e will pay our share of the covered loss or
         damage. Our share is the proportion that the
         applicable Limit of Insurance under this Coverage




                                                                                                                Hart Forms & Services
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                               PROPERTY ENDORSEMENT

 WITH RESPECT TO THE COVERAGE PROVIDED BY ALL UNDERWRITERS, CARRIERS AND
 INSURERS OF THIS POLICY, THE FOLLOWING CLAUSES SHALL APPLY.

 Throughout this Policy, the word “Assured” shall be synonymous with “Insured”; the words “we”,
 “us”, our”, shall be synonymous with “Underwriters”, “Insurers” and “Company(ies)”; the word
 “Certificate” shall be synonymous with “Policy”, the word “Schedule” shall be synonymous with




CE
 “Declarations”, the word “peril” shall be synonymous with “cause of loss”, and the term “limit of
 liability” is synonymous with “limit of insurance”.


 1. Additional Conditions




                      RT
    A. Debris Removal
       NMA 2340 11/24/1988 (USA date) - amended

       THIS CLAUSE CONTAINS PROVISIONS WHICH MAY LIMIT OR PREVENT RECOVERY
       UNDER THIS POLICY FOR LOSS WHERE COSTS OR EXPENSES FOR DEBRIS
       REMOVAL ARE INCURRED.




                                               IF
       Nothing contained in this Clause shall override any Seepage and/or Pollution and/or
       Contamination Exclusion or any Radioactive Contamination Exclusion or any other
       Exclusion applicable to this Policy.




                                                               IE
       Any provision within this Policy (or within any other Endorsement which forms part of this
       Policy) which insures debris removal is cancelled and replaced by the following:

         1. In the event of direct physical damage to or destruction of property, for which
            Underwriters hereon agree to pay, or which but for the application of a deductible or




                                                                 D
            underlying amount they would agree to pay (hereinafter referred to as “Damage or
            Destruction”), this Policy also insures, within the Sum Insured, subject to the
            limitations, and method of calculation below, and to all the other terms and conditions
            of the Policy, costs or expenses;

             (a) which are reasonably and necessarily incurred by the Assured in the removal,
                 from the premises of the Assured at which the Damage or Destruction occurred,
                 of debris which results from the Damage or Destruction; and

             (b) of which the Assured becomes aware and advises the amount thereof to
                 Underwriters hereon within one year of the commencement of such Damage or
                 Destruction.

         2. In calculating the amount, if any, payable under the Policy for loss where costs or
            expenses for removal of debris are incurred by the Assured (subject to the limitations
            in paragraph 1 above):

             (a) the maximum amount of such costs or expenses that can be included in the
                 method of calculation set out in (b) below shall be the greater of US$25,000
                 (twenty-five thousand dollars) or 25% (twenty-five percent) of the amount of the
                 Damage or Destruction from which such costs or expenses result; and

             (b) the amount of such costs or expenses limited in (a) above shall be added to:

                 (i) the amount of the Damage or Destruction; and


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                 (ii) all other amounts of loss, which arise as a result of the same occurrence, and
                       for which Underwriters hereon also agree to pay, or which but for the
                       application of a deductible or underlying amount they would agree to pay;
                       and

                 the resulting sum shall be the amount to which any deductible or underlying
                 amount to which this Policy is subject and the limit (or applicable sub-limit) of this
                 Policy, shall be applied.




CE
   B. Occurrence Limit of Liability
      Form No. AR 2

     It is understood and agreed that the following special terms and conditions apply to this
     policy.




                      RT
       1. The Limit of Liability or Amount of Insurance shown on the face of this policy, or
          endorsed onto this policy, is the total of the Company’s liability applicable to each
          occurrence, as hereafter defined. Notwithstanding any other terms and conditions of
          this policy to the contrary, in no event shall the liability of the Company exceed this
          limit or amount irrespective of the number of locations involved.




                                                IF
           The term “occurrence” shall mean any one loss, disaster, casualty or series of losses,
           disasters, or casualties, arising out of one event. When the term applies to loss or
           series of losses from the perils of tornado, cyclone, hurricane, windstorm, hail, flood,
           earthquake, volcanic eruption, riot, riot attending a strike, civil commotion, and
           vandalism and malicious mischief, one event shall be considered to be all losses




                                                                 IE
           arising during a continuous period of 72 hours. When filing proof of loss, the Insured
           may elect the moment at which the 72 hour period shall be deemed to have
           commenced, which shall not be earlier than the first loss to any covered property
           occurs.




                                                                   D
       2. The premium for this policy is based upon the Statement of Values on file with the
          Program Manager, or attached to this policy.

       3. In event of loss hereunder, liability of the Company, subject to terms of paragraph
          one (1) above, shall be limited to the least of the following:

           a. The actual adjusted amount of loss, less applicable deductibles (s).

           b. 100% of the individually stated value for each scheduled item of property
              involved, as shown on the latest Statement of Values on file with the Program
              Manager, less applicable deductible(s).

           c.    The Limit of Liability or Amount of Insurance shown on the face of this policy or
                 endorsed onto this policy.

       4. Sublimits: Any sublimits provided shall be included within the applicable limits of
          insurance. Coverage provided by any sublimits does not increase the applicable
          limits of insurance.

   C. Several Liability Clause
      LMA5096 03/08 (Combined Certificate)

     The liability of an insurer under this contract is several and not joint with other insurers
     party to this contract. An insurer is liable only for the proportion of liability it has

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     underwritten. An insurer is not jointly liable for the proportion of liability underwritten by any
     other insurer. Nor is an insurer otherwise responsible for any liability of any other insurer
     that may underwrite this contract.
     The proportion of liability under this contract underwritten by an insurer (or, in the case of a
     Lloyd’s syndicate, the total of the proportions underwritten by all the members of the
     syndicate taken together) is shown in this contract.
     In the case of a Lloyd’s syndicate, each member of the syndicate (rather than the syndicate
     itself) is an insurer. Each member has underwritten a proportion of the total shown for the
     syndicate (that total itself being the total of the proportions underwritten by all the members




CE
     of the syndicate taken together). The liability of each member of the syndicate is several
     and not joint with other members. A member is liable only for that member’s proportion. A
     member is not jointly liable for any other member’s proportion. Nor is any member
     otherwise responsible for any liability of any other insurer that may underwrite this contract.
     The business address of each member is Lloyd’s, One Lime Street, London EC3M 7HA
     United Kingdom. The identity of each member of a Lloyd’s syndicate and their respective
     proportion may be obtained by writing to Market Services, Lloyd’s, at the above address.




                     RT
     Although reference is made at various points in this clause to “this contract” in the singular,
     where the circumstances so require this should be read as a reference to contracts in the
     plural.

     Wherever the word Insurers is mentioned in the LMA 5096 (Combined Certificate) this is
     deemed to also mean reinsured in respect of reinsurance business.




                                               IF
   D. Claims Reporting and Adjustment

     All Claims shall be reported to:     AmRisc, LLC Claims Department
                                          E-Mail: claims@amrisc.com




                                                                 IE
                                          Ph: 252-247-8796
                                          Fax: 252-726-2855

     All Claims shall be adjusted by:     Cramer, Johnson & Wiggins




                                                                   D
                                          12650 Ingenuity Drive, Suite 200, Orlando, FL 32804

     and/or its assigned adjusters and the costs of such adjustments shall be borne by each
     Company in proportion to its pro-rata participation in this policy.

     In the event the Company(s) elects to use its own adjusters or independent adjusters or
     consultants other than as listed above, expenses so incurred shall be borne solely by the
     Company.

     It is further understood and agreed that, notwithstanding any provision contained elsewhere
     in this policy to the contrary, the Insured will be deemed to be in full compliance with any
     claim notice requirements, if notice of an occurrence is made to the Company(ies) as soon
     as practicable after knowledge by the Insured or their representatives, that such occurrence
     will, or is likely to result in a claim under the policy. Any unintentional failure to report any
     occurrence or claim shall not invalidate coverage with respect to any such occurrence or
     claim.

   E. Ordinance or Law Coverage Amendment

     The insurer(s) shall not be liable for Ordinance or Law coverage, if provided by this policy,
     unless the covered loss to the insured building equals or exceeds 50% of the Building’s
     total Replacement Cost.




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   F. Property Abandoned, Condemned Or In A State Of Disrepair

     If at the date of loss to property covered by this policy, the condition of the property prior to
     the loss is found to be either:

           a. abandoned, or
           b. condemned, or
           c. in a state of disrepair,




CE
     then, recovery under this policy for damage from a covered peril/cause of loss is limited to
     the lesser of:

           (1) the cost to repair at Actual Cash value, or
           (2) the Actual Cash Value of the property prior to the loss, or
           (3) $10,000.




                     RT
     This limit applies per occurrence and in the annual aggregate and includes any and all
     applicable additional coverage offered by this policy, such as, but not limited to, debris
     removal expense.

   G. Cancellation and Additions or Deletions:

       1. This Policy can be canceled by the First Named Insured by providing the Companies




                                               IF
          with:

           a. An advanced written request for cancellation stating when the cancellation shall
              be effective, and




                                                                IE
           b. The original Policy or a lost policyholder release signed by the First Named
              Insured or its legal representative.

       2. This Policy may be canceled by the Companies by giving to the Insured at least thirty




                                                                  D
          (30) days written notice of cancellation or in the case of non-payment of premium or
          material mis-statement, at least ten (10) days written notice of cancellation.

       3. The cancellation will be effective even if the Companies have not made or offered a
          refund. If notice is mailed, proof of mailing will be sufficient proof of notice.

       4. If this Policy is canceled, the Companies will send the First Named Insured any
          premium refund due.

       5. Earned Premium:

           a. For Locations NOT “Exposed to Hurricanes”, if the Insured cancels this Policy or
              removes a Location, the short rate return premium is 90% of applicable pro-rata
              premium subject to any Minimum Earned Premium stipulations in the Policy.

           b. For Locations “Exposed to Hurricanes”, if the Insured cancels this Policy,
              removes a Location or reduces the amount of insurance on a Location and
              coverage existed any time during the period of June 1st to November 1st, the
              amount of premium the Companies will return will be the Unearned Premium for
              the Location. The Unearned Premium is the Location premium times the
              Unearned Factor noted below:




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                  Days Policy in Force                            Unearned Factor

                  1-90                                            65.0%

                  91-180                                          50.0%

                  181-210                                         30.0%




CE
                  211-240                                         15.0%

                  241-270                                         7.5%

                  271-300                                         5.0%

                  301-330                                         2.5%




                      RT
                  331 or more                                     0.0%
          c. However, subject to receipt of closing documents within 30 days of closing, this
             Policy allows pro-rata return premium for locations sold, but not for loss of
             management contract unless the management contract is lost due to the sale of
             the property.




                                               IF
          d. For Locations “Exposed to Hurricanes”, if added (or coverage increased at an
             existing location which is “Exposed to Hurricanes”) during the term of the Policy
             and coverage exists at any time during the period of June 1st to November 1st,




                                                                 IE
             the premium will be calculated at 100% of the annual rate, less the Unearned
             Factor noted in b. above. Otherwise, it shall be pro-rata.

                 However, subject to receipt of closing documents, this Policy allows pro-rata
                 additional premium for Locations purchased during the policy term.




                                                                   D
          e. Locations of like kind and quality shall be added at the account rate, subject to the
              Unearned Factor noted in b. above. Locations of differing kind or quality or
              locations in Dade, Broward or Palm Beach counties of Florida must be approved
              by the Program Manager prior to attachment.

          f.     If a Location is “Exposed to Hurricanes”, the provisions of this clause replace any
                 short rate provisions stipulated in this Policy, all subject to the Minimum Earned
                 Premium provisions.

          g. “Exposed to Hurricanes” is defined to include any Location within 100 miles of the
              closest salt water of the Atlantic Ocean or the Gulf of Mexico.

          h. Coverage cannot be increased nor additional Locations added if they are
             “Exposed to Hurricanes” and a Named Storm is in existence, unless with the
             express written consent of the Program Manager.

          i.   Nothing herein will act to provide coverage outside the automatic acquisition
               clause elsewhere in the Policy.

          j.   Proof of mailing will be sufficient proof of notice of cancellation.

          k. In the event of a total loss or constructive total loss to Covered Property by a
               Covered Cause of Loss, the premium applicable to that Covered Property shall
               be fully earned and no return premium will be due to the Insured.


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   H. Application of Deductible

        In the event the Deductible is “per Building” and at the time of loss the values shown on
             the Statement of Values on file with the Program Manager are not individually stated
             for each Building, Structure, Business Personal Property, or Time Element at each
             location, the following shall apply to determine the breakdown of values:

                 1) The value for each Building and structure will be developed by multiplying the
                    total reported Building and Structure value by the proportion that the square




CE
                    footage of the individual Building or Structure bears to the total square
                    footage reported for all Buildings and Structures contemplated in the total
                    reported Building and Structure value.
                 2) The value of Business Personal Property at each location will be developed by
                    multiplying the total reported Business Personal Property value by the
                    proportion that the square footage of all Buildings and Structures at the
                    individual location bears to the total square footage of all Buildings and




                      RT
                    Structures at all locations contemplated in the total reported Business
                    Personal Property value.
                 3) The value of the Business Income or Loss of Rents will be developed by
                    multiplying the total reported Business Income of Loss of Rents by the
                    proportion that the square rentable footage of the individual Building or
                    Structure bears to the total square rentable footage reported for all Buildings




                                               IF
                    and Structures contemplated in the total reported Business Income or Loss of
                    Rents value.


 2. Additional Exclusions




                                                                IE
   A. Nuclear, Biological, Chemical, and Radiological Exclusion

      a. The Companies will not pay for any loss, damage, cost or expense, whether real or
         alleged, that is caused, results from, is exacerbated by or otherwise impacted by, either




                                                                  D
         directly or indirectly, any of the following:
                 1) Nuclear Hazard – including, but not limited to, nuclear reaction, nuclear
                 detonation, nuclear radiation, radioactive contamination and all agents, materials,
                 products or substances, whether engineered or naturally occurring, involved
                 therein or released thereby;
                 2) Biological Hazard – including, but not limited to, any biological and/or
                 poisonous or Pathogenic agent, material, product or substance, whether
                 engineered or naturally occurring, that induces or is capable of inducing physical
                 distress, illness, or disease;
                 3) Chemical Hazard – including, but not limited to, any chemical agent, material,
                 product or substance;

                 4) Radioactive Hazard – including, but not limited to, any electromagnetic,
                 optical, or ionizing radiation or energy, including all generators and emitters
                 thereof, whether engineered or naturally occurring.

        b. The provisions of subparagraphs a.2) and a.3) will not apply where the agent, material,
           product or substance at issue is utilized in the course of business by an Insured.

        c. Only if and to the extent required by state law, the following exception to the exclusions
           in Paragraph a. applies:




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           If a hazard excluded under Paragraph a. results in Fire (and provided Fire is a
           Covered Peril), the Companies will pay for the loss, damage, cost or expense caused
           by that Fire, subject to all applicable policy provisions including the Limit of Insurance
           on the affected Covered Property. Such coverage for Fire applies only to direct loss
           or damage by Fire to Covered Property. This coverage does not apply to insurance
           provided under Time Element, including but not limited to, Business Income, Rental
           Value or Extra Expense coverage or endorsements that apply to those coverages.

   B. Terrorism Exclusion




CE
      NMA2920 10/8/01 (USA date)

     Notwithstanding any provision to the contrary within this insurance or any endorsement
     thereto it is agreed that this insurance excludes loss, damage, cost or expense of
     whatsoever nature directly or indirectly caused by, resulting from or in connection with any
     act of terrorism regardless of any other cause or event contributing concurrently or in any
     other sequence to the loss.




                      RT
     For the purpose of this endorsement an act of terrorism means an act, including but not
     limited to the use of force or violence and/or the threat thereof, of any person or group(s) of
     persons, whether acting alone or on behalf of or in connection with any organization(s) or
     government(s), committed for political, religious, ideological or similar purposes including
     the intention to influence any government and/or to put the public, or any section of the




                                              IF
     public, in fear.

     This endorsement also excludes loss, damage, cost or expense of whatsoever nature
     directly or indirectly caused by, resulting from or in connection with any action taken in
     controlling, preventing, suppressing or in any way relating to any act of terrorism.




                                                               IE
     If the Underwriters allege that by reason of this exclusion, any loss, damage, cost or
     expense is not covered by this insurance the burden of proving the contrary shall be upon
     the Assured.




                                                                 D
     In the event any portion of this endorsement is found to be invalid or unenforceable, the
     remainder shall remain in full force and effect.

   C. Asbestos
      07/08

       1. We will not pay for loss, damage or remediation expenses caused by or resulting
          from the presence of asbestos or asbestos-containing materials. As used in this
          exclusion remediation expenses are expenses incurred for or in connection with the
          investigation, monitoring, removal, disposal, treatment, abatement or neutralization of
          asbestos or asbestos-containing materials to the extent required by federal, state or
          local laws, regulations or statutes or any subsequent amendments thereof to address
          asbestos.

       2. However, this Asbestos exclusion does not apply to the extent that coverage is
          provided under the following:

                 This policy insures asbestos physically incorporated in an insured building or
                 structure, and the only part of the asbestos which has been physically damaged
                 during the policy period by one of these Listed Perils:

                 FIRE; SMOKE; EXPLOSION; LIGHTNING; WINDSTORM; HAIL; DIRECT
                 IMPACT OF VEHICLE, AIRCRAFT OR VESSEL; RIOT OR CIVIL COMMOTION;



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                 VANDALISM OR MALICIOUS MISCHIEF; ACCIDENTAL DISCHARGE OF FIRE
                 PROTECTIVE EQUIPMENT

                 This coverage is subject to all limitations in the policy to which this endorsement
                 is attached and, in addition, to each of the following specific limitations:

                 a. The said building or structure must be insured under this policy for damage
                    by this Listed Peril.




CE
                 b. The Listed Peril must be the immediate, sole cause of the damage to the
                    asbestos.

                 c.   The Assured must report to Underwriters the existence and cost of the
                      damage as soon as practicable after the Listed Peril first damaged the
                      asbestos. However this policy does not insure any such damage first
                      reported to Underwriters more then 12(twelve) months after the expiration, or




                       RT
                      terminations, of the policy period.

                 d. Insurance under this policy in respect of asbestos shall not include any sum
                    relating to:

                      (1) any faults in the design, manufacture or installation of the asbestos




                                               IF
                      (2) asbestos not physically damaged by the Listed Peril including any
                           governmental or regulatory authority direction or request of whatsoever
                           nature relating to undamaged asbestos.

   D. Property Cyber and Data Endorsement (LMA 5400, 11 November 2019)




                                                               IE
       1    Notwithstanding any provision to the contrary within this Policy or any endorsement
            thereto this Policy excludes any:
            1.1           Cyber Loss, unless subject to the provisions of paragraph 2;




                                                                 D
            1.2         loss, damage, liability, claim, cost, expense of whatsoever nature directly
            or indirectly caused by, contributed to by, resulting from, arising out of or in
            connection with any loss of use, reduction in functionality, repair, replacement,
            restoration or reproduction of any Data, including any amount pertaining to the
            value of such Data, unless subject to the provisions of paragraph 3;
            regardless of any other cause or event contributing concurrently or in any other
            sequence thereto.
      2     Subject to all the terms, conditions, limitations and exclusions of this Policy or any
            endorsement thereto, this Policy covers physical loss or physical damage to
            property insured under this Policy caused by any ensuing fire or explosion which
            directly results from a Cyber Incident, unless that Cyber Incident is caused by,
            contributed to by, resulting from, arising out of or in connection with a Cyber Act
            including, but not limited to, any action taken in controlling, preventing, suppressing
            or remediating any Cyber Act.
      3     Subject to all the terms, conditions, limitations and exclusions of this Policy or any
            endorsement thereto, should Data Processing Media owned or operated by the
            Insured suffer physical loss or physical damage insured by this Policy, then this
            Policy will cover the cost to repair or replace the Data Processing Media itself plus
            the costs of copying the Data from back-up or from originals of a previous
            generation. These costs will not include research and engineering nor any costs of


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            recreating, gathering or assembling the Data. If such media is not repaired, replaced
            or restored the basis of valuation shall be the cost of the blank Data Processing
            Media. However, this Policy excludes any amount pertaining to the value of such
            Data, to the Insured or any other party, even if such Data cannot be recreated,
            gathered or assembled.
      4     In the event any portion of this endorsement is found to be invalid or unenforceable,
            the remainder shall remain in full force and effect.




CE
      5     This endorsement supersedes and, if in conflict with any other wording in the Policy
            or any endorsement thereto having a bearing on Cyber Loss, Data or Data
            Processing Media, replaces that wording.
      Definitions
      6     Cyber Loss means any loss, damage, liability, claim, cost or expense of whatsoever




                    RT
            nature directly or indirectly caused by, contributed to by, resulting from, arising out
            of or in connection with any Cyber Act or Cyber Incident including, but not limited to,
            any action taken in controlling, preventing, suppressing or remediating any Cyber
            Act or Cyber Incident.
      7     Cyber Act means an unauthorised, malicious or criminal act or series of related




                                             IF
            unauthorised, malicious or criminal acts, regardless of time and place, or the threat
            or hoax thereof involving access to, processing of, use of or operation of any
            Computer System.
      8     Cyber Incident means:




                                                              IE
      8.1   any error or omission or series of related errors or omissions involving access to,
            processing of, use of or operation of any Computer System; or
      8.2   any partial or total unavailability or failure or series of related partial or total




                                                                D
            unavailability or failures to access, process, use or operate any Computer System.
      9     Computer System means:
            9.1        any computer, hardware, software, communications system, electronic
            device (including, but not limited to, smart phone, laptop, tablet, wearable device),
            server, cloud or microcontroller including any similar system or any configuration of
            the aforementioned and including any associated input, output, data storage device,
            networking equipment or back up facility,
            owned or operated by the Insured or any other party.
      10    Data means information, facts, concepts, code or any other information of any kind
            that is recorded or transmitted in a form to be used, accessed, processed,
            transmitted or stored by a Computer System.
      11    Data Processing Media means any property insured by this Policy on which Data
            can be stored but not the Data itself.


      LMA5400
      11 November 2019




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   E. Electronic Date Recognition Exclusion (EDRE)
      NMA 2802 12/17/1997 (USA date)

     This policy does not cover any loss, damage, cost, claim or expense, whether preventative,
     remedial or otherwise, directly or indirectly arising out of or relating to:

       1. the calculations, comparison, differentiation, sequencing or processing of data
          involving the date change to the year 2000, or any other date change, including leap
          year calculations, by any computer system, hardware, program or software and/or




CE
          any microchip, integrated circuit or similar device in computer equipment or non-
          computer equipment, whether the property of the Insured or not; or

       2. any change, alteration or modification involving the date change to the year 2000, or
          any other date change, including leap year calculations, to any such computer
          system, hardware, program or software and/or any microchip, integrated circuit or
          similar device in computer equipment or non-computer equipment, whether the




                    RT
          property of the Insured or not.

       This clause applies regardless of any other cause or event that contributes concurrently
       or in any sequence to the loss, damage, cost, claim or expense.

   F. Air/Land/Water Exclusions




                                             IF
      NMA2341 11/24/1998 (USA date)

     This Policy does not insure:

       1. Air, land, land values, and any substance in or on land, or any alteration to the natural




                                                              IE
          condition of the land.
       2. Water, except water which is normally contained within any tank, piping system or
          other process equipment.




                                                                D
   G. Seepage And/Or Pollution And/Or Contamination Exclusion
      NMA2342 11/24/1988 (USA date)

     Notwithstanding any provision to the contrary within the Policy of which this Endorsement
     forms part (or within any other Endorsement which forms part of this Policy), this Policy
     does not insure:

       (a) any loss, damage, cost or expense, or

       (b) any increase in insured loss, damage, cost or expense, or

       (c) any loss, damage, cost, expense, fine or penalty, which is incurred, sustained or
           imposed by order, direction, instruction or request of, or by any agreement with, any
           court, government agency or any public, civil or military authority, or threat thereof,
           (and whether or not as a result of public or private litigation),

       Which arises from any kind of seepage or any kind of pollution and/or contamination, or
       threat thereof, whether or not caused by or resulting from a peril insured, or from steps or
       measures taken in connection with the avoidance, prevention, abatement, mitigation,
       remediation, clean-up or removal of such seepage or pollution and/or contamination or
       threat thereof.

     The term “any kind of seepage or any kind of pollution and/or contamination” as used in this
     Endorsement includes (but is not limited to):



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       (a) seepage of, or pollution and/or contamination by, anything, including but not limited
           to, any material designated as a “hazardous substance” by the United States
           Environmental Protection Agency or as a “hazardous material” by the United States
           Department of Transportation, or defined as a “toxic substance” by the Canadian
           Environmental Protection Act for the purposes of Part II of that Act, or any substance
           designated or defined as toxic, dangerous, hazardous or deleterious to persons or
           the environment under any other Federal, State, Provincial, Municipal or other law,
           ordinance or regulation; and




CE
       (b) the presence, existence, or release of anything which endangers or threatens to
           endanger the health, safety or welfare of persons or the environment.

   H. Limited Pollutant Clean Up and Removal
      08/07

     Subject to the absolute Seepage/Pollution/Contamination Exclusion stated in this




                     RT
     endorsement, this policy shall provide Pollutant Clean Up and Removal, if such extension is
     provided elsewhere in this policy.

   I. Fungus, Mold(s), Mildew, Spores or Yeast Exclusion

     Loss or damage in the form of, caused by, arising out of, contributed to, or resulting from




                                             IF
     Fungus, Mold(s), Mildew, Spores or Yeast; or any spores or toxins created or produced by
     or emanating from such Fungus, Mold(s), Mildew, Spores or Yeast.

     However, this exclusion shall not apply provided the Insured establishes that the fungus,
     mold(s), mildew, spores or yeast is a direct result of a covered loss from a Defined Cause of




                                                              IE
     Loss or Flood (provided Flood is a covered peril) and provided this loss is reported to the
     Companies within twelve (12) months from the expiration date of the policy. The
     Companies’ liability shall then be limited to $500,000 as respects Fire or Lightning and
     $15,000 as respects to any other Defined Cause of Loss or Flood (if covered).




                                                                D
   J. Exclusion Of Loss Due To Virus Or Bacteria
      AR 01 40 07 - amended

       a. The exclusion set forth in subparagraph b. below, applies to all coverage under all
          forms and endorsements that comprise this Policy, including but not limited to forms
          or endorsements that cover property damage to buildings or personal property and
          forms or endorsements that cover business income extra expense or action of civil
          authority.

       b. The Companies will not pay for loss or damage caused by or resulting from any virus,
          bacterium or other microorganism that induces or is capable of inducing physical
          distress, illness or disease.

       However, this exclusion does not apply to loss or damage caused by or resulting from
       fungus, mold(s), mildew, spores or yeast. Such loss or damage is addressed in a
       separate exclusion in this Policy.

       c. With respect to any loss or damage subject to the exclusion in subparagraph b. above,
          such exclusion supersedes any exclusion relating to pollutants or contaminants.

       d. The terms of the exclusion in subparagraph b. above, or the inapplicability of this
          exclusion to a particular loss, do not serve to create coverage for any loss that would
          otherwise be excluded by this Policy.



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   K. Below Grade Property Exclusion

     This policy does not insure against loss or damage to any property located in a basement
     or any similar enclosed space with its building floor(s) located below ground level on any
     side, regardless of any other cause or event contributing concurrently or in any other
     sequence thereto, when such loss or damage is caused by or results from:

       1. A general and temporary condition of partial or complete inundation of normally dry
          land areas from:




CE
           (a) the overflow of inland or tidal waters:

           (b) the unusual and rapid accumulation or runoff of surface waters from any source;

           (c) mudslide or mud flow caused by accumulation of water on or under the ground;




                     RT
           (d) the release of water impounded by a dam.

       2. water that backs up or flows from a sewer, drain or sump;

       3. water above or under the ground surface exerting pressure on, or flowing or seeping
          through:




                                               IF
           (a) pavements, foundations, walls, floors, roofs or ceilings;

           (b) basements, whether floored or not; or




                                                                 IE
           (c) doors, windows or other openings.

       This Exclusion shall not apply to loss or damage caused by the peril of Fire (if a covered
       peril), when the same results from any of the events described in sections 1, 2 or 3,




                                                                   D
       above.

       This Exclusion shall continue to apply to any Flood Endorsement or Difference In
       Conditions Form attached to this policy.

   L. Pre-existing Damage Provision
      AR PED 03 06

     This policy shall exclude any loss or damage directly or indirectly caused by, resulting from
     or contributed to by any pre-existing building damage at the time of this Certificate’s or
     policy’s inception. This exclusion shall be removed upon substantial completion of repair or
     reconstruction of the damaged building.

   M. Failure of Levees, Dams, Dikes, Floodgates Exclusion

     This policy does not insure against any loss or damage due to damage, destruction or
     overflowing of levees, dams, dikes, floodgates and other similar works, regardless of any
     other cause or event contributing concurrently or in any other sequence to the loss or
     damage.

     This exclusion shall not apply if the peril of Flood is covered by this policy.

   N. Named Storm Restriction




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      This policy shall exclude all damage directly or indirectly caused by a “Named Storm” that
      is in existence at the time that written request to bind is given to the Program Manager, until
      coverage for such “Named Storm” has been bound by written agreement between the
      Program Manager and the First Named Insured. In addition, no increase in limits or
      additional coverages will be provided for any insured Location(s) threatened by such
      “Named Storm”, until coverage for such “Named Storm” has been bound by written
      agreement between the Program Manager and the First Named Insured.

   O. Marijuana and Schedule 1 Controlled Substance Exclusion




CE
      This policy does not insure against any loss or damage to any Property, including related
      Expenses and Business Income, as respects Property involving Marijuana or Schedule 1
      Controlled Substances.

 3. Definitions




                      RT
   A. Actual Cash Value
      IL 01 66 07 02

      The following is added to any provision which uses the term actual cash value:

      Actual cash value is calculated as the amount it would cost to repair or replace Covered




                                               IF
      Property, at the time of loss or damage, with material of like kind and quality, subject to a
      deduction for deterioration, depreciation and obsolescence. Actual cash value applies to
      valuation of Covered Property regardless of whether that property has sustained partial or
      total loss or damage.




                                                                IE
      The actual cash value of the lost or damaged property may be significantly less than its
      replacement cost.

   B. Building




                                                                  D
      Building is defined as a fully enclosed permanent structure with walls and a continuous
      roof; and such structure while in the course of construction.

   C. Defined Cause of Loss

      Means Fire, Lightning, Explosion, Windstorm or Hail, Smoke, Aircraft or Vehicle Impact,
      Riot, Strike or Civil Commotion, Vandalism and Malicious Mischief, or Leakage from Fire
      Protection Equipment.

   D. Exterior Insulation and Finish Systems (EIFS)

      EIFS means a non-load bearing, exterior wall cladding system that consists of an expanded
      foam insulation board attached either adhesively or mechanically, or both, to a substrate;
      an integrally reinforced base coat; and a textured protective finish coat.

   E. Fungus, Mold(s), Mildew, Spores or Yeast:

      Fungus includes, but is not limited to, any of the plants or organisms belonging to the major
      group fungi, lacking chlorophyll, and including mold(s), rusts, mildews, smuts and
      mushrooms.

      Mold includes, but is not limited to, any superficial growth produced on damp or decaying
      organic matter or on living organisms, and fungi that produce mold(s).



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      Spore means any dormant or reproductive body produced by or arising or emanating out of
      any fungus, mold(s), mildew, plants, organisms or microorganisms.

   F. Hurricane

      A hurricane is a storm system that has been declared to be a hurricane by the National
      Hurricane Center of the National Weather Service.

   G. Location




CE
      Location means any building, yard, dock, wharf, pier or bulkhead or any group of the
      foregoing bounded on all sides by public streets, clear Land space or open waterways,
      each not less than two hundred feet wide. Any bridge or tunnel crossing such street, space
      or waterway shall render such separation inoperative for the purpose of this definition.

    H. Named Storm




                     RT
      The term “Named Storm” shall include, but not be limited to, storm, cyclone, typhoon,
      atmospheric disturbance, depression or other weather phenomena designated by the US
      National Hurricane Center and where a name (and not only a number) has been applied.

   I. Pollutants or Contaminants




                                              IF
      Means any solid, liquid, gaseous or thermal irritant or contaminant, including smog, smoke,
      vapor, soot, fumes, acids, alkalis, chemicals and waste, which after its release can cause
      or threaten damage to human health or human welfare or causes or threatens damage,
      deterioration, loss of value, marketability or loss of use to property insured hereunder,




                                                               IE
      including, but not limited to, bacteria, virus, or hazardous substances as listed in the
      Federal Water Pollution Control Act , Clean Air Act, Resource Conservation and Recovery
      Act of 1976, and Toxic Substances Control Act or as designated by the U. S.
      Environmental Protection Agency. Waste includes materials to be recycled, reconditioned
      or reclaimed.




                                                                 D
   J. Warranty

            a. “Warranty” means any provision of an insurance contract which has the effect of
               requiring, as a condition precedent of the taking effect of such contract or as a
               condition precedent of the insurer’s liability hereunder, the existence of fact which
               tends to diminish, or the non-existence of a fact which tends to increase, the risk
               of the occurrence of loss, damage, or injury within the coverage of the contract.

            b. A breach of warranty shall not void an insurance contract or defeat recovery
               hereunder unless such breach materially increases the risk of loss, damage or
               injury within the coverage of the contract. If the insurance contract specified two
               or more distinct kinds of loss, damage or injury which are within its coverage, a
               breach of warranty shall not void such contract or defeat recovery hereunder with
               respect to any kind of loss, damage or injury other than the kind or kinds to which
               such warranty relates and the risk of which is materially increased by the breach
               of such warranty.




 All other terms and conditions remain unchanged.



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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     LLOYD’S OF LONDON AMENDATORY

 WITH RESPECT TO THE COVERAGE PROVIDED BY CERTAIN UNDERWRITERS
 AT LLOYD’S, LONDON, THE FOLLOWING CLAUSES (SERVICE OF SUIT and
 APPLICABLE LAW) SHALL APPLY:




CE
                          Service of Suit Clause (U.S.A.)
                                NMA 1998 4/24/86 (USA date)

 It is agreed that in the event of the failure of the Underwriters hereon to pay any amount claimed
 to be due hereunder, the Underwriters hereon, at the request of the Insured (or Reinsured), will
 submit to the jurisdiction of a Court of competent jurisdiction within the United States. Nothing in




                       RT
 this Clause constitutes or should be understood to constitute a waiver of Underwriters' rights to
 commence an action in any Court of competent jurisdiction in the United States, to remove an
 action to a United States District Court, or to seek a transfer of a case to another Court as
 permitted by the laws of the United States or of any State in the United States. It is further agreed
 that service of process in such suit may be made upon




                                                IF
 1. California Insureds:                            2. All other Insureds:
 Foley & Lardner, LLP                               Lloyd’s America, Inc.
 555 California Street, Suite 1700                  Attention: Legal Department
 San Francisco, CA 94104-1520                       280 Park Avenue, East Tower, 25th Floor
 USA                                                New York, NY 10017




                                                                 IE
                                                    USA

 and that in any suit instituted against any one of them upon this contract, Underwriters will abide
 by the final decision of such Court or of any Appellate Court in the event of an appeal.




                                                                   D
 The above-named are authorized and directed to accept service of process on behalf of
 Underwriters in any such suit and/or upon the request of the Insured (or Reinsured) to have a
 written undertaking to the Insured (or Reinsured) that they will enter a general appearance upon
 Underwriters' behalf in the event such a suit shall be instituted.

 Further, pursuant to any statute of any state, territory or district of the United States which makes
 provision therefor, Underwriters hereon hereby designate the Superintendent, Commissioner or
 Director of Insurance or other officer specified for that purpose in the statute, or his successor or
 successors in office, as their true and lawful attorney upon whom may be served any lawful
 process in any action, suit or proceeding instituted by or on behalf of the Insured (or Reinsured)
 or any beneficiary hereunder arising out of this contract of insurance (or reinsurance), and hereby
 designate the above-named person to whom the said officer is authorized to mail such process or
 a true copy thereof.


                             APPLICABLE LAW (U.S.A.)
                               LMA5021 9/14/2005 (USA date)


 This Insurance shall be subject to the applicable state law to be determined by the court of
 competent jurisdiction as determined by the provisions of the Service of Suit Clause (USA).




 LLOYDS - SOS 10 19
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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

WITH RESPECT TO THE COVERAGE PROVIDED BY QBE SPECIALTY INSURANCE COMPANY,
                     THE FOLLOWING CLAUSES SHALL APPLY:

                               QBE SPECIALTY INSURANCE COMPANY
                               SERVICE OF PROCESS ENDORSEMENT
When a cause of action arises in any of the states listed below, service of process applies as shown below for that state.




        CE
As used in this endorsement, “the Company” shall mean QBE Specialty Insurance Company.

                                         ALABAMA Service of Process Clause
   The Company hereby designates the Commissioner of Insurance of the State of Alabama as its true and lawful attorney
   upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
   or any beneficiary hereunder arising out of this contract of insurance. The Company further designates CT Corporation




                                   RT
   System, 2 North Jackson Street, Suite 605, Montgomery, AL 36104 as the person to whom the Commissioner shall mail
   process.

                                              ALASKA Service of Process Clause
   Upon any cause of action arising in Alaska under this contract, the Company may be sued. The Company appoints the
   Director of Insurance for the State of Alaska as its attorney for acceptance of service of all legal process issued in this
   state in any action or proceeding arising out of this policy. Service of process upon the Director, or his successors in




                                                            IF
   office, shall be lawful service upon the Company. The Company further designates CT Corporation System, 9360 Glacier
   Highway, Suite 202, Juneau, AK 99801 as the person to whom the Director is authorized to mail such process or a true
   copy thereof.

                                           ARIZONA Service of Process Clause




                                                                             IE
   Upon any cause of action arising in Arizona under this contract, the Company may be sued in the circuit court of the
   county in which the cause of action arose. Service of process against the Company may be made in such action by
   service upon the Director of Insurance of the State of Arizona by the clerk of the court in which the action is brought. The
   Company further designates CT Corporation System, 3800 North Central Avenue, Suite 460, Phoenix, AZ 85012, as the




                                                                               D
   person to whom the Director shall mail process.

                                        ARKANSAS Service of Process Clause
   Upon any cause of action arising in Arkansas under this contract, the Company may be sued in the court of the county
   in which the cause of action arose. Service of process against the Company may be made in such action by service
   upon the Commissioner of Insurance of the State of Arkansas and his successors in office by the clerk of the court in
   which the action is brought. The Company further designates The Corporation Company, 124 West Capitol Avenue,
   Suite 1900, Little Rock, AR 72201 as the person to whom the Commissioner shall mail process.

                                               CALIFORNIA Service of Suit Clause
   The Company hereby designates CT Corporation System, 330 North Brand Boulevard, Glendale, California 91203-2336
   as its true and lawful attorney in and for the State of California, upon whom all lawful process may be served in any
   action, suit or proceeding instituted in California by or on behalf of any insured or beneficiary against the Company arising
   out of this insurance policy, provided a copy of any process, suit, complaint or summons is sent by certified or registered
   mail to: 55 Water Street, 19th Floor, New York, NY 10041.

                                         COLORADO Service of Process Clause
   Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
   cause of action arose. The Company appoints the Commissioner of Insurance for the State of Colorado as its attorney
   for acceptance of service of all legal process issued in this state in any action or proceeding arising out of this policy.
   Service of process upon the Commissioner shall be lawful service upon the Company. The Company further designates
   CT Corporation System, 7700 East Arapahoe Road, Suite 220, Centennial, CO 80112 as the person to whom the
   Commissioner is authorized to mail such process or a true copy thereof.




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                                      CONNECTICUT Service of Process Clause
  Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
  cause of action arose. The Company appoints the Commissioner of Insurance for the State of Connecticut as its attorney
  for acceptance of service of all legal process issued in this state in any action or proceeding arising out of this policy.
  Service of process upon the Commissioner shall be lawful service upon the Company. The Company further designates
  CT Corporation System, 67 Burnside Avenue, East Hartford, CT 06108 as the person to whom the Commissioner is
  authorized to mail such process or a true copy thereof.

                                         DELAWARE Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Delaware as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary arising out of this contract of insurance. The Company further designates Delaware Department of




        CE
  Insurance, 1351 West North Street, Suite 101, Dover, DE 19904 as the person to whom the Commissioner shall mail
  process.

                                 DISTRICT OF COLUMBIA Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the District of Columbia as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation System,




                                  RT
  1015 15th Street, NW, Suite 1000, Washington, DC 20005 as the person to whom the Commissioner shall mail process.

                                            FLORIDA Service of Process Clause
  The Company hereby designates the Chief Financial Officer of the Department of Financial Services as its agent upon
  whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured or any
  beneficiary hereunder arising out of this contract of insurance. The Company further designates CT Corporation System,
  1200 South Pine Island Road, Plantation, FL 33324 as the person to whom the Chief Financial Officer shall mail process.




                                                            IF
                                                  GEORGIA Service of Process
  Upon any cause of action under this policy, the Company may be sued in the superior court of the county in which the
  cause of action arose. The Company appoints the Georgia Commissioner of Insurance as its attorney for acceptance




                                                                              IE
  of service of all legal process issued in this state in any action or proceeding arising out of this policy. Service of process
  upon the Commissioner shall be lawful service upon the Company. The Company further designates CT Corporation
  System, 289 South Culver Street, Lawrenceville, GA 30046 as the person to whom the Commissioner is authorized to
  mail such process or a true copy thereof.




                                                                                D
                                           HAWAII Service of Process Clause
  Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
  cause of action arose. The Company appoints the Commissioner of Insurance for the State of Hawaii as its attorney for
  acceptance of service of all legal process issued in this state in any action or proceeding arising out of this policy. Service
  of process upon the Commissioner shall be lawful service upon the Company. The Company further designates The
  Corporation Company, Inc., 1136 Union Mall, Suite 301, Honolulu, HI 96813 as the person to whom the Commissioner
  is authorized to mail such process or a true copy thereof.

                                           IDAHO Service of Process Clause
  Upon any cause of action arising in Idaho under this contract, the Company may be sued in the district court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Director of the Department of Insurance of the State of Idaho. The Company further designates CT Corporation
  System, 921 S. Orchard Street, Suite G, Boise, ID 83705 as the person to whom the Director shall mail process.

                                             ILLINOIS Service of Process Clause
  The Company hereby designates the Director of the Illinois Department of Insurance and his successor or successors
  in office as its true and lawful attorney upon whom may be served any lawful process in any action, suit or proceeding
  instituted by or on behalf of the insured or any beneficiary hereunder arising out of this contract of insurance. The
  Company further designates CT Corporation System, 208 South LaSalle Street, Suite 814, Chicago, IL 60604 as the
  person to whom the Director shall mail process.




                                           INDIANA Service of Process Clause
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  Upon any cause of action arising in Indiana under this contract, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Commissioner of Insurance of the State of Indiana by the clerk of the court in which the action is brought. The
  Company further designates CT Corporation System, 334 North Senate Avenue, Indianapolis, IN 46204-1708 as the
  person to whom the Commissioner shall mail process.

                                            IOWA Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Iowa as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation System,
  400 East Court Avenue, Suite 110, Des Moines, Iowa 50309 as the person to whom the Commissioner shall mail process.




        CE
                                         KANSAS Service of Process Clause
  Upon any cause of action arising in Kansas under this policy, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Commissioner of Insurance of the State of Kansas and his successor or successors in office. The Company further
  designates The Corporation Company, Inc., 112 S.W. Seventh Street, Suite 3C, Topeka, KS 66603 as the person to
  whom the Commissioner shall mail process.




                                 RT
                                          KENTUCKY Service of Process Clause
  Upon any cause of action arising in Kentucky under this contract, the Company may be sued in the circuit court of the
  county in which the cause of action arose. Service of process against the Company may be made in such action by
  service upon the Kentucky Secretary of State by the clerk of the court in which the action is brought. The Company
  further designates CT Corporation System, 306 West Main Street, Suite 512, Frankfort, KY 40601 as the person to whom
  the Secretary of State shall mail process.




                                                          IF
                                       LOUISIANA Service of Process Clause
  Upon any cause of action arising in Louisiana under this contract, the Company may be sued in the district court of the
  parish in which the cause of action arose. Service of process against the Company may be made in such action by
  service upon the Louisiana Secretary of State. The Company further designates CT Corporation System, 3867 Plaza




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  Tower Drive, Baton Rouge, LA 70816 as the person to whom the Secretary of State shall mail process.

                                            MAINE Service of Process Clause
  Upon any cause of action arising in this State under this policy, the Company may be sued in the Superior Court. Service
  of legal process against the Company may be made in any such action by service of two copies upon the designated




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  agent. The Company further designates CT Corporation System, 128 State Street, #3, Augusta, ME 04330 as the agent.

                                      MARYLAND Service of Process Clause
  Upon any cause of action arising in Maryland under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Insurance Commissioner of the State of Maryland by the clerk of the court in which the action is brought. The
  Company further designates The Corporation Trust Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, MD
  21093 as the person to whom the Commissioner shall mail process.

                                    MASSACHUSETTS Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Massachusetts as its true and lawful
  attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the
  insured or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation
  System, 155 Federal Street, Suite 700, Boston, MA 02110 as the person to whom the Commissioner shall mail process.

                                        MICHIGAN Service of Process Clause
  Upon any cause of action arising in Michigan under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Director of Insurance, c/o Resident Agent, of the State of Michigan by the clerk of the court in which the action
  is brought. The Company further designates The Corporation Company, 40600 Ann Arbor Road East, Suite 201,
  Plymouth, MI 48170 as the person to whom the Commissioner shall mail process.




                                       MINNESOTA Service of Process Clause

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  Upon any cause of action arising in Minnesota under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Commissioner of Commerce of the State of Minnesota by the clerk of the court in which the action is brought.
  The Company further designates CT Corporation System, Inc., 1010 Dale Street North, Saint Paul, MN 55117 as the
  person to whom the Commissioner shall mail process.

                                          MISSISSIPPI Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Mississippi as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation System,
  645 Lakeland East Drive, Suite 101, Flowood, MS 39232 as the person to whom the Commissioner shall mail process.

                                          MISSOURI Service of Process Clause




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  Upon any cause of action arising in Missouri under this contract, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Director of Insurance of the State of Missouri and his successors in office by the clerk of the court in which the action
  is brought. The Company further designates CT Corporation System, 120 South Central Avenue, Clayton, MO 63105
  as the person to whom the Director shall mail process.




                                  RT
                                          MONTANA Service of Process Clause
  Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
  cause of action arose. The Company appoints the Commissioner of Insurance of the State of Montana as its attorney
  for acceptance of the service of all legal process issued in this state in any action or proceeding arising out of this policy.
  Service of process upon the Commissioner shall be lawful service upon the Company. The Company further designates
  CT Corporation System, 3011 American Way, Missoula, MT 59808 as the person to whom the Commissioner is
  authorized to mail such process or a true copy thereof.




                                                            IF
                                        NEBRASKA Service of Process Clause
  Upon any cause of action arising in Nebraska under this policy, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon




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  the Director of Insurance of the State of Nebraska. The Company further designates CT Corporation System, 5601
  South 59th Street, Suite C, Lincoln, NE 68516 as the person to whom the Director shall mail process.

                                          NEVADA Service of Process Clause
  Upon any cause of action arising in Nevada under this contract, the Company may be sued in a district court of Nevada.




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  Service of process against the Company may be made in such action by service upon the Commissioner of Insurance
  of the State of Nevada or the Commissioner’s authorized representative. The Company further designates The
  Corporation Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, NV 89701 as the person to
  whom the Commissioner shall mail process.

                                   NEW HAMPSHIRE Service of Process Clause
  Upon any cause of action arising in New Hampshire under this contract, the Company may be sued in the court of the
  county in which the cause of action arose. Service of process against the Company may be made in such action by
  service upon the Commissioner of Insurance of the State of New Hampshire by the clerk of the court in which the action
  is brought. The Company further designates CT Corporation System, 2½ Beacon Street, Concord, NH 03301-4447 as
  the person to whom the Commissioner shall mail process.

                                      NEW JERSEY Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of New Jersey as its true and lawful
  attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the
  insured or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation
  System, 820 Bear Tavern Road, West Trenton, NJ 08628 as the person to whom the Commissioner shall mail process.

                                       NEW MEXICO Service of Process Clause
  Upon any cause of action arising in New Mexico under this contract, the Company may be sued in the district court of
  the county in which the cause of action arose. Service of process against the Company may be made in such action by
  service upon the Superintendent of Insurance of the State of New Mexico by the clerk of the court in which the action is
  brought. The Company further designates CT Corporation System, 206 South Coronado Avenue, Espanola, NM 87532
  as the person to whom the Superintendent shall mail process.

                                           NEW YORK Service of Process Clause


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         Case 4:23-cv-02626            Document 1-1          Filed on 07/19/23 in TXSD            Page 36 of 96
  The Company hereby designates the Superintendent of Financial Services of the State of New York, and his successors
  in office, as its true and lawful attorney upon whom all lawful process may be served in any action, suit, or proceeding
  instituted in this State by or on behalf of the insured or any beneficiary against the Company arising out of this policy of
  insurance. The Company further designates CT Corporation System, 28 Liberty Street, New York, NY 10005 as the
  person to whom the Superintendent shall mail process.

                                        NORTH CAROLINA Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of North Carolina, and his successor(s) in
  office, as its true and lawful attorney upon whom may be served any lawful process in any action, suit or proceeding
  instituted by or on behalf of the insured or any beneficiary arising out of this contract of insurance. The Company further
  designates CT Corporation System, 160 Mine Lake Court, Suite 200, Raleigh, NC 27615 as the person to whom the
  Commissioner shall mail process.




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                                     NORTH DAKOTA Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of North Dakota as its true and lawful
  attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the
  insured or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation
  System, 120 West Sweet Avenue, Bismarck, ND 58504 as the person to whom the Commissioner shall mail process.




                                  RT
                                           OHIO Service of Process Clause
  Upon any cause of action arising in Ohio under this contract, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Superintendent of Insurance of the State of Ohio by the clerk of the court in which the action is brought. The Company
  further designates CT Corporation System, 4400 Easton Commons Way, Suite 125, Columbus, OH 43219 as the person
  to whom the Superintendent shall mail process.




                                                           IF
                                       OKLAHOMA Service of Process Clause
  Upon any cause of action arising in Oklahoma under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Commissioner of Insurance of the State of Oklahoma by the clerk of the court in which the action is brought.




                                                                             IE
  The Company further designates The Corporation Company, 1833 South Morgan Road, Oklahoma City, OK 73128 as
  the person to whom the Commissioner shall mail process.

                                        OREGON Service of Process Clause
  Upon any cause of action arising in Oregon under this contract, the Company may be sued in the circuit court of the




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  county in which the cause of action arose. The Company further designates CT Corporation System, 780 Commercial
  Street SE, Suite 100, Salem, OR 97301 as the person to whom the process shall be mailed.

                                         PENNSYLVANIA Service of Process Clause
  Upon any cause of action arising in Pennsylvania under this contract, the Company may be sued in the court of the
  county in which the cause of action arose. The Company hereby designates the Commissioner of Insurance of the
  Commonwealth of Pennsylvania as its true and lawful attorney upon whom may be served any lawful process in any
  action, suit or proceeding instituted by or on behalf of the insured or any beneficiary arising out of this contract of
  insurance. Service of process shall be made pursuant to the procedures provided by 42 Pa.C.S. Ch. 53 Subch. B
  (relating to interstate and international procedure). The Company further designates CT Corporation System, 600 North
  Second Street, Suite 401, Harrisburg, PA 17101 as the person to whom the Commissioner shall mail process.

                                     RHODE ISLAND Service of Process Clause
  Upon any cause of action arising in Rhode Island under this policy, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Commissioner of Insurance of the State of Rhode Island by the clerk of the court in which the action is brought.
  The Company further designates CT Corporation System, 450 Veterans Memorial Parkway, Suite 7A, East Providence,
  RI 02914 as the person to whom the Commissioner shall mail process.

                                     SOUTH CAROLINA Service of Process Clause
  The Company hereby designates the Director of Insurance of the State of South Carolina as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation System, 2
  Office Park Court, Suite 103, Columbia, SC 29223 as the person to whom the Director shall mail process.

                                       SOUTH DAKOTA Service of Process Clause

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         Case 4:23-cv-02626           Document 1-1         Filed on 07/19/23 in TXSD            Page 37 of 96
  Any cause of action against the Company arising in South Dakota under this policy shall be brought in the circuit court
  for the county in which the cause of action arose. Service of legal process against the Company may be made in any
  such action by service upon the Director of Insurance of the State of South Dakota and his successors in office. The
  Company further designates CT Corporation System, 319 South Coteau Street, Pierre, SD 57501 as the person to whom
  the Director shall mail a copy of the process.

                                       TENNESSEE Service of Process Clause
  The Company hereby designates the Commissioner of Commerce and Insurance of the State of Tennessee as its true
  and lawful attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or on
  behalf of the insured or any beneficiary arising out of this contract of insurance. The Company further designates CT
  Corporation System, 300 Montvue Road, Knoxville, TN 37919 as the person to whom the Commissioner shall mail
  process.




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                                            TEXAS Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Texas as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary hereunder arising out of this contract of insurance. The Company further designates CT Corporation
  System, 1999 Bryan Street, Suite 900, Dallas, TX 75201 as the person to whom the Commissioner shall mail process.




                                 RT
                                             UTAH Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Utah as its agent upon whom may be
  served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured or any beneficiary
  hereunder arising out of this contract of insurance. The Company further designates CT Corporation System, 1108 East
  South Union Avenue, Midvale, UT 84047 as the person to whom the Commissioner shall mail process.

                                          VERMONT Service of Process Clause




                                                          IF
  The Company hereby designates the Secretary of State of Vermont as its true and lawful attorney upon whom may be
  served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured or any beneficiary
  arising out of this contract of insurance. The Company further designates CT Corporation System, 17 G W Tatro Drive,
  Jeffersonville, VT 05464 as the person to whom the Secretary of State shall mail process.




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                                          VIRGINIA Service of Process Clause
  The Company hereby designates the Clerk of the Virginia State Corporation Commission as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary hereunder arising out of this contract of insurance. The Company further designates CT Corporation




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  System, 4701 Cox Road, Suite 285, Glen Allen, VA 23060 as the person to whom the Clerk of the Commission shall
  mail process.

                                       WASHINGTON Service of Process Clause
  Upon any cause of action arising in Washington under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Commissioner of Insurance of the State of Washington by the clerk of the court in which the action is brought.
  The Company further designates CT Corporation System, 711 Capitol Way South, Suite 204, Olympia, WA 98501 as
  the person to whom the Commissioner shall mail process.

                                     WEST VIRGINIA Service of Process Clause
  Upon any cause of action arising in West Virginia under this policy, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Secretary of State of West Virginia by the clerk of the court in which the action is brought. The Company further
  designates CT Corporation System, 5098 Washington Street W, Suite 407, Charleston, WV 25313 as the person to
  whom the Secretary of State shall mail process.

                                      WISCONSIN Service of Process Clause
  Upon any cause of action arising in Wisconsin under this policy the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Commissioner of Insurance of the State of Wisconsin. The Company further designates CT Corporation System,
  301 South Bedford Street, Suite 1, Madison, WI 53703 as the person to whom the Commissioner shall mail process.



                                        WYOMING Service of Process Clause

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          Case 4:23-cv-02626            Document 1-1           Filed on 07/19/23 in TXSD            Page 38 of 96
   Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
   cause of action arose. The Company appoints the Commissioner of Insurance of the State of Wyoming as its attorney
   for acceptance of the service of all legal process issued in this state in any action or proceeding arising out of this policy.
   Service of process upon the Commissioner shall be lawful service upon the Company. The Company further designates
   CT Corporation System, 1908 Thomas Avenue, Cheyenne, WY 82001 as the person to whom the Commissioner is
   authorized to mail such process or a true copy thereof.

All other terms and conditions of this policy remain unchanged.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 VARIOUS COMPANIES’ SERVICE OF SUIT CLAUSES

WITH RESPECT TO THE COVERAGE PROVIDED BY:

       GENERAL SECURITY INDEMNITY COMPANY OF ARIZONA; OR
       HDI GLOBAL SPECIALTY SE; OR
       UNITED SPECIALTY INSURANCE COMPANY; OR
       LEXINGTON INSURANCE COMPANY; OR




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       OLD REPUBLIC UNION INSURANCE COMPANY; OR
       SAFETY SPECIALTY INSURANCE COMPANY; OR
       GEOVERA SPECIALTY INSURANCE COMPANY; OR
       TRANSVERSE SPECIALTY INSURANCE COMPANY.


THE FOLLOWING APPLICABLE CLAUSES SHALL APPLY TO THE INDICATED




                        RT
COMPANY(IES), PROVIDED THAT COMPANY IS PARTICIPATING ON THE POLICY:

                                  Service of Suit Clause(s)

It is agreed that in the event of the failure of the Company hereon to pay any amount claimed to




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be due hereunder, the Company hereon, at the request of the Insured (or Reinsured), will
submit to the jurisdiction of a Court of competent jurisdiction within the United States. Nothing in
this Clause constitutes or should be understood to constitute a waiver of the Company’s rights
to commence an action in any Court of competent jurisdiction in the United States, to remove an




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action to a United States District Court, or to seek a transfer of a case to another Court as
permitted by the laws of the United States or of any State in the United States. It is further
agreed that service of process in such suit may be made upon:

       General Security Indemnity Company of Arizona




                                                                D
             28 Liberty Street, Suite 5400
             New York, NY 10005
             Attn.: Rodolphe Herve, CEO
             With Copy to:
             28 Liberty Street, Suite 5400
             New York., NY 10005
             Attn.: Maxine Verne, General Legal Counsel

       HDI Global Specialty SE
             Mendes & Mount, LLP
             750 Seventh Avenue
             New York, New York 10019
             T: (212) 261-8339
             F: (212) 261-8750

       United Specialty Insurance Company
              1900 L. Don Dodson Drive
              Bedford, Texas 76021
              Attn.: Terry L. Ledbetter




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       Lexington Insurance Company
             99 High Street, FL 24
             Boston, MA 02110
             Facsimile: (866) 753-8411
             Attn.: Division Executive, Commercial Property
             With copies to:
             AIG Property Casualty U.S.           and    Lexington Insurance Company




CE
             1271 Ave of the Americas, FL 37             99 High Street, FL 24
             New York, NY 10020-1304                     Boston, MA 02110
             Facsimile: (212) 458-7080                   Facsimile: (617) 772-4588
             Attn.: General Counsel                      Attn.: General Counsel

       Old Republic Union Insurance Company




                       RT
             Old Republic Specialty Insurance Underwriters, Inc.
             c/o Office of General Counsel
             370 North Michigan Avenue
             Chicago, IL 60601

       Safety Specialty Insurance Company




                                             IF
              Office of General Counsel
              Safety National Insurance Company
              1832 Schuetz Road
              St. Louis, Missouri 63146




                                                            IE
       GeoVera Specialty Insurance Company
            GeoVera Holdings, Inc.
            1455 Oliver Road
            Fairfield, CA 94534




                                                              D
            Attn: Robert Hagedorn, General Counsel

       Transverse Specialty Insurance Company
             155 Village Boulevard, Ste 205
             Princeton, NJ 08540

and that in any suit instituted against any one of them upon this contract, the Company will
abide by the final decision of such Court or of any Appellate Court in the event of an appeal.

The above-named are authorized and directed to accept service of process on behalf of the
Company in any such suit and/or upon the request of the Insured (or Reinsured) to have a
written undertaking to the Insured (or Reinsured) that they will enter a general appearance upon
the Company’s behalf in the event such a suit shall be instituted.

Further, pursuant to any statute of any state, territory or district of the United States which
makes provision therefore, the Company hereon hereby designates the Superintendent,
Commissioner or Director of Insurance or other officer specified for that purpose in the statute,
or his successor or successors in office, as their true and lawful attorney upon whom may be
served any lawful process in any action, suit or proceeding instituted by or on behalf of the
Insured (or Reinsured) or any beneficiary hereunder arising out of this contract of insurance (or




VRS COS SOS – 09 21                                                          Page 2 of 3
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reinsurance), and hereby designate the above-named person to whom the said officer is
authorized to mail such process or a true copy thereof.




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                        NOTICE TO POLICYHOLDERS

                                          FRAUD NOTICE


    Alabama       Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or who knowingly presents false information in an application for insurance is
                  guilty of a crime and may be subject to restitution fines or confinement in prison, or any
                  combination thereof.
    Arkansas      Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or knowingly presents false information in an application for insurance is guilty of




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                  a crime and may be subject to fines and confinement in prison.
    California    General: All applications for commercial insurance, other than liability insurance:
                  Any person who knowingly and willfully presents false information in an application for
                  insurance may be guilty of insurance fraud and subject to fines and confinement in
                  prison.

                  All applications for liability insurance and all claim forms: For your protection




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                  California law requires the following to appear on this form: Any person who knowingly
                  presents false or fraudulent information to obtain or amend insurance coverage or to
                  make a claim for the payment of a loss is guilty of a crime and may be subject to fines
                  and confinement in state prison.
    Colorado      It is unlawful to knowingly provide false, incomplete, or misleading facts or
                  information to an insurance company for the purpose of defrauding or attempting




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                  to defraud the company. Penalties may include imprisonment, fines, denial of
                  insurance, and civil damages. Any insurance company or agent of an insurance
                  company who knowingly provides false, incomplete, or misleading facts or
                  information to a policyholder or claimant for the purpose of defrauding or
                  attempting to defraud the policyholder or claimant with regard to a settlement or




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                  award payable from insurance proceeds shall be reported to the Colorado Division
                  of Insurance within the Department of Regulatory Agencies.
    District of   WARNING: It is a crime to provide false or misleading information to an insurer for the
    Columbia      purpose of defrauding the insurer or any other person. Penalties include imprisonment




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                  and/or fines. In addition, an insurer may deny insurance benefits if false information
                  materially related to a claim was provided by the applicant.
    Florida       Any person who knowingly and with intent to injure, defraud, or deceive any insurer files
                  a statement of claim or an application containing any false, incomplete, or misleading
                  information is guilty of a felony of the third degree.
    Kansas        A "fraudulent insurance act" means an act committed by any person who, knowingly and
                  with intent to defraud, presents, causes to be presented or prepares with knowledge or
                  belief that it will be presented to or by an insurer, purported insurer, broker or any agent
                  thereof, any written, electronic, electronic impulse, facsimile, magnetic, oral, or
                  telephonic communication or statement as part of, or in support of, an application for the
                  issuance of, or the rating of an insurance policy for personal or commercial insurance, or
                  a claim for payment or other benefit pursuant to an insurance policy for commercial or
                  personal insurance that such person knows to contain materially false information
                  concerning any fact material thereto; or conceals, for the purpose of misleading,
                  information concerning any fact material thereto.
    Kentucky      Any person who knowingly and with intent to defraud any insurance company or other
                  person files an application for insurance containing any materially false information or
                  conceals, for the purpose of misleading, information concerning any fact material thereto
                  commits a fraudulent insurance act, which is a crime.
    Louisiana     Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or knowingly presents false information in an application for insurance is guilty of
                  a crime and may be subject to fines and confinement in prison.



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                        NOTICE TO POLICYHOLDERS

    Maine         It is a crime to knowingly provide false, incomplete or misleading information to an
                  insurance company for the purpose of defrauding the company. Penalties may include
                  imprisonment, fines, or denial of insurance benefits.
    Maryland      Any person who knowingly or willfully presents a false or fraudulent claim for payment of
                  a loss or benefit or who knowingly or willfully presents false information in an application
                  for insurance is guilty of a crime and may be subject to fines and confinement in prison.
    New Jersey    Any person who includes any false or misleading information on an application for an
                  insurance policy is subject to criminal and civil penalties.
    New Mexico    ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM




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                  FOR PAYMENT OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE
                  INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND
                  MAY BE SUBJECT TO CIVIL FINES AND CRIMINAL PENALTIES.
    New York      General: All applications for commercial insurance, other than automobile
                  insurance: Any person who knowingly and with intent to defraud any insurance
                  company or other person files an application for insurance or statement of claim
                  containing any materially false information, or conceals for the purpose of misleading,




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                  information concerning any fact material thereto, commits a fraudulent insurance act,
                  which is a crime, and shall also be subject to a civil penalty not to exceed five thousand
                  dollars and the stated value of the claim for each such violation.

                  All applications for automobile insurance and all claim forms: Any person who
                  knowingly makes or knowingly assists, abets, solicits or conspires with another to make




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                  a false report of the theft, destruction, damage or conversion of any motor vehicle to a
                  law enforcement agency, the department of motor vehicles or an insurance company,
                  commits a fraudulent insurance act, which is a crime, and shall also be subject to a civil
                  penalty not to exceed five thousand dollars and the value of the subject motor vehicle or
                  stated claim for each violation.




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                  Fire: Any person who knowingly and with intent to defraud any insurance company or
                  other person files an application for insurance containing any false information, or
                  conceals for the purpose of misleading, information concerning any fact material thereto,




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                  commits a fraudulent insurance act, which is a crime.

                  The proposed insured affirms that the foregoing information is true and agrees that these
                  applications shall constitute a part of any policy issued whether attached or not and that
                  any willful concealment or misrepresentation of a material fact or circumstances shall be
                  grounds to rescind the insurance policy.
    Ohio          Any person who, with intent to defraud or knowing that he is facilitating a fraud against
                  an insurer, submits an application or files a claim containing a false or deceptive
                  statement is guilty of insurance fraud.
    Oklahoma      WARNING: Any person who knowingly, and with intent to injure, defraud or deceive any
                  insurer, makes any claim for the proceeds of an insurance policy containing any false,
                  incomplete or misleading information is guilty of a felony.

                  WARNING: All Workers Compensation Insurance:
                  Any person or entity who makes any material false statement or representation, who
                  willfully and knowingly omits or conceals any material information, or who employs any
                  device, scheme, or artifice, or who aids and abets any person for the purpose of:
                  1. obtaining any benefit or payment,
                  2. increasing any claim for benefit or payment, or
                  3. obtaining workers' compensation coverage under the Administrative Workers'
                       Compensation Act, shall be guilty of a felony punishable pursuant to Section 1663
                       of Title 21 of the Oklahoma Statutes.




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                             NOTICE TO POLICYHOLDERS

    Pennsylvania       Any person who knowingly and with intent to defraud any insurance company or other
                       person files an application for insurance or statement of claim containing any materially
                       false information or conceals for the purpose of misleading, information concerning any
                       fact material thereto commits a fraudulent insurance act, which is a crime and subjects
                       such person to criminal and civil penalties.

                       Automobile Insurance: Any person who knowingly and with intent to injure or defraud
                       any insurer files an application or claim containing any false, incomplete or misleading
                       information shall, upon conviction, be subject to imprisonment for up to seven years and




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                       the payment of a fine of up to $15,000.
    Puerto Rico        Any person who knowingly and with the intention of defrauding presents false
                       information in an insurance application, or presents, helps, or causes the
                       presentation of a fraudulent claim for the payment of a loss or any other benefit,
                       or presents more than one claim for the same damage or loss, shall incur a felony
                       and, upon conviction, shall be sanctioned for each violation by a fine of not less
                       than five thousand dollars ($5,000) and not more than ten thousand dollars




                          RT
                       ($10,000), or a fixed term of imprisonment for three (3) years, or both penalties.
                       Should aggravating circumstances [be] present, the penalty thus established may
                       be increased to a maximum of five (5) years, if extenuating circumstances are
                       present, it may be reduced to a minimum of two (2) years.
    Rhode Island       Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                       benefit or knowingly presents false information in an application for insurance is guilty of
                       a crime and may be subject to fines and confinement in prison.




                                                    IF
    Tennessee          It is a crime to knowingly provide false, incomplete or misleading information to an
                       insurance company for the purpose of defrauding the company. Penalties include
                       imprisonment, fines and denial of insurance benefits.




                                                                      IE
                       Workers’ Compensation: It is a crime to knowingly provide false, incomplete or
                       misleading information to any party to a workers’ compensation transaction for the
                       purpose of committing fraud. Penalties include imprisonment, fines and denial of
                       insurance benefits.




                                                                        D
    Utah               Workers’ Compensation: Any person who knowingly presents false or fraudulent
                       underwriting information, files or causes to be filed a false or fraudulent claim for disability
                       compensation or medical benefits, or submits a false or fraudulent report or billing for
                       health care fees or other professional services is guilty of a crime and may be subject to
                       fines and confinement in state prison.
    Virginia           It is a crime to knowingly provide false, incomplete or misleading information to an
                       insurance company for the purpose of defrauding the company. Penalties include
                       imprisonment, fines and denial of insurance benefits.
    Washington         It is a crime to knowingly provide false, incomplete or misleading information to an
                       insurance company for the purpose of defrauding the company. Penalties include
                       imprisonment, fines and denial of insurance benefits.
    West Virginia      Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                       benefit or knowingly presents false information in an application for insurance is guilty of
                       a crime and may be subject to fines and confinement in prison.
    All Other States   Any person who knowingly and willfully presents false information in an application for
                       insurance may be guilty of insurance fraud and subject to fines and confinement in
                       prison. (In Oregon, the aforementioned actions may constitute a fraudulent insurance
                       act which may be a crime and may subject the person to penalties).




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                 OFAC Notice and Sanction Limitation Clauses

                       Office of Foreign Assets Control (“OFAC”) Regulations


Advisory notice to policyholders regarding the U.S. Treasury Department’s




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Office of Foreign Assets Control (“OFAC”) regulations

No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.

 This notice provides information concerning possible impact on your insurance coverage due to directives issued by the




                                  RT
                          U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").

Please read this Notice carefully.

OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:




                                                           IF
            Foreign agents;
            Front organizations;
            Terrorists;




                                                                            IE
            Terrorist organizations; and
            Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury's web
site – http://www.treasury.gov/about/organizational-structure/offices/Pages/Office-of-Foreign-Assets-Control.aspx.




                                                                              D
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on
premiums and payments also apply.

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                                Sanction Limitation and Exclusion Clause

No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any claim or provide any benefit
hereunder to the extent that the provision of such cover, payment of such claim or provision of such benefit would expose
that (re)insurer to any sanction, prohibition or restriction under United Nations resolutions or the trade or economic
sanctions, laws or regulations of the European Union, United Kingdom or United States of America.

                                                                                        LMA3100 9/15/2010 (USA date)
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                          Calendar Year Named Storm Deductible


      The Named Storm Wind/Hail Deductible, as described elsewhere in this policy, will apply anew in
      each calendar year. If the policy period does not coincide with the calendar year, then a separate
      Named Storm Wind/Hail Deductible will apply to loss or damage that occurs during each calendar
      year in which the policy is in force. For example, if the policy period is from July 1 of calendar year
      1 to June 30 of calendar year 2, a separate Named Storm Wind/Hail Deductible applies to loss or




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      damage occurring from July 1 to December 31 of calendar year 1 and to loss or damage occurring
      from January 1 to June 30 of calendar year 2.


      When a Named Storm results in loss or damage that exhausts the Named Storm Wind/Hail
      Deductible, then that Named Storm Wind/Hail Deductible will not apply to loss or damage from a
      subsequent Named Storm in the same calendar year. In such case, the Deductible that applies to




                         RT
      loss or damage from each subsequent Named Storm in that calendar year shall be the “All Other
      Wind/Hail” Deductible.

      When a Named Storm results in loss or damage that does not exhaust the Named Storm Wind/Hail
      Deductible, then the Named Storm Wind/Hail Deductible applicable to a subsequent Named Storm
      in the same calendar year shall be the greater of:




                                                  IF
                a) the All Other Wind/Hail Deductible; or
                b) the remaining amount of the Named Storm Wind/Hail Deductible. In this situation,
                   the remaining amount of the Named Storm Wind/Hail Deductible is determined by




                                                                   IE
                   subtracting the amount(s) of the aforementioned loss or damage from the Named
                   Storm Wind/Hail Deductible.




                                                                     D
All other terms and conditions remain unchanged.




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ACCOUNT NUMBER: 941662


    WITH RESPECT TO THE COVERAGE PROVIDED BY ALL UNDERWRITERS, CARRIERS AND
            INSURERS OF THIS POLICY, THE FOLLOWING CLAUSE SHALL APPLY:


                         UNINTENTIONAL ERRORS AND OMISSIONS




CE
Throughout this endorsement the word “Company” is synonymous with “we”, “us” and “our”.

The property insured under this policy is based on property as per schedule on file with the Company
submitted by the Insured prior to the inception of this policy.

However, if any property and/or location is omitted because of negligence, error, or oversight of the
Insured, and not a deliberate choice of the Insured, this Company will accept that property and/or location




                          RT
as being insured under this policy provided the item of property and/or location is the same in form and
substance as other Real and Personal Property usual and/or incidental to the operations of the Insured.

Furthermore, if any property and/or location is undervalued in the said schedule of values because of
negligence, error or oversight of the Insured, and not a deliberate choice of the Insured, such
undervaluation will not prejudice the Insured’s right of recovery under this policy.




                                                    IF
The Insured agrees to report to this Company any omission or undervaluation of property as soon as
practicable after it is discovered. All omitted or undervalued property will be included in Total Values at
anniversary or renewal.




                                                                     IE
The sublimit for UNINTENTIONAL ERRORS & OMISSIONS is included within the Limit of Insurance
shown in the Declarations as applicable to the covered Building Property. This sublimit does not increase
the Limit of Insurance.




                                                                       D
Sublimit:      $25,000




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                                                                                       COMMERCIAL PROPERTY
                                                                                             CP 00 32 10 12

         BUSINESS INCOME (WITHOUT EXTRA EXPENSE)
                     COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties
and what is and is not covered.




    CE
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations.
The words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section F.
Definitions.

A. Coverage                                                      We will pay for the actual loss of Business
                                                                 Income you sustain due to the necessary
    1. Business Income




                             RT
                                                                 "suspension" of your "operations" during the
        Business Income means the:                               "period of restoration". The "suspension"
        a.   Net Income (Net Profit or Loss before               must be caused by direct physical loss of or
             income taxes) that would have been                  damage to property at premises which are
             earned or incurred; and                             described in the Declarations and for which a
                                                                 Business Income Limit Of Insurance is shown
        b.   Continuing normal operating expenses
                                                                 in the Declarations. The loss or damage must
             incurred, including payroll.




                                                     IF
                                                                 be caused by or result from a Covered Cause
        For manufacturing risks, Net Income in-                  of Loss. With respect to loss of or damage
        cludes the net sales value of production.                to personal property in the open or personal
        Coverage is provided as described and                    property in a vehicle, the described premises
        limited below for one or more of the fol-                include the area within 100 feet of such




                                                                     IE
        lowing options for which a Limit Of Insur-               premises.
        ance is shown in the Declarations:                       With respect to the requirements set forth in
             (1) Business Income Including "Rental               the preceding paragraph, if you occupy only
                 Value".                                         part of a building, your premises means:




                                                                       D
             (2) Business   Income     Other    Than                     (a) The portion of the building which
                 "Rental Value".                                             you rent, lease or occupy;

             (3) "Rental Value".                                         (b) The area within 100 feet of the
                                                                             building or within 100 feet of the
        If option (1) above is selected, the term
                                                                             premises described in the Dec-
        Business Income will include "Rental
                                                                             larations, whichever distance is
        Value". If option (3) above is selected, the
                                                                             greater (with respect to loss of or
        term Business Income will mean "Rental
                                                                             damage to personal property in
        Value" only.
                                                                             the open or personal property in
        If Limits of Insurance are shown under                               a vehicle); and
        more than one of the above options, the
        provisions of this Coverage Part apply
        separately to each.




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               (c) Any area within the building or            4. Additional Coverages
                   at the described premises, if                 a.   Expenses To Reduce Loss
                   that area services, or is used to
                   gain access to, the portion of                     In the event of a covered loss of
                   the building which you rent,                       Business Income, we will pay necessary
                   lease or occupy.                                   expenses you incur, except the cost of
                                                                      extinguishing a fire, to avoid further
   2. Covered Causes Of Loss, Exclusions And                          loss of Business Income. The total of
      Limitations                                                     our payment for Business Income loss
       See applicable Causes Of Loss form as                          and Expenses To Reduce Loss will not




   CE
       shown in the Declarations.                                     be more than the Business Income loss
   3. Additional Limitation     –   Interruption   Of                 that would have been payable under
      Computer Operations                                             this Coverage Form (after application of
                                                                      any Coinsurance penalty) if the Ex-
       a.   Coverage for Business Income does not                     penses To Reduce Loss had not been
            apply when a "suspension" of "oper-                       incurred. This coverage does not in-
            ations" is caused by destruction or                       crease the Limit of Insurance.




                            RT
            corruption of electronic data, or any
            loss or damage to electronic data, ex-                    The Coinsurance condition does not
            cept as provided under the Additional                     apply specifically to such Expenses To
            Coverage, Interruption Of Computer                        Reduce Loss, but it is used as described
            Operations.                                               above to determine the total amount
                                                                      payable.
       b.   Electronic data means information,
            facts or computer programs stored as                 b.   Civil Authority




                                                    IF
            or on, created or used on, or trans-                      In this Additional Coverage, Civil
            mitted to or from computer software                       Authority, the described premises are
            (including systems and applications                       premises to which this Coverage Form
            software), on hard or floppy disks,                       applies, as shown in the Declarations.




                                                                      IE
            CD-ROMs, tapes, drives, cells, data                       When a Covered Cause of Loss causes
            processing devices or any other re-                       damage to property other than property
            positories of computer software which                     at the described premises, we will pay
            are used with electronically controlled                   for the actual loss of Business Income
            equipment. The term computer pro-                         you sustain caused by action of civil




                                                                        D
            grams, referred to in the foregoing                       authority that prohibits access to the
            description of electronic data, means a                   described premises, provided that both
            set of related electronic instructions                    of the following apply:
            which direct the operations and
            functions of a computer or device con-                    (1) Access to the area immediately
            nected to it, which enable the computer                       surrounding the damaged property
            or device to receive, process, store,                         is prohibited by civil authority as a
            retrieve or send data.                                        result of the damage, and the de-
                                                                          scribed premises are within that
       c.   This Additional Limitation does not                           area but are not more than one mile
            apply when loss or damage to elec-                            from the damaged property; and
            tronic data involves only electronic data
            which is integrated in and operates or                    (2) The action of civil authority is taken
            controls a building's elevator, lighting,                     in response to dangerous physical
            heating, ventilation, air conditioning or                     conditions resulting from the dam-
            security system.                                              age or continuation of the Covered
                                                                          Cause of Loss that caused the
                                                                          damage, or the action is taken to
                                                                          enable a civil authority to have
                                                                          unimpeded access to the damaged
                                                                          property.




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           Civil Authority Coverage will begin 72                               no direct physical loss or
           hours after the time of the first action                             damage had occurred; or
           of civil authority that prohibits access                         (ii) 60 consecutive days after
           to the described premises and will apply                              the date determined in (1)(a)
           for a period of up to four consecutive                                above.
           weeks from the date on which such
           coverage began.                                             However, Extended Business In-
                                                                       come does not apply to loss of
      c.   Alterations And New Buildings                               Business Income incurred as a
           We will pay for the actual loss of                          result of unfavorable business con-




   CE
           Business Income you sustain due to                          ditions caused by the impact of the
           direct physical loss or damage at the                       Covered Cause of Loss in the area
           described premises caused by or re-                         where the described premises are
           sulting from any Covered Cause of Loss                      located.
           to:                                                         Loss of Business Income must be
           (1) New     buildings or structures,                        caused by direct physical loss or
               whether complete or under con-                          damage at the described premises




                           RT
               struction;                                              caused by or resulting from any
           (2) Alterations or additions to existing                    Covered Cause of Loss.
               buildings or structures; and                        (2) "Rental Value"
           (3) Machinery, equipment, supplies or                       If the necessary "suspension" of
               building materials located on or                        your   "operations"    produces a
               within 100 feet of the described                        "Rental Value" loss payable under




                                                   IF
               premises and:                                           this policy, we will pay for the
              (a) Used in the construction, alter-                     actual loss of "Rental Value" you
                  ations or additions; or                              incur during the period that:

              (b) Incidental to the occupancy of                       (a) Begins on the date property is




                                                                  IE
                  new buildings.                                           actually repaired, rebuilt or re-
                                                                           placed and tenantability is re-
           If such direct physical loss or damage                          stored; and
           delays the start of "operations", the
           "period of restoration" will begin on the                   (b) Ends on the earlier of:




                                                                    D
           date "operations" would have begun if                            (i) The date you could restore
           the direct physical loss or damage had                               tenant occupancy, with rea-
           not occurred.                                                        sonable speed, to the level
      d.   Extended Business Income                                             which would generate the
                                                                                "Rental Value" that would
           (1) Business    Income    Other    Than                              have existed if no direct
               "Rental Value"                                                   physical loss or damage had
              If the necessary "suspension" of                                  occurred; or
              your    "operations"   produces  a                            (ii) 60 consecutive days after
              Business Income loss payable under                                 the date determined in (2)(a)
              this policy, we will pay for the                                   above.
              actual loss of Business Income you
              incur during the period that:                            However, Extended Business In-
                                                                       come does not apply to loss of
              (a) Begins on the date property                          "Rental Value" incurred as a result
                  (except "finished stock") is                         of unfavorable business conditions
                  actually repaired, rebuilt or re-                    caused by the impact of the Cov-
                  placed and "operations" are re-                      ered Cause of Loss in the area
                  sumed; and                                           where the described premises are
              (b) Ends on the earlier of:                              located.
                  (i) The date you could restore                       Loss of "Rental Value" must be
                      your "operations", with rea-                     caused by direct physical loss or
                      sonable speed, to the level                      damage at the described premises
                      which would generate the                         caused by or resulting from any
                      business income amount                           Covered Cause of Loss.
                      that would have existed if



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       e.   Interruption Of Computer Operations                             operation. But there is no cov-
            (1) Under this Additional Coverage,                             erage for an interruption related
                electronic data has the meaning de-                         to manipulation of a computer
                scribed under Additional Limitation                         system    (including   electronic
                – Interruption Of Computer Oper-                            data) by any employee, in-
                ations.                                                     cluding a temporary or leased
                                                                            employee, or by an entity re-
            (2) Subject to all provisions of this                           tained by you or for you to
                Additional Coverage, you may                                inspect, design, install, main-
                extend the insurance that applies to                        tain, repair or replace that




   CE
                Business Income to apply to a "sus-                         system.
                pension" of "operations" caused by
                an interruption in computer oper-                    (4) The most we will pay under this
                ations due to destruction or cor-                        Additional Coverage, Interruption Of
                ruption of electronic data due to a                      Computer Operations, is $2,500
                Covered Cause of Loss. However,                          (unless a higher limit is shown in
                we will not provide coverage under                       the Declarations)     for all loss




                            RT
                this Additional Coverage when the                        sustained in any one policy year,
                Additional Limitation – Interruption                     regardless of the number of inter-
                Of Computer Operations does not                          ruptions or the number of premises,
                apply based on Paragraph A.3.c.                          locations or computer systems in-
                therein.                                                 volved. If loss payment relating to
                                                                         the first interruption does not ex-
            (3) With respect to the coverage                             haust this amount, then the balance




                                                   IF
                provided under this Additional                           is available for loss sustained as a
                Coverage, the Covered Causes of                          result of subsequent interruptions in
                Loss are subject to the following:                       that policy year. A balance re-
               (a) If the Causes Of Loss – Special                       maining at the end of a policy year
                   Form applies, coverage under                          does not increase the amount of




                                                                     IE
                   this Additional Coverage, Inter-                      insurance in the next policy year.
                   ruption Of Computer Oper-                             With respect to any interruption
                   ations, is limited to the "spec-                      which begins in one policy year and
                   ified causes of loss" as defined                      continues or results in additional
                   in that form and Collapse as set                      loss in a subsequent policy year(s),




                                                                       D
                   forth in that form.                                   all loss is deemed to be sustained in
                                                                         the policy year in which the
               (b) If the Causes Of Loss – Broad
                                                                         interruption began.
                   Form applies, coverage under
                   this Additional Coverage, Inter-                  (5) This Additional Coverage, Inter-
                   ruption Of Computer Oper-                             ruption Of Computer Operations,
                   ations, includes Collapse as set                      does not apply to loss sustained
                   forth in that form.                                   after the end of the "period of
                                                                         restoration", even if the amount of
               (c) If the Causes Of Loss form is
                                                                         insurance stated in (4) above has
                   endorsed to add a Covered
                                                                         not been exhausted.
                   Cause of Loss, the additional
                   Covered Cause of Loss does not            5. Coverage Extension
                   apply to the coverage provided               If a Coinsurance percentage of 50% or
                   under this Additional Coverage,              more is shown in the Declarations, you may
                   Interruption Of Computer Oper-               extend the insurance provided by this
                   ations.                                      Coverage Part as follows:
               (d) The Covered Causes of Loss                   NEWLY ACQUIRED LOCATIONS
                   include a virus, harmful code or
                   similar instruction introduced               a.   You may extend your Business Income
                   into or enacted on a computer                     Coverage to apply to property at any
                   system     (including electronic                  location you acquire other than fairs or
                   data) or a network to which it is                 exhibitions.
                   connected, designed to damage                b.   The most we will pay for loss under
                   or destroy any part of the                        this Extension is $100,000 at each
                   system or disrupt its normal                      location, unless a higher limit is shown
                                                                     in the Declarations.



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       c.   Insurance under this Extension for each              b.   Bear the other expenses of the appraisal
            newly acquired location will end when                     and umpire equally.
            any of the following first occurs:                   If there is an appraisal, we will still retain
            (1) This policy expires;                             our right to deny the claim.
            (2) 30 days expire after you acquire or           2. Duties In The Event Of Loss
                begin to construct the property; or              a.   You must see that the following are
            (3) You report values to us.                              done in the event of loss:
            We will charge you additional premium                     (1) Notify the police if a law may have




   CE
            for values reported from the date you                         been broken.
            acquire the property.                                     (2) Give us prompt notice of the direct
            The Additional Condition, Coinsurance,                        physical loss or damage. Include a
            does not apply to this Extension.                             description of the property involved.
B. Limits Of Insurance                                                (3) As soon as possible, give us a de-
   The most we will pay for loss in any one                               scription of how, when and where
                                                                          the direct physical loss or damage




                             RT
   occurrence is the applicable Limit Of Insurance
   shown in the Declarations.                                             occurred.

   Payments under the following Additional                            (4) Take all reasonable steps to protect
   Coverages will not increase the applicable Limit                       the Covered Property from further
   of Insurance:                                                          damage, and keep a record of your
                                                                          expenses necessary to protect the
   1. Alterations And New Buildings;                                      Covered Property, for consideration




                                                    IF
   2. Civil Authority;                                                    in the settlement of the claim. This
                                                                          will not increase the Limit of In-
   3. Extended Business Income; or
                                                                          surance. However, we will not pay
   4. Expenses To Reduce Loss.                                            for any subsequent loss or damage
                                                                          resulting from a cause of loss that




                                                                      IE
   The amounts of insurance stated in the
   Interruption Of Computer Operations Additional                         is not a Covered Cause of Loss.
   Coverage and the Newly Acquired Locations                              Also, if feasible, set the damaged
   Coverage Extension apply in accordance with                            property aside and in the best
   the terms of those coverages and are separate                          possible order for examination.




                                                                        D
   from the Limit(s) Of Insurance shown in the                        (5) As often as may be reasonably
   Declarations for any other coverage.                                   required, permit us to inspect the
C. Loss Conditions                                                        property proving the loss or damage
                                                                          and examine your books and
   The following conditions apply in addition to
                                                                          records.
   the Common Policy Conditions and the Com-
   mercial Property Conditions:                                          Also permit us to take samples of
                                                                         damaged and undamaged property
   1. Appraisal
                                                                         for inspection, testing and analysis,
       If we and you disagree on the amount of                           and permit us to make copies from
       Net Income and operating expense or the                           your books and records.
       amount of loss, either may make written
                                                                      (6) Send us a signed, sworn proof of
       demand for an appraisal of the loss. In this
                                                                          loss containing the information we
       event, each party will select a competent
                                                                          request to investigate the claim.
       and impartial appraiser.
                                                                          You must do this within 60 days
       The two appraisers will select an umpire. If                       after our request. We will supply
       they cannot agree, either may request that                         you with the necessary forms.
       selection be made by a judge of a court
                                                                      (7) Cooperate with us in the in-
       having jurisdiction. The appraisers will state
                                                                          vestigation or settlement of the
       separately the amount of Net Income and
                                                                          claim.
       operating expense or amount of loss. If
       they fail to agree, they will submit their                     (8) If you intend to continue your
       differences to the umpire. A decision                              business, you must resume all or
       agreed to by any two will be binding. Each                         part of your "operations" as quickly
       party will:                                                        as possible.
       a.   Pay its chosen appraiser; and



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       b.   We may examine any insured under                 4. Loss Payment
            oath, while not in the presence of any               We will pay for covered loss within 30 days
            other insured and at such times as may               after we receive the sworn proof of loss, if
            be reasonably required, about any                    you have complied with all of the terms of
            matter relating to this insurance or the             this Coverage Part, and:
            claim, including an insured's books and
            records. In the event of an examination,             a.   We have reached agreement with you
            an insured's answers must be signed.                      on the amount of loss; or

   3. Loss Determination                                         b.   An appraisal award has been made.




   CE
       a.   The amount of Business Income loss            D. Additional Condition
            will be determined based on:                     COINSURANCE
            (1) The Net Income of the business               If a Coinsurance percentage is shown in the
                before the direct physical loss or           Declarations, the following condition applies in
                damage occurred;                             addition to the Common Policy Conditions and
            (2) The likely Net Income of the                 the Commercial Property Conditions:




                            RT
                business if no physical loss or              We will not pay the full amount of any loss if
                damage had occurred, but not in-             the Limit of Insurance for Business Income is
                cluding any Net Income that would            less than:
                likely have been earned as a result
                                                             1. The Coinsurance percentage shown for
                of an increase in the volume of
                                                                Business Income in the Declarations; times
                business due to favorable business
                conditions caused by the impact of           2. The sum of:




                                                   IF
                the Covered Cause of Loss on                     a.   The Net Income (Net Profit or Loss
                customers or on other businesses;                     before income taxes); and
            (3) The operating expenses, including                b.   Operating expenses, including payroll
                payroll expenses, necessary to                        expenses;




                                                                      IE
                resume "operations" with the same
                                                                 that would have been earned or incurred
                quality of service that existed just
                                                                 (had no loss occurred) by your "operations"
                before the direct physical loss or
                                                                 at the described premises for the 12
                damage; and
                                                                 months following the inception, or last
            (4) Other relevant sources of infor-                 previous anniversary date, of this policy




                                                                        D
                mation, including:                               (whichever is later).
               (a) Your financial records and ac-            Instead, we will determine the most we will
                   counting procedures;                      pay using the following steps:
               (b) Bills, invoices and other vouch-          Step (1): Multiply the Net Income and
                   ers; and                                            operating expense for the 12 months
               (c) Deeds, liens or contracts.                          following the inception, or last pre-
                                                                       vious anniversary date, of this policy
       b.   Resumption Of Operations                                   by the Coinsurance percentage;
            We will reduce the amount of your                Step (2): Divide the Limit of Insurance for the
            Business Income loss to the extent you                     described premises by the figure
            can resume your "operations", in whole                     determined in Step (1); and
            or in part, by using damaged or
                                                             Step (3): Multiply the total amount of loss by
            undamaged property (including merch-
                                                                       the figure determined in Step (2).
            andise or stock) at the described
            premises or elsewhere.                           We will pay the amount determined in Step (3)
                                                             or the Limit of Insurance, whichever is less. For
       c.   If you do not resume "operations", or
                                                             the remainder, you will either have to rely on
            do not resume "operations" as quickly
                                                             other insurance or absorb the loss yourself.
            as possible, we will pay based on the
            length of time it would have taken to            In determining operating expenses for the
            resume "operations" as quickly as                purpose of applying the Coinsurance condition,
            possible.                                        the following expenses, if applicable, shall be
                                                             deducted from the total of all operating ex-
                                                             penses:




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          (1) Prepaid freight – outgoing;                Example 2 (Adequate Insurance)
          (2) Returns and allowances;
                                                          When:        The Net Income and operating
          (3) Discounts;                                               expenses for the 12 months
          (4) Bad debts;                                               following the inception, or
                                                                       lastprevious anniversary
          (5) Collection expenses;                                     date, ofthis policy at the
          (6) Cost of raw stock and factory                            describedpremises would
              supplies consumed (including trans-                      have been:                  $    400,000
              portation charges);




   CE
                                                                       The Coinsurance percentage
          (7) Cost of merchandise sold (including                      is:                                 50%
              transportation charges);                                 The Limit of Insurance is:   $   200,000
          (8) Cost of other supplies consumed                          The amount of loss is:       $    80,000
              (including transportation charges);
                                                         The minimum amount of insurance to meet your
          (9) Cost of services purchased from            Coinsurance requirement is $200,000 ($400,000 x
              outsiders (not employees) to resell,




                             RT
                                                         50%). Therefore, the Limit of Insurance in this
              that do not continue under contract;       example is adequate and no penalty applies. We
         (10) Power, heat and refrigeration ex-          will pay no more than $80,000 (amount of loss).
              penses that do not continue under
                                                         E. Optional Coverages
              contract (if Form CP 15 11 is at-
              tached);                                      If shown as applicable in the Declarations, the
                                                            following Optional Coverages apply separately
         (11) All payroll expenses or the amount of




                                                      IF
                                                            to each item.
              payroll expense excluded (if Form CP
              15 10 is attached); and                       1. Maximum Period Of Indemnity
         (12) Special deductions for mining prop-                 a.    The Additional Condition, Coinsurance,
              erties (royalties unless specifically                     does not apply to this Coverage Form




                                                                       IE
              included in coverage; actual depletion                    at the described premises to which this
              commonly known as unit or cost                            Optional Coverage applies.
              depletion – not percentage depletion;               b.    The most we will pay for loss of Busi-
              welfare and retirement fund charges                       ness Income is the lesser of:
              based on tonnage; hired trucks).




                                                                         D
                                                                        (1) The amount of loss sustained
Example 1 (Underinsurance)                                                  during the 120 days immediately
                                                                            following the beginning of the
When:    The Net Income and operating
                                                                            "period of restoration"; or
         expenses for the 12 months
                                                                        (2) The Limit Of Insurance shown in
         following the inception, or last                                   the Declarations.
         previous anniversary date, of this
                                                            2. Monthly Limit Of Indemnity
         policy at the described premises
                                                                  a.    The Additional Condition, Coinsurance,
         would have been:              $    400,000
                                                                        does not apply to this Coverage Form
         The Coinsurance percentage is:        50%                      at the described premises to which this
          The Limit of Insurance is:   $    150,000                     Optional Coverage applies.
          The amount of loss is:       $     80,000               b.    The most we will pay for loss of
Step (1): $400,000 x 50% = $200,000                                     Business Income in each period of 30
                                                                        consecutive days after the beginning of
         (the minimum amount of insurance to meet
                                                                        the "period of restoration" is:
         your Coinsurance requirements)
Step (2): $150,000 $200,000 = .75                                       (1) The Limit of Insurance, multiplied
                                                                            by
Step (3): $80,000 x .75 = $60,000
                                                                        (2) The fraction shown in the De-
We will pay no more than $60,000. The remaining                             clarations for this Optional Cov-
$20,000 is not covered.                                                     erage.




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 Example                                                           c.   We will reinstate the Additional Con-
                                                                        dition, Coinsurance, automatically if you
 When:        The Limit of Insurance is:   $   120,000                  do not submit a new Work Sheet and
           The fraction shown in the                                    Agreed Value:
           Declarations for this Optional                               (1) Within 12 months of the effective
           Coverage is:                              1/4                    date of this Optional Coverage; or
           The most we will pay for loss                                (2) When you request a change in your
           in each period of 30                                             Business Income Limit of Insurance.
           consecutive days is         $       30,000




   CE
                                                                   d.   If the Business Income Limit of
           ($120,000 x 1/4 =$30,000)
                                                                        Insurance is less than the Agreed
           If, in this example, the actual                              Value, we will not pay more of any loss
              amount of loss is:                                        than the amount of loss multiplied by:
              Days 1–30:                   $   40,000                   (1) The Business Income        Limit   of
              Days 31–60:                  $   20,000                       Insurance; divided by
              Days 61–90:                  $   30,000                   (2) The Agreed Value.




                               RT
                                           $   90,000      Example
              We will pay:
                                                           When:        The Limit of Insurance is:    $100,000
              Days 1–30:                   $   30,000
                                                                        The Agreed Value is:          $200,000
              Days 31–60:                  $   20,000
                                                           Step (1): $100,000 $200,000 = .50
              Days 61–90:                  $   30,000
                                                           Step (2): .50 x $80,000 = $40,000




                                                      IF
                                           $   80,000
              The remaining $10,000 is not covered.        We will pay $40,000. The remaining $40,000 is
                                                           not covered.
         3. Business Income Agreed Value
                                                              4. Extended Period Of Indemnity




                                                                        IE
         a.    To activate this Optional Coverage:
                                                                   Under Paragraph A.4.d., Extended Business
               (1) A Business Income Report/Work                   Income, the number 60 in Subparagraphs
                   Sheet must be submitted to us and               (1)(b) and (2)(b) is replaced by the number
                   must show financial data for your               shown in the Declarations for this Optional
                   "operations":                                   Coverage.




                                                                          D
                   (a) During the 12 months prior to the F.   Definitions
                       date of the Work Sheet; and
                                                              1. "Finished stock" means stock you have
                   (b) Estimated for the 12 months               manufactured.
                       immediately following the in-
                       ception of this Optional Cov-               "Finished stock" also includes whiskey and
                       erage.                                      alcoholic products being aged, unless there
                                                                   is a Coinsurance percentage shown for
               (2) The Declarations must indicate that             Business Income in the Declarations.
                   the Business Income Agreed Value
                   Optional Coverage applies, and an               "Finished stock" does not include stock you
                   Agreed Value must be shown in the               have manufactured that is held for sale on
                   Declarations. The Agreed Value                  the premises of any retail outlet insured
                   should be at least equal to:                    under this Coverage Part.

                   (a) The     Coinsurance  percentage        2. "Operations" means:
                       shown     in   the  Declarations;           a.   Your business activities occurring at the
                       multiplied by                                    described premises; and
                   (b) The amount of Net Income and                b.   The tenantability of the described prem-
                       operating  expenses  for   the                   ises, if coverage for Business Income
                       following 12 months you report                   Including "Rental Value" or "Rental
                       on the Work Sheet.                               Value" applies.
         b.    The Additional Condition, Coinsurance, is      3. "Period of restoration" means the period of
               suspended until:                                  time that:
               (1) 12 months after the effective date of           a.   Begins 72 hours after the time of direct
                   this Optional Coverage; or                           physical loss or damage caused by or
               (2) The expiration date of this policy;                  resulting from any Covered Cause of
                   whichever occurs first.                              Loss at the described premises; and

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      b.   Ends on the earlier of:                           5. "Rental Value" means Business Income that
                                                                consists of:
           (1) The date when the property at the
               described premises should be re-                 a.   Net Income (Net Profit or Loss before
               paired, rebuilt or replaced with                      income taxes) that would have been
               reasonable   speed   and   similar                    earned or incurred as rental income
               quality; or                                           from tenant occupancy of the premises
                                                                     described in the Declarations as fur-
           (2) The date when business is resumed
                                                                     nished and equipped by you, including
               at a new permanent location.
                                                                     fair rental value of any portion of the




   CE
      "Period of restoration" does not include any                   described premises which is occupied
      increased period required due to the en-                       by you; and
      forcement of or compliance with any
                                                                b.   Continuing normal operating expenses
      ordinance or law that:
                                                                     incurred in connection with that prem-
           (1) Regulates the construction, use or                    ises, including:
               repair, or requires the tearing down,
                                                                     (1) Payroll; and
               of any property; or




                            RT
                                                                     (2) The amount of charges which is the
           (2) Requires any insured or others to
                                                                         legal obligation of the tenant(s) but
               test for, monitor, clean up, remove,
                                                                         would otherwise be your obli-
               contain, treat, detoxify or neu-
                                                                         gations.
               tralize, or in any way respond to, or
               assess the effects of "pollutants".           6. "Suspension" means:
      The expiration date of this policy will not               a.   The slowdown or cessation of your




                                                     IF
      cut short the "period of restoration".                         business activities; or
   4. "Pollutants" means any solid, liquid, gas-                b.   That a part or all of the described
      eous or thermal irritant or contaminant,                       premises is rendered untenantable, if
      including smoke, vapor, soot, fumes, acids,                    coverage for Business Income Including
                                                                     "Rental Value" or "Rental Value"




                                                                     IE
      alkalis, chemicals and waste. Waste in-
      cludes materials to be recycled, recon-                        applies.
      ditioned or reclaimed.




                                                                       D

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                                                                                       COMMERCIAL PROPERTY
                                                                                             CP 00 50 10 12

                      EXTRA EXPENSE COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties
and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations.
The words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section D. Defini-




    CE
tions.

A. Coverage                                                        b.   Minimize the "suspension" of business
    We will pay the actual and necessary Extra Ex-                      if you cannot continue "operations".
    pense you sustain due to direct physical loss of               We will also pay Extra Expense to repair or
    or damage to property at premises which are                    replace property, but only to the extent it
    described in the Declarations and for which an                 reduces the amount of loss that otherwise




                              RT
    Extra Expense Limit Of Insurance is shown in                   would have been payable under this Cov-
    the Declarations. The loss or damage must be                   erage Form.
    caused by or result from a Covered Cause of                2. Covered Causes Of Loss, Exclusions And
    Loss. With respect to loss of or damage to                    Limitations
    personal property in the open or personal
    property in a vehicle, the described premises                  See applicable Causes Of Loss form as
    include the area within 100 feet of such                       shown in the Declarations.




                                                     IF
    premises.                                                  3. Additional Limitation        –   Interruption    Of
    With respect to the requirements set forth in                 Computer Operations
    the preceding paragraph, if you occupy only                    a.   Coverage for Extra Expense does not
    part of a building, your premises means:                            apply when action is taken to avoid or




                                                                        IE
        a.   The portion of the building which you                      minimize a "suspension" of "opera-
             rent, lease or occupy;                                     tions" caused by destruction or cor-
                                                                        ruption of electronic data, or any loss
        b.   The area within 100 feet of the building                   or damage to electronic data, except as
             or within 100 feet of the premises                         provided under the Additional Cover-




                                                                          D
             described in the Declarations, which-                      age, Interruption Of Computer Opera-
             ever distance is greater (with respect to                  tions.
             loss of or damage to personal property
             in the open or personal property in a                 b.   Electronic data means information,
             vehicle); and                                              facts or computer programs stored as
                                                                        or on, created or used on, or trans-
        c.   Any area within the building or at the                     mitted to or from computer software
             described premises, if that area ser-                      (including systems and applications
             vices, or is used to gain access to, the                   software), on hard or floppy disks,
             portion of the building which you rent,                    CD-ROMs, tapes, drives, cells, data
             lease or occupy.                                           processing devices or any other
    1. Extra Expense                                                    repositories of computer software
        Extra Expense means necessary expenses                          which are used with electronically con-
        you incur during the "period of restoration"                    trolled equipment. The term computer
        that you would not have incurred if there                       programs, referred to in the foregoing
        had been no direct physical loss or damage                      description of electronic data, means a
        to property. Coverage pertains to expenses                      set of related electronic instructions
        (other than the expense to repair or replace                    which direct the operations and func-
        property) which are incurred to:                                tions of a computer or device con-
                                                                        nected to it, which enable the computer
        a.   Avoid or minimize the "suspension" of                      or device to receive, process, store,
             business and to continue "operations"                      retrieve or send data.
             at the described premises or at replace-
             ment premises or temporary locations,                 c.   This Additional Limitation does not
             including relocation expenses and costs                    apply when loss or damage to elec-
             to equip and operate the replacement                       tronic data involves only electronic data
             location or temporary location.                            which is integrated in and operates or



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                                                                                                                       TM
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            controls a building's elevator, lighting,                  Civil Authority Coverage will begin
            heating, ventilation, air conditioning or                  immediately after the time of the first
            security system.                                           action of civil authority that prohibits
   4. Additional Coverages                                             access to the described premises and
                                                                       will end four consecutive weeks after
       a.   Alterations And New Buildings                              the date of that action.
            We will pay for the actual and nec-                   c.   Interruption Of Computer Operations
            essary Extra Expense you incur due to
            direct physical loss or damage at the                      (1) Under this Additional Coverage,
                                                                           electronic data has the meaning




   CE
            described premises caused by or re-
            sulting from any Covered Cause of                              described under Additional Limita-
            Loss to:                                                       tion, Interruption Of Computer Op-
                                                                           erations.
            (1) New buildings or structures, wheth-
                er complete or under construction;                     (2) Subject to all provisions of this
                                                                           Additional Coverage, you may
            (2) Alterations or additions to existing                       extend the insurance that applies to
                buildings or structures; and                               Extra Expense to apply to a




                              RT
            (3) Machinery, equipment, supplies or                          "suspension" of "operations" caus-
                building materials located on or                           ed by an interruption in computer
                within 100 feet of the described                           operations due to destruction or
                premises and:                                              corruption of electronic data due to
                                                                           a Covered Cause of Loss. However,
                (a) Used in the construction, altera-
                                                                           we will not provide coverage under
                    tions or additions; or
                                                                           this Additional Coverage when the




                                                     IF
                (b) Incidental to the occupancy of                         Additional Limitation, Interruption
                    new buildings.                                         Of Computer Operations does not
       b.   Civil Authority                                                apply based on Paragraph A.3.c.
                                                                           therein.
            In this Additional Coverage, Civil Auth-




                                                                       IE
            ority, the described premises are prem-                    (3) With respect to the coverage pro-
            ises to which this Coverage Form                               vided under this Additional Cov-
            applies, as shown in the Declarations.                         erage, the Covered Causes of Loss
                                                                           are subject to the following:
            When a Covered Cause of Loss causes




                                                                         D
            damage to property other than property                        (a) If the Causes Of Loss – Special
            at the described premises, we will pay                            Form applies, coverage under
            for the actual and necessary Extra                                this Additional Coverage, Inter-
            Expense you incur caused by action of                             ruption Of Computer Opera-
            civil authority that prohibits access to                          tions, is limited to the "spec-
            the described premises, provided that                             ified causes of loss" as defined
            both of the following apply:                                      in that form and Collapse as set
                                                                              forth in that form.
            (1) Access to the area immediately sur-
                rounding the damaged property is                          (b) If the Causes Of Loss – Broad
                prohibited by civil authority as a                            Form applies, coverage under
                result of the damage, and the                                 this Additional Coverage, Inter-
                described premises are within that                            ruption Of Computer Oper-
                area but are not more than one mile                           ations, includes Collapse as set
                from the damaged property; and                                forth in that form.
            (2) The action of civil authority is taken                    (c) If the Causes Of Loss Form is
                in response to dangerous physical                             endorsed to add a Covered
                conditions resulting from the dam-                            Cause of Loss, the additional
                age or continuation of the Covered                            Covered Cause of Loss does
                Cause of Loss that caused the                                 not apply to the coverage pro-
                damage, or the action is taken to                             vided under this Additional
                enable a civil authority to have un-                          Coverage, Interruption Of Com-
                impeded access to the damaged                                 puter Operations.
                property.




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             (d) The Covered Causes of Loss                    NEWLY ACQUIRED LOCATIONS
                 include a virus, harmful code or              a.   You may extend your Extra Expense
                 similar instruction introduced                     Coverage to apply to property at any
                 into or enacted on a computer                      location you acquire other than fairs or
                 system    (including   electronic                  exhibitions.
                 data) or a network to which it
                 is   connected, designed to                   b.   The most we will pay for loss under
                 damage or destroy any part of                      this Extension is $100,000 at each
                 the system or disrupt its normal                   location, unless a higher limit is shown
                 operation. But there is no                         in the Declarations.




   CE
                 coverage for an interruption                  c.   Insurance under this Extension for each
                 related to manipulation of a                       newly acquired location will end when
                 computer     system    (including                  any of the following first occurs:
                 electronic data) by any employ-
                                                                    (1) This policy expires;
                 ee, including a temporary or
                 leased employee, or by an                          (2) 30 days expire after you acquire
                 entity retained by you or for                          the property; or




                           RT
                 you to inspect, design, install,                   (3) You notify us of how you want this
                 maintain, repair or replace that                       coverage to apply to that location.
                 system.
                                                                    We will charge you additional premium
         (4) The most we will pay under this                        from the date you acquire the property.
             Additional Coverage, Interruption
                                                        B. Limits Of Insurance
             Of Computer Operations, is $2,500




                                                 IF
             (unless a higher limit is shown in            The most we will pay for loss in any one
             the Declarations) for all loss                occurrence is the applicable Limit Of Insurance
             sustained in any one policy year,             shown in the Declarations.
             regardless of the number of inter-            Payments under the following Additional
             ruptions or the number of premises,           Coverages will not increase the applicable Limit




                                                                    IE
             locations or computer systems                 of Insurance:
             involved. If loss payment relating to
             the first interruption does not               1. Alterations And New Buildings; or
             exhaust this amount, then the                 2. Civil Authority.
             balance is available for loss sus-




                                                                      D
                                                           The amounts of insurance stated in the inter-
             tained as a result of subsequent              ruption Of Computer Operations Additional
             interruptions in that policy year. A          Coverage and the Newly Acquired Locations
             balance remaining at the end of a             Coverage Extension apply in accordance with
             policy year does not increase the             the terms of those coverages and are separate
             amount of insurance in the next               from the Limit(s) Of Insurance shown in the
             policy year. With respect to any in-          Declarations for any other coverage.
             terruption which begins in one
             policy year and continues or results       C. Loss Conditions
             in additional loss in a subsequent            The following conditions apply in addition to
             policy year(s), all loss is deemed to         the Common Policy Conditions and the Com-
             be sustained in the policy year in            mercial Property Conditions:
             which the interruption began.
                                                           1. Appraisal
         (5) This Additional Coverage, Inter-
                                                               If we and you disagree on the amount of
             ruption Of Computer Operations,
                                                               loss, either may make written demand for
             does not apply to loss sustained
                                                               an appraisal of the loss. In this event, each
             after the end of the "period of
                                                               party will select a competent and impartial
             restoration", even if the amount of
                                                               appraiser. The two appraisers will select an
             insurance stated in (4) above has
                                                               umpire. If they cannot agree, either may
             not been exhausted.
                                                               request that selection be made by a judge
   5. Coverage Extension                                       of a court having jurisdiction. The ap-
      You may extend the insurance provided by                 praisers will state separately the amount of
      this Coverage Part as follows:                           loss. If they fail to agree, they will submit
                                                               their differences to the umpire. A decision
                                                               agreed to by any two will be binding. Each
                                                               party will:



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       a.   Pay its chosen appraiser; and                         b.   We may examine any insured under
       b.   Bear the other expenses of the apprais-                    oath, while not in the presence of any
            al and umpire equally.                                     other insured and at such times as may
                                                                       be reasonably required, about any
       If there is an appraisal, we will still retain                  matter relating to this insurance or the
       our right to deny the claim.                                    claim, including an insured's books and
   2. Duties If You Incur Extra Expense                                records. In the event of an examina-
                                                                       tion, an insured's answers must be
       a.   You must see that the following are
                                                                       signed.
            done if you incur Extra Expense:




   CE
                                                              3. Limits On Loss Payment
            (1) Notify the police if a law may have
                been broken.                                      We will not pay more for Extra Expense
                                                                  than the percentages shown in the Declara-
            (2) Give us prompt notice of the direct
                                                                  tions times the Limit of Insurance.
                physical loss or damage. Include a
                description of the property invol-                When the "period of restoration" is:
                ved.                                              a.   30 days or less, the first percentage




                            RT
            (3) As soon as possible, give us a de-                     applies.
                scription of how, when and where                  b.   60 days or less, but more than 30
                the direct physical loss or damage                     days, the second percentage applies.
                occurred.
                                                                  c.   More than 60 days, the third percen-
            (4) Take all reasonable steps to protect                   tage applies.
                the Covered Property from further
                damage, and keep a record of your




                                                    IF
                                                           Example
                expenses necessary to protect the
                                                           The Limit of Insurance is:              $   100,000
                Covered Property, for consideration
                in the settlement of the claim. This       The percentages shown
                will not increase the Limit of             in the Declarations are:          40% – 80% – 100%




                                                                       IE
                Insurance. However, we will not            The "period of restoration" is:             45 days
                pay for any subsequent loss or             The amount of Extra Expenses
                damage resulting from a cause of           incurred is:                            $     90,000
                loss that is not a Covered Cause of
                Loss. Also, if feasible, set the           We will not pay more than $100,000 times 80%




                                                                         D
                damaged property aside and in the          (the percentage applicable for a "period of
                best possible order for examination.       restoration" of 31–60 days), or $80,000. The
                                                           remaining $10,000 is not covered.
            (5) As often as may be reasonably
                required, permit us to inspect the            4. Loss Determination
                property proving the loss or dam-                 a.   The amount of Extra Expense will be
                age and examine your books and                         determined based on:
                records.
                                                                       (1) All expenses that exceed the nor-
               Also permit us to take samples of                           mal operating expenses that would
               damaged and undamaged property                              have been incurred by "operations"
               for inspection, testing and analysis,                       during the "period of restoration" if
               and permit us to make copies from                           no direct physical loss or damage
               your books and records.                                     had occurred. We will deduct from
            (6) Send us a signed, sworn proof of                           the total of such expenses:
                loss containing the information we                        (a) The salvage value that remains
                request to investigate the claim.                             of any property bought for
                You must do this within 60 days                               temporary use during the "per-
                after our request. We will supply                             iod of restoration", once "op-
                you with the necessary forms.                                 erations" are resumed; and
            (7) Cooperate with us in the investi-                         (b) Any Extra Expense that is paid
                gation or settlement of the claim.                            for by other insurance, except
            (8) If you intend to continue your busi-                          for insurance that is written
                ness, you must resume all or part                             subject to the same plan,
                of your "operations" as quickly as                            terms, conditions and provi-
                possible.                                                     sions as this insurance; and



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            (2) Necessary expenses that reduce the                 "Period of restoration" does not include
                Extra Expense otherwise incurred.                  any increased period required due to the
       b.   We will reduce the amount of your                      enforcement of or compliance with any
            Extra Expense loss to the extent you                   ordinance or law that:
            can return "operations" to normal and                      (1) Regulates the construction, use or
            discontinue such Extra Expense.                                repair, or requires the tearing down,
       c.   If you do not resume "operations", or                          of any property; or
            do not resume "operations" as quickly                      (2) Requires any insured or others to
            as possible, we will pay based on the                          test for, monitor, clean up, remove,




   CE
            length of time it would have taken to                          contain, treat, detoxify or neutra-
            resume "operations" as quickly as pos-                         lize, or in any way respond to, or
            sible.                                                         assess the effects of "pollutants".
   5. Loss Payment                                                 The expiration date of this policy will not
       We will pay for any loss within 30 days                     cut short the "period of restoration".
       after we receive the proof of loss, if you              3. "Pollutants" means any solid, liquid, gas-




                             RT
       have complied with all of the terms of this                eous or thermal irritant or contaminant,
       Coverage Part, and:                                        including smoke, vapor, soot, fumes, acids,
       a.   We reach agreement with you on the                    alkalis, chemicals and waste. Waste in-
            amount of loss; or                                    cludes materials to be recycled, recon-
                                                                  ditioned or reclaimed.
       b.   An appraisal award has been made.
                                                               4. "Suspension" means the slowdown or ces-
D. Definitions                                                    sation of your business activities.




                                                      IF
   1. "Operations" means your business activ-
      ities occurring at the described premises.
   2. "Period of restoration" means the period of
      time that:




                                                                      IE
       a.   Begins with the date of direct physical
            loss or damage caused by or resulting
            from any Covered Cause of Loss at the
            described premises; and




                                                                        D
       b.   Ends on the earlier of:
            (1) The date when the property at the
                described premises should be re-
                paired, rebuilt or replaced with
                reasonable speed and similar qual-
                ity; or
            (2) The date when business is resumed
                at a new permanent location.




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                                                                                                                        COMMERCIAL PROPERTY
ACCOUNT NUMBER: 941662
                                                                                                                              AR 03 21L (11/05)
                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY
              VALUES PER LOCATION WINDSTORM OR HAIL PERCENTAGE DEDUCTIBLE
This endorsement modifies insurance provided under the following:
       BUILDING AND PERSONAL PROPERTY COVERAGE FORM
       BUILDERS RISK COVERAGE FORM
       BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
       BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM




           CE
       CONDOMINIUM ASSOCIATION COVERAGE FORM
       DIC-1
       STANDARD PROPERTY POLICY
                                           SCHEDULE*
Premises                   Bldg.                                      Windstorm or Hail




                                   RT
No.                        No.                                        Deductible Percentage (enter percentage)
ALL                        ALL                                 3.0 % Named Windstorm or Named Storm Only, subject
                                                               to a $5,000 per occurrence minimum.
                                                               See AROL PE for Named Windstorm or Named Storm
                                                               definition.
The Windstorm or Hail Deductible, as shown in the Schedule, applies to loss or damage to Covered Property caused




                                                                      IF
directly or indirectly by Windstorm or Hail, regardless of any other cause or event that contributes concurrently or in any
sequence to the loss or damage. If loss or damage from a covered weather condition other than Windstorm or Hail
occurs, and that loss or damage would not have occurred but for the Windstorm or Hail, such loss or damage shall be
considered to be caused by Windstorm or Hail and therefore part of the Windstorm or Hail occurrence.




                                                                                              IE
With respect to Covered Property at a location identified in the Schedule, no other deductible applies to Windstorm or
Hail.

The Windstorm or Hail Deductible applies whenever there is an occurrence of Windstorm or Hail.




                                                                                                D
As used in this endorsement, the terms “specific insurance” and “blanket insurance” have the following meanings: Specific
insurance covers each item of insurance (for example, each building or personal property in a building) under a separate
Limit of Insurance. Blanket insurance covers two or more items of insurance (for example, a building and personal
property in that building, or two buildings) under a single Limit of Insurance. Items of insurance and corresponding Limit
(s) of Insurance are shown in the Declarations.

WINDSTORM OR HAIL DEDUCTIBLE CLAUSE
A. All Policies
   1. A Deductible is calculated separately for, and applies separately to:
       a. the Total Insurable Values (TIV) per each location. The TIV per location shall be calculated
           as the sum of all reported values for Real Property, Personal Property, Business Income, and
           any other values for which coverage is provided under this policy related to each scheduled
           location.
* Information required to complete this Schedule, if not shown on this Endorsement, will be shown in
   the Declarations.
       If coverage is provided for Business Income, the deductible shown above is in addition to the
       72 hour waiting period as stated in Form CP 00 30 "Business Income (And Extra Expense)
       Coverage Form" or Form CP 00 32 "Business Income (Without Extra Expense) Coverage Form"
       as regards loss due to the perils of Windstorm or Hail Only.




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     2. We will not pay for loss or damage until the amount of loss or damage exceeds the applicable
        Deductible. We will then pay the amount of loss or damage in excess of that Deductible, up to the
        applicable Limit of Insurance, after any reduction required by any of the following: Coinsurance
        Condition, Agreed Value Optional Coverage, Additional Condition - Need For Adequate Insurance or
        Additional Condition - Need For Full Reports.
     3. When property is covered under the Coverage Extension for Newly Acquired or Constructed
        Property: In determining the amount, if any, that we will pay for loss or damage, we will deduct an
        amount equal to a percentage of the value(s) of the property at time of loss. The applicable
        percentage for Newly Acquired or Constructed Property is the highest percentage shown in the
        Schedule for any described premises.
B. Calculation of the Deductible – Specific Insurance Other than Builders Risk




           CE
   1. Property Not Subject to Value Reporting Forms
      In determining the amount, if any, that we will pay for loss or damage, we will deduct an amount
      equal to the percentage as shown in the Schedule of the Limit(s) of Insurance applicable to the
      property at the location that has sustained loss or damage.
   2. Property Subject to Value Reporting Forms
      In determining the amount, if any, that we will pay for loss or damage, we will deduct an amount
      equal to the percentage as shown in the Schedule of the value(s) of the property that has




                                   RT
      sustained loss or damage. The value(s) to be used are the latest value(s) shown in the most recent
      Report of Values on file with us.
      However:
      a. If the most recent Report of Values shows less than the full value(s) of the property on the
          report dates, we will determine the deductible amount as a percentage of the full value(s) as
          of the report dates.




                                                                       IF
      b. If the first Report of Values is not filed with us prior to loss or damage, we will determine the
          deductible amount as a percentage of the applicable Limit(s) of Insurance.
C. Calculation of the Deductible – Blanket Insurance Other than Builders Risk
   1. Property Not Subject to Value Reporting Forms




                                                                                               IE
      In determining the amount, if any, that we will pay for loss or damage, we will deduct an amount
      equal to the percentage as shown in the Schedule, applied to the total insurable value(s) of the
      property that has sustained loss or damage. The value(s) to be used are the total insurable values
      at the time and place of the loss.




                                                                                                 D
     2. Property Subject to Value Reporting Forms
        In determining the amount, if any, that we will pay for property that has sustained loss or damage,
        we will deduct an amount equal to the percentage as shown in the Schedule of the value(s) of that
        property as of the time of loss or damage.
D. Calculation of the Deductible – Builders Risk Insurance
   1. Builders Risk Other than Reporting Form
      In determining the amount, if any, that we will pay for property that has sustained loss or damage,
      we will deduct an amount equal to the percentage as shown in the Schedule of the actual cash
      value(s) of that property as of the time of loss or damage.
   2. Builders Risk Reporting Form
      In determining the amount, if any, that we will pay for loss of damage, we will deduct an amount
      equal to the percentage as shown in the Schedule of the value(s) of the property that has
      sustained loss or damage. The value(s) to be used are the actual cash value(s) shown in the
      most recent Report of Values on file with us.
      However:
      a. If the most recent Report of Values shows less than the actual cash value(s) of the property
          on the report date, we will determine the deductible amount as a percentage of the actual
          cash value(s) as of the report date.
      b. If the first Report of Values is not filed with us prior to loss or damage, we will determine the
          deductible amount as a percentage of the actual cash value(s) of the property as of the time
          of loss or damage.
EXAMPLES – APPLICATION OF DEDUCTIBLE:
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Example # 1 – Specific Insurance (B.1.)

The amount of loss to the damaged building is $60,000.

The value of the damaged building at time of loss is $100,000. The Coinsurance percentage shown in the Declarations is
80%; the minimum Limit of Insurance needed to meet the coinsurance requirement is $80,000 (80% of $100,000).

The actual Limit of Insurance on the damaged building is $70,000.

The Deductible is 1%
Step (1):      $      70,000 ÷    $        80,000 =                   .875




            CE
Step (2):      $      60,000 X                .875 =          $ 52,500
Step (3):      $     100,000 X                  1% =          $     1,000
Step (4):      $      52,500 -    $         1,000 =           $ 51,500
The most we will pay is $51,500. The remainder of the loss, $8,500, is not covered due to the
Coinsurance penalty for inadequate insurance (steps (1) and (2)) and the application of the Deductible
(steps (3) and (4)).




                                            RT
The value of the damaged building at time of loss is $100,000. The value of the business personal
property in that building is $80,000. The Coinsurance percentage shown in the Declarations is 80%; the
minimum Limits of Insurance needed to meet the coinsurance requirement are $80,000 (80% of
$100,000) for the building and $64,000 (80% of $80,000) for the business personal property. The amount
of loss to the Business Personal Property is $40,000.




                                                                                IF
The actual Limits of Insurance on the damaged property are $80,000 on the building and $64,000 on the
business personal property (therefore no Coinsurance penalty).

Buildings #1 and #2 have sustained damage; the amounts of loss to these buildings are $40,000 (Building #1) and




                                                                                                        IE
$20,000 (Building #2).

The Deductible is 2%
Building and Personal Property




                                                                                                          D
Step (1):      $     144,000 X                  2% =           $    2,880
Step (2):      $     100,000 -        $     2,880 =            $ 97,120
The most we will pay is $97,120. That portion of the total loss not covered due to application of the
Deductible is $2,880.
Example # 2 – Blanket Insurance (C.1.)

The sum of the values of Building #1 ($500,000), Building #2 ($500,000) and Building #3 ($1,000,000), as shown in the
most recent Statement of Values on file with us, is $2,000,000. Buildings #1 and #2 are at location #1, while Building #3
is at location #2.

The Coinsurance percentage shown in the Declarations is 90%; the minimum Blanket Limit of Insurance needed to meet
the coinsurance requirement is $1,800,000 (90% of $2,000,000).

The actual Blanket Limit of Insurance covering Buildings #1, #2, and #3, shown in the Declarations, is $1,800,000
(therefore no Coinsurance penalty).

Buildings #1 and #2 have sustained damage; the amounts of loss to these buildings are $40,000 (Building #1) and
$20,000 (Building #2).

The Deductible is 2%

Location #1
Step (1):      $    1,000,000 X                 2% =          $ 20,000
Step (2):      $      60,000 -    $ 20,000 =                  $ 40,000

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The most we will pay is $40,000. That portion of the total loss not covered due to application of the
Deductible is $20,000.




           CE
                                     RT
                                                                         IF
                                                                                                 IE
                                                                                                   D

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                                                                                                                               COMMERCIAL PROPERTY
ACCOUNT NUMBER: 941662
                                                                                                                                      AR 04 05 (07/08)
                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      ORDINANCE OR LAW COVERAGE
As respects the coverage provided by this endorsement:
    1. Coverage is limited to BUILDINGS listed on the Property Schedule. No coverage applies for any
       scheduled items which are not BUILDINGS.
    2. The Insurer(s) shall not be liable for Ordinance or Law Coverage, as provided below, unless the loss to
       the insured building equals or exceeds 50% of the Building’s total Replacement Cost.




         CE
                                 This endorsement modifies insurance provided under the following:

    BUILDERS’ RISK COVERAGE FORM
    BUILDING AND PERSONAL PROPERTY COVERAGE FORM
    CONDOMINIUM ASSOCIATION COVERAGE FORM




                                         RT
    DIC-1
    STANDARD PROPERTY POLICY

                                                  SCHEDULE*
Bldg. No. / Prem. No.     Cov. A Limit of        Cov. B Limit of                                       Cov. C Limit of     Cov. A,B,&C Blanket
                             Insurance             Insurance                                              Insurance         Limit of Insurance




                                                                             IF
  ALL      /   ALL    $ Included in Building $ 20% per Building.                                   $ Included in Limit B. $ **
                      Limit.




                                                                                                     IE
*   Information required to complete the Schedule, if not shown on this endorsement, will be shown in the Declarations.

** Do not enter a Blanket Limit of Insurance if individual Limits of Insurance are selected for Coverages A, B and C, or if one of these
    Coverages is not applicable.
A. Each Coverage – Coverage A, Coverage B and Coverage C – applies only if that Coverage(s) is chosen by entry in




                                                                                                       D
   the above Schedule and then only with respect to the Building property identified for that Coverage(s) in the Schedule.
B. We will not pay under this endorsement for the costs associated with the enforcement of any ordinance or law which
   requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any
   way respond to, or assess the effects of “pollutants”.
C. Coverage
    1.   Coverage A – Coverage for Loss to the Undamaged Portion of the Building
         If a Covered Cause of Loss occurs to covered Building property, we will pay under Coverage A for the loss in
         value of the undamaged portion of the building as a consequence of enforcement of any ordinance or law that:
         a. Requires the demolition of parts of the same property not damaged by a Covered Cause of Loss;
         b.    Regulates the construction or repair of buildings, or establishes zoning or land use requirements at the described
               premises; and
         c.    Is in force at the time of loss.

    2.   Coverage B – Demolition Cost Coverage
         If a Covered Cause of Loss occurs to covered Building property, we will pay the cost to demolish and clear the
         site of undamaged parts of the property caused by enforcement of building, zoning or land use ordinance or law.

         The COINSURANCE Additional Condition does not apply to Demolition Cost Coverage.




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   3.   Coverage C – Increased Cost of Construction
        a.    If a Covered Cause of Loss occurs to the covered Building property, we will pay for the increased cost to:

              (1) Repair or reconstruct damaged portions of that Building property; and/or
              (2) Reconstruct or remodel undamaged portions of that Building property, whether or not demolition is
                  required;
              when the increased cost is a consequence of enforcement of building, zoning or land use ordinance or law.

              However:
              (1) This coverage applies only if the restored or remodeled property is intended for similar occupancy as the
                  current property, unless such occupancy is not permitted by zoning or land use ordinance or law.




        CE
              (2) We will not pay for the increased cost of construction if the building is not repaired, reconstructed or
                  remodeled.
              The COINSURANCE Additional Condition does not apply to Increased Cost of Construction Coverage.

        b. When covered Building property is damaged or destroyed by a Covered Cause of Loss and Coverage C
           applies to that property in accordance with 3.a. above, coverage for the increased cost of construction also
           applies to repair or reconstruction of the following, subject to the same conditions stated in 3.a.:




                                      RT
              (1) The cost of excavations, grading, backfilling and filling;
              (2) Foundation of the building;
              (3) Pilings; and
              (4) Underground pipes, flues and drains.




                                                                          IF
             The items listed in b.(1) through b.(4) above are deleted from Property Not Covered, but only with respect to
             the coverage described in this provision, 3.b.
      The sublimits shown in the schedule for Coverages A, B and C, whether separate or blanket limits, are included
      within the Limits of Insurance shown in the Declarations as applicable to the Covered Building Property.




                                                                                                  IE
      Coverage under this endorsement DOES NOT increase the applicable Limit of Insurance.
D. Loss Payment
   1.   When Coverage A applies to the building, including loss in value of the undamaged portion of the building due to
        enforcement of an ordinance or law, will be determined as follows:




                                                                                                    D
        a. If the Replacement Cost Coverage Option applies and the property is repaired or replaced, on the same or
           another premises, we will not pay more than the lesser of:
              (1) The amount you actually spend to repair, rebuild or reconstruct the building, but not for more than the
                  amount it would cost to restore the building on the same premises and to the same height, floor area,
                  style and comparable, quality of the original property insured; or
              (2) The Limit of Insurance shown in the Declarations as applicable to the covered Building property.
        b. If the Replacement Cost Coverage Option applies and the property is not repaired or replaced, or if the
           Replacement Cost Coverage Option does not apply, we will not pay more than the lesser of:
              (1) The actual cash value of the building at the time of loss; or
              (2) The Limit of Insurance shown in the Declarations as applicable to the covered Building property.
   2. Unless paragraph D.4. applies, loss payment under Coverage B – Demolition Cost Coverage will be determined
      as follows:
        We will not pay more than the lesser of the following:
        a.    The amount you actually spend to demolish and clear the site of the described premises; or

        b.    The applicable Limit of Insurance shown for Coverage B in the Schedule above.




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   3. Unless paragraph D.4. applies, loss payment under Coverage C – Increased Cost of Construction Coverage will
      be determined as follows:
       a. We will not pay under Coverage C:
           (1) Until the property is actually repaired or replaced, at the same or another premises; and
           (2) Unless the repairs or replacement are made as soon as reasonably possible after the loss or damage, not
               to exceed two years. We may extend this period in writing during the two years.
       b. If the building is repaired or replaced at the same premises, or if you elect to rebuild at another premises, the
          most we will pay under Coverage C is the lesser of:
           (1) The increased cost of construction at the same premises; or




        CE
           (2) The applicable Limit of Insurance shown for Coverage C in the Schedule above.
       c. If the ordinance or law requires relocation to another premises, the most we will pay under Coverage C is the
          lesser of:
           (1) The increased cost of construction at the new premises; or
           (2) The applicable Limit of Insurance shown for Coverage C in the Schedule above.




                                   RT
   4. If a Blanket Limit of Insurance is shown for Coverages B and C in the Schedule above, paragraphs D.2. and D.3.
      of this endorsement do not apply with respect to the Building property that is subject to the Blanket Limit, and the
      following loss payment provisions apply instead:

      The most we will pay, for the total of all covered losses for Demolition Cost and Increased Cost of Construction, is
      the Blanket Limit of Insurance shown for Coverages B and C in the Schedule above. Subject to this Blanket Limit




                                                                     IF
      of Insurance, the following loss payment provisions apply:
       a. For Demolition Cost, we will not pay more than the amount you actually spend to demolish and clear the site
          of the described premises.
       b. With respect to the Increased Cost of Construction:




                                                                                             IE
           (1) We will not pay for the increased cost of construction:
               (a) Until the property is actually repaired or replaced, at the same or another premises; and
               (b) Unless the repairs or replacement are made as soon as reasonably possible after the loss or




                                                                                               D
                   damage, not to exceed two years. We may extend this period in writing during the two years.
           (2) If the building is repaired or replaced at the same premises, or if you elect to rebuild at another premises,
               the most we will pay for the increased cost of construction is the increased cost of construction at the
               same premises.
           (3) If the ordinance or law requires relocation to another premises, the most we will pay for the increased
               cost of construction is the increased cost of construction at the new premises.
E. The terms of this endorsement apply on an Occurrence basis.
F. Under this endorsement we will not pay for loss due to any ordinance or law that:
   1. You were required to comply with before the loss, even if the building was undamaged; and
   2. You failed to comply with.




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                                                           POLICY NUM BER




              This endorsement modifies insurance under the follow ing:


 It is hereby understood and agreed to delete items A.3.a.,b.,c.,e.,f.,g.,h.,i.,j.
 and k., from the Covered Causes Of Loss section of Form CP 0 0 9 9 " Standard




CE
 Property Policy" . A ll other terms and conditions of this policy shall remain
 unchanged.




                    RT
                                        IF
                                                     IE
                                                       D
 SP 0 5 9 8
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                                                                                       COMMERCIAL PROPERTY
                                                                                             CP 00 99 10 12

                           STANDARD PROPERTY POLICY

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties
and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations.
The words "we", "us" and "our" refer to the company providing this insurance.




    CE
Other words and phrases that appear in quotation marks have special meaning. Refer to Section I.
Definitions.

A. Coverage                                                        b.   Your Business Personal Property con-
    We will pay for direct physical loss of or dam-                     sists of the following property located
    age to Covered Property at the premises de-                         in or on the building or structure de-
                                                                        scribed in the Declarations or in the
    scribed in the Declarations caused by or




                              RT
                                                                        open (or in a vehicle) within 100 feet of
    resulting from any Covered Cause of Loss.
                                                                        the building or structure or within 100
    1. Covered Property                                                 feet of the premises described in the
        Covered Property, as used in this policy,                       Declarations, whichever distance is
        means the type of property described in                         greater:
        this section, A.1., and limited in A.2.                         (1) Furniture and fixtures;
        Property Not Covered if a Limit Of Insur-
                                                                        (2) Machinery and equipment;




                                                         IF
        ance is shown in the Declarations for that
        type of property.                                               (3) "Stock";
        a.   Building, meaning the building or struc-                   (4) All other personal property owned
             ture described in the Declarations, in-                        by you and used in your business;




                                                                        IE
             cluding:                                                   (5) Labor, materials or services furn-
             (1) Completed additions;                                       ished or arranged by you on per-
             (2) Fixtures, including outdoor fixtures;                      sonal property of others;

             (3) Permanently installed:                                 (6) Your use interest as tenant in
                                                                            improvements and betterments. Im-




                                                                          D
                 (a) Machinery; and                                         provements and betterments are
                 (b) Equipment;                                             fixtures, alterations, installations or
                                                                            additions:
             (4) Personal property owned by you
                 that is used to maintain or service                        (a) Made a part of the building or
                 the building or structure or its                               structure you occupy but do
                 premises, including:                                           not own; and
                 (a) Fire-extinguishing equipment;                          (b) You acquired or made at your
                                                                                expense but cannot legally
                 (b) Outdoor furniture;
                                                                                remove;
                 (c) Floor coverings; and
                                                                        (7) Leased personal property for which
                 (d) Appliances used for refrig-                            you have a contractual respons-
                     erating, ventilating, cooking,                         ibility to insure, unless otherwise
                     dishwashing or laundering;                             provided for under Personal Prop-
             (5) If not covered by other insurance:                         erty Of Others.

                 (a) Additions under construction,                 c.   Personal Property Of Others that is:
                     alterations and repairs to the                     (1) In your care, custody or control;
                     building or structure;                                 and
                 (b) Materials, equipment, supplies                     (2) Located in or on the building or
                     and temporary structures, on or                        structure described in the Declara-
                     within 100 feet of the de-                             tions or in the open (or in a vehicle)
                     scribed premises, used for                             within 100 feet of the building or
                     making additions, alterations or                       structure or within 100 feet of the
                     repairs to the building or struc-
                     ture.



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                                                                                                                       TM
                                                                   Wolters Kluwer Financial Services | Uniform Forms
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               premises described in the Declara-                     on, or transmitted to or from computer
               tions, whichever distance is great-                    software     (including   systems    and
               er.                                                    applications software), on hard or flop-
            However, our payment for loss of or                       py disks, CD-ROMs, tapes, drives,
            damage to personal property of others                     cells, data processing devices or any
            will only be for the account of the                       other repositories of computer software
            owner of the property.                                    which are used with electronically con-
                                                                      trolled equipment. The term computer
   2. Property Not Covered                                            programs, referred to in the foregoing
                                                                      description of electronic data, means a




   CE
       Covered Property does not include:
                                                                      set of related electronic instructions
       a.   Accounts, bills, currency, food stamps
                                                                      which direct the operations and func-
            or other evidences of debt, money,
                                                                      tions of a computer or device con-
            notes or securities. Lottery tickets held
                                                                      nected to it, which enable the computer
            for sale are not securities;
                                                                      or device to receive, process, store,
       b.   Animals, unless owned by others and                       retrieve or send data. This paragraph,
            boarded by you, or if owned by you,                       n., does not apply to your "stock" of




                             RT
            only as "stock" while inside of build-                    prepackaged software, or to electronic
            ings;                                                     data which is integrated in and oper-
       c.   Automobiles held for sale;                                ates or controls the building's elevator,
                                                                      lighting, heating, ventilation, air con-
       d.   Bridges, roadways, walks, patios or
                                                                      ditioning or security system;
            other paved surfaces;
                                                                 o.   The cost to replace or restore the
       e.   Contraband, or property in the course




                                                    IF
                                                                      information on valuable papers and
            of illegal transportation or trade;
                                                                      records, including those which exist as
       f.   The cost of excavations, grading, back-                   electronic data. Valuable papers and
            filling or filling;                                       records include but are not limited to
       g.   Foundations of buildings, structures,                     proprietary information, books of ac-




                                                                      IE
            machinery or boilers if their foundations                 count, deeds, manuscripts, abstracts,
            are below:                                                drawings and card index systems.
                                                                      Refer to the Coverage Extension for
            (1) The lowest basement floor; or                         Valuable Papers And Records (Other
            (2) The surface of the ground, if there                   Than Electronic Data) for limited




                                                                        D
                is no basement;                                       coverage for valuable papers and
       h.   Land (including land on which the                         records other than those which exist as
            property is located), water, growing                      electronic data;
            crops or lawns (other than lawns which               p.   Vehicles or self-propelled machines (in-
            are part of a vegetated roof);                            cluding aircraft or watercraft) that:
       i.   Personal property while airborne or                       (1) Are licensed for use on public
            waterborne;                                                   roads; or
       j.   Bulkheads, pilings, piers, wharves or                     (2) Are operated principally away from
            docks;                                                        the described premises.
       k.   Property that is covered under another                    This paragraph does not apply to:
            Coverage Form of this or any other                           (a) Vehicles or self-propelled mach-
            policy in which it is more specifically                          ines or autos you manufacture,
            described, except for the excess of the                          process or warehouse;
            amount due (whether you can collect
            on it or not) from that other insurance;                     (b) Vehicles or self-propelled mach-
                                                                             ines, other than autos, you hold
       l.   Retaining walls that are not part of a                           for sale;
            building;
                                                                         (c) Rowboats or canoes out of
       m. Underground pipes, flues or drains;                                water at the described prem-
       n.   Electronic data, except as provided                              ises; or
            under the Additional Coverage, Elec-                         (d) Trailers, but only to the extent
            tronic Data. Electronic data means                               provided for in the Coverage
            information, facts or computer pro-                              Extension for Non-owned De-
            grams stored as or on, created or used                           tached Trailers; or



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      q.   The following property while outside of               f.   Aircraft or Vehicles, meaning only
           buildings:                                                 physical contact of an aircraft, a
           (1) Grain, hay, straw or other crops;                      spacecraft, a self-propelled missile, a
                                                                      vehicle or an object thrown up by a
           (2) Fences, radio or television antennas                   vehicle with the described property or
               (including satellite dishes) and their                 with the building or structure contain-
               lead-in wiring, masts or towers,                       ing the described property.
               trees, shrubs or plants (other than
               trees, shrubs or plants which are                      This cause of loss includes loss or
               "stock" or are part of a vegetated                     damage by objects falling from aircraft.




   CE
               roof), all except as provided in the                   We will not pay for loss or damage
               Coverage Extensions.                                   caused by or resulting from vehicles
   3. Covered Causes Of Loss                                          you own or which are operated in the
                                                                      course of your business.
      a.   Fire.
                                                                 g.   Riot or Civil Commotion, including:
      b.   Lightning.
                                                                      (1) Acts of striking employees while
      c.   Explosion, including the explosion of




                            RT
                                                                          occupying the described premises;
           gases or fuel within the furnace of any                        and
           fired vessel or within the flues or
           passages through which the gases of                        (2) Looting occurring at the time and
           combustion pass. This cause of loss                            place of a riot or civil commotion.
           does not include loss or damage by:                   h.   Sinkhole Collapse, meaning loss or dam
           (1) Rupture, bursting or operation of                      age caused by the sudden sinking or




                                                    IF
               pressure-relief devices; or                            collapse of land into underground em-
                                                                      pty spaces created by the action of
           (2) Rupture or bursting due to expan-                      water on limestone or dolomite. This
               sion or swelling of the contents of                    cause of loss does not include:
               any building or structure, caused by
                                                                      (1) The cost of filling sinkholes; or




                                                                      IE
               or resulting from water.
      The following Covered Causes of Loss do                         (2) Sinking or collapse of land into man
      not apply unless Windstorm or Hail,                                 -made underground cavities.
      Smoke, Aircraft or Vehicles, Riot or Civil                 i.   Volcanic Action, meaning direct loss or
      Commotion, Sinkhole Collapse and Volcan-                        damage resulting from the eruption of a




                                                                        D
      ic Action is indicated by an "X" in the                         volcano when the loss or damage is
      Declarations:                                                   caused by:
      d.   Windstorm or Hail, but not including:                      (1) Airborne volcanic blast or airborne
           (1) Frost or cold weather;                                     shock waves;

           (2) Ice (other than hail), snow or sleet,                  (2) Ash, dust or particulate matter; or
               whether driven by wind or not;                         (3) Lava flow.
           (3) Loss or damage to the interior of                      With respect to coverage for Volcanic
               any building or structure, or the                      Action as set forth in i.(1), i.(2) and
               property inside the building or                        i.(3), all volcanic eruptions that occur
               structure, caused by rain, snow,                       within any 168-hour period will con-
               sand or dust, whether driven by                        stitute a single occurrence.
               wind or not, unless the building or                    This cause of loss does not include the
               structure first sustains wind or hail                  cost to remove ash, dust or particulate
               damage to its roof or walls through                    matter that does not cause direct
               which the rain, snow, sand or dust                     physical loss or damage to the describ-
               enters; or                                             ed property.
           (4) Loss or damage by hail to lawns,                  The following Covered Cause of Loss does
               trees, shrubs or plants which are                 not apply unless Vandalism is indicated by
               part of a vegetated roof.                         an "X" in the Declarations:
      e.   Smoke causing sudden and accidental                   j.   Vandalism, meaning willful and mal-
           loss or damage. This cause of loss                         icious damage to, or destruction of, the
           does not include smoke from agricul-                       described property.
           tural smudging or industrial oper-
           ations.



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            We will not pay for loss or damage:                 4. Additional Coverages
            (1) To glass (other than glass building                a.   Debris Removal
                blocks) that is part of a building,                     (1) Subject to Paragraphs (2), (3) and
                structure, or an outside sign; but                          (4), we will pay your expense to
                we will pay for loss or damage to                           remove debris of Covered Property
                other property caused by or re-                             and other debris that is on the
                sulting from breakage of glass by                           described premises, when such
                vandals.                                                    debris is caused by or results from
            (2) Caused by or resulting from theft,                          a Covered Cause of Loss that




   CE
                except for building damage caused                           occurs during the policy period. The
                by the breaking in or exiting of bur-                       expenses will be paid only if they
                glars.                                                      are reported to us in writing within
       The following Covered Cause of Loss does                             180 days of the date of direct
       not apply unless Sprinkler Leakage is                                physical loss or damage.
       indicated by an "X" in the Declarations:                         (2) Debris Removal does not apply to
                                                                            costs to:




                             RT
       k.   Sprinkler Leakage, meaning leakage or
            discharge of any substance from an                             (a) Remove debris of property of
            Automatic Sprinkler System, including                              yours that is not insured under
            collapse of a tank that is part of the                             this policy, or property in your
            system.                                                            possession that is not Covered
            If the building or structure containing                            Property;
            the Automatic Sprinkler System is Cov-                         (b) Remove debris of property




                                                      IF
            ered Property, we will also pay the cost                           owned by or leased to the land-
            to:                                                                lord of the building where your
            (1) Repair or replace damaged parts of                             described premises are located,
                the Automatic Sprinkler System if                              unless you have a contractual




                                                                        IE
                the damage:                                                    responsibility to insure such
                                                                               property and it is insured under
               (a) Results in sprinkler leakage; or                            this policy;
               (b) Is directly caused by freezing.                         (c) Remove any property that is
            (2) Tear out and replace any part of the                           Property Not Covered, including




                                                                          D
                building or structure to repair dam-                           property addressed under the
                age to the Automatic Sprinkler Sys-                            Outdoor Property Coverage Ex-
                tem that has resulted in sprinkler                             tension;
                leakage.                                                   (d) Remove property of others of a
            Automatic Sprinkler System means:                                  type that would not be Covered
                                                                               Property under this policy;
               (a) Any automatic fire-protective or
                   extinguishing system, including                         (e) Remove deposits of mud or
                   connected:                                                  earth from the grounds of the
                                                                               described premises;
                   (i) Sprinklers    and     discharge
                       nozzles;                                            (f) Extract "pollutants" from land
                                                                               or water; or
                   (ii) Ducts, pipes,      valves   and
                        fittings;                                          (g) Remove, restore or        replace
                                                                               polluted land or water.
                   (iii) Tanks,   their  component
                         parts and supports; and                        (3) Subject to the exceptions in Para-
                                                                            graph (4), the following provisions
                   (iv) Pumps and private fire pro-
                                                                            apply:
                        tection mains.
                                                                           (a) The most we will pay for the
               (b) When supplied from an auto-
                                                                               total of direct physical loss or
                   matic fire-protective system:
                                                                               damage plus debris removal
                   (i) Non-automatic                                           expense is the Limit of Insur-
                       fire-protective systems; and                            ance applicable to the Covered
                   (ii) Hydrants,   standpipes      and                        Property that has sustained loss
                        outlets.                                               or damage.




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               (b) Subject to (a) above, the               Debris Removal Expense:                 $    10,000
                   amount we will pay for debris           Debris Removal Expense Payable:         $    10,000
                   removal expense is limited to
                   25% of the sum of the de-               ($10,000 is 20% of $50,000.)
                   ductible plus the amount that           The debris removal expense is less than 25% of
                   we pay for direct physical loss         the sum of the loss payable plus the deductible.
                   or damage to the Covered                The sum of the loss payable and the debris
                   Property that has sustained loss        removal expense ($49,500 +         $10,000 =
                   or damage. However, if no               $59,500) is less than the Limit of Insurance.




    CE
                   Covered Property has sustained          Therefore the full amount of debris removal ex-
                   direct physical loss or damage,         pense is payable in accordance with the terms of
                   the most we will pay for re-            Paragraph (3).
                   moval of debris of other prop-
                   erty (if such removal is covered        Example 2
                   under this Additional Coverage)         Limit of Insurance:                     $    90,000
                   is $5,000 at each location.
                                                           Amount of Deductible:                   $      500




                            RT
            (4) We will pay up to an additional
                                                           Amount of Loss:                         $    80,000
                $25,000 for debris removal ex-
                pense, for each location, in any one       Amount of Loss Payable:                 $    79,500
                occurrence of physical loss or                                               ($80,000 – $500)
                damage to Covered Property, if one         Debris Removal Expense:                 $    40,000
                or both of the following circum-
                                                           Debris Removal Expense Payable
                stances apply:




                                                    IF
                                                                                 Basic Amount:     $    10,500
               (a) The total of the actual debris
                   removal     expense plus    the                               Additional Amount: $   25,000
                   amount we pay for direct phys-          The basic amount payable for debris removal ex-
                   ical loss or damage exceeds the         pense under the terms of Paragraph (3) is




                                                                       IE
                   Limit of Insurance on the Cov-          calculated as follows: $80,000 ($79,500 + $500)
                   ered Property that has sus-             x .25 = $20,000; capped at $10,500. The cap
                   tained loss or damage.                  applies because the sum of the loss payable
               (b) The actual debris removal ex-           ($79,500) and the basic amount payable for debris
                   pense exceeds 25% of the sum            removal expense ($10,500) cannot exceed the




                                                                         D
                   of the deductible plus the              Limit of Insurance ($90,000).
                   amount that we pay for direct           The additional amount payable for debris removal
                   physical loss or damage to the          expense is provided in accordance with the terms
                   Covered Property that has sus-          of Paragraph (4), because the debris removal ex-
                   tained loss or damage.                  pense ($40,000) exceeds 25% of the loss payable
               Therefore, if (4)(a) and/or (4)(b) ap-      plus the deductible ($40,000 is 50% of $80,000),
               plies, our total payment for direct         and because the sum of the loss payable and
               physical loss or damage and debris          debris removal expense ($79,500 + $40,000 =
               removal expense may reach but will          $119,500) would exceed the Limit of Insurance
               never exceed the Limit of Insurance         ($90,000). The additional amount of covered
               on the Covered Property that has            debris removal expense is $25,000, the maximum
               sustained loss or damage, plus              payable under Paragraph (4). Thus, the total
               $25,000.                                    payable for debris removal expense in this example
                                                           is $35,500; $4,500 of the debris removal expense
            (5) Examples
                                                           is not covered.
               The following examples assume
                                                                  b.   Preservation Of Property
               that there is no Coinsurance
               penalty.                                                If it is necessary to move Covered
                                                                       Property from the described premises
Example 1                                                              to preserve it from loss or damage by a
Limit of Insurance:                     $   90,000                     Covered Cause of Loss, we will pay for
                                                                       any direct physical loss or damage to
Amount of Deductible:                   $       500
                                                                       that property:
Amount of Loss:                         $   50,000
                                                                       (1) While it is being moved or while
Amount of Loss Payable:                 $   49,500                         temporarily stored at another loca-
                                 ($50,000 – $500)                          tion; and


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            (2) Only if the loss or damage occurs                        Additional Coverage does not apply
                within 30 days after the property is                     to your "stock" of prepackaged
                first moved.                                             software, or to electronic data
       c.   Fire Department Service Charge                               which is integrated in and operates
                                                                         or controls the building's elevator,
            When the fire department is called to                        lighting, heating, ventilation, air
            save or protect Covered Property from                        conditioning or security system.
            a Covered Cause of Loss, we will pay
            up to $1,000 for service at each                          (2) Subject to the provisions of this
            premises described in the Declarations,                       Additional Coverage, we will pay




   CE
            unless a higher limit is shown in the                         for the cost to replace or restore
            Declarations. Such limit is the most we                       electronic data which has been
            will pay regardless of the number of                          destroyed or corrupted by a
            responding fire departments or fire                           Covered Cause of Loss. To the ex-
            units, and regardless of the number or                        tent that electronic data is not
            type of services performed.                                   replaced or restored, the loss will
                                                                          be valued at the cost of replace-
            This Additional Coverage applies to




                              RT
                                                                          ment of the media on which the
            your liability for fire department service                    electronic data was stored, with
            charges:                                                      blank media of substantially iden-
            (1) Assumed by contract or agreement                          tical type.
                prior to loss; or                                     (3) The Covered Causes of Loss appli-
            (2) Required by local ordinance.                              cable to Your Business Personal
                                                                          Property apply to this Additional




                                                     IF
            No Deductible applies to this Additional
                                                                          Coverage, Electronic Data, subject
            Coverage.
                                                                          to the following:
       d.   Pollutant Clean-up And Removal
                                                                         (a) If this policy is endorsed to add
            We will pay your expense to extract                              a Covered Cause of Loss, the




                                                                    IE
            "pollutants" from land or water at the                           additional Covered Cause of
            described premises if the discharge,                             Loss does not apply to the
            dispersal, seepage, migration, release                           coverage provided under this
            or escape of the "pollutants" is caused                          Additional Coverage, Electronic
            by or results from a Covered Cause of                            Data.




                                                                      D
            Loss that occurs during the policy
                                                                         (b) The Covered Causes of Loss
            period. The expenses will be paid only
                                                                             include a virus, harmful code or
            if they are reported to us in writing
                                                                             similar instruction introduced
            within 180 days of the date on which
                                                                             into or enacted on a computer
            the Covered Cause of Loss occurs.
                                                                             system    (including   electronic
            This Additional Coverage does not                                data) or a network to which it
            apply to costs to test for, monitor or                           is connected, designed to dam-
            assess the existence, concentration or                           age or destroy any part of the
            effects of "pollutants". But we will pay                         system or disrupt its normal
            for testing which is performed in the                            operation. But there is no
            course of extracting the "pollutants"                            coverage for loss or damage
            from the land or water.                                          caused by or resulting from
            The most we will pay under this                                  manipulation of a computer
            Additional Coverage for each described                           system    (including   electronic
            premises is $10,000 for the sum of all                           data) by any employee, in-
            covered expenses arising out of Cov-                             cluding a temporary or leased
            ered Causes of Loss occurring during                             employee, or by an entity
            each separate 12-month period of this                            retained by you or for you to
            policy.                                                          inspect, design, install, modify,
                                                                             maintain, repair or replace that
       e.   Electronic Data
                                                                             system.
            (1) Under this Additional Coverage,
                                                                      (4) The most we will pay under this
                electronic data has the meaning
                                                                          Additional   Coverage,  Electronic
                described under    Property Not
                                                                          Data, is $2,500 (unless a higher
                Covered, Electronic Data. This
                                                                          limit is shown in the Declarations)



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              for all loss or damage sustained in                      (c) The cost of testing performed
              any one policy year, regardless of                           after removal, repair, replace-
              the number of occurrences of loss                            ment or restoration of the dam-
              or damage or the number of                                   aged property is completed,
              premises, locations or computer                              provided there is a reason to
              systems involved. If loss payment                            believe that "fungus", wet or
              on the first occurrence does not                             dry rot or bacteria are present.
              exhaust this amount, then the                         (3) The coverage described under f.(2)
              balance is available for subsequent                       of this Limited Coverage is limited
              loss or damage sustained in but not




   CE
                                                                        to $15,000. Regardless of the
              after that policy year. With respect                      number of claims, this limit is the
              to an occurrence which begins in                          most we will pay for the total of all
              one policy year and continues or                          loss or damage arising out of all
              results in additional loss or damage                      occurrences of Covered Causes of
              in a subsequent policy year(s), all                       Loss (other than fire or lightning)
              loss or damage is deemed to be                            and Flood which take place in a
              sustained in the policy year in




                            RT
                                                                        12-month period (starting with the
              which the occurrence began.                               beginning of the present annual
      f.   Limited Coverage For "Fungus", Wet                           policy period). With respect to a
           Rot, Dry Rot And Bacteria                                    particular occurrence of loss which
           (1) The coverage described in f.(2) only                     results in "fungus", wet or dry rot
               applies when the "fungus", wet or                        or bacteria, we will not pay more
               dry rot or bacteria are the result of                    than a total of $15,000 even if the




                                                   IF
               one or more of the following causes                      "fungus", wet or dry rot or bacteria
               that occur during the policy period                      continue to be present or active, or
               and only if all reasonable means                         recur, in a later policy period.
               were used to save and preserve the                   (4) The coverage provided under this




                                                                  IE
               property from further damage at                          Limited Coverage does not increase
               the time of and after that occur-                        the applicable Limit of Insurance on
               rence:                                                   any Covered Property. If a par-
              (a) A Covered Cause of Loss other                         ticular occurrence results in loss or
                  than fire or lightning; or                            damage by "fungus", wet or dry rot




                                                                    D
                                                                        or bacteria, and other loss or dam-
              (b) Flood, if the Flood Coverage En-                      age, we will not pay more, for the
                  dorsement applies to the affect-                      total of all loss or damage, than the
                  ed premises.                                          applicable Limit of Insurance on the
              This Additional Coverage does not                         affected Covered Property.
              apply to lawns, trees, shrubs or                         If there is covered loss or damage
              plants which are part of a veg-                          to Covered Property, not caused by
              etated roof.                                             "fungus", wet or dry rot or bac-
           (2) We will pay for loss or damage by                       teria, loss payment will not be
               "fungus", wet or dry rot or                             limited by the terms of this Limited
               bacteria. As used in this Limited                       Coverage, except to the extent that
               Coverage, the term loss or damage                       "fungus", wet or dry rot or bacteria
               means:                                                  cause an increase in the loss. Any
                                                                       such increase in the loss will be
              (a) Direct physical loss or damage
                                                                       subject to the terms of this Limited
                  to Covered Property caused by
                                                                       Coverage.
                  "fungus", wet or dry rot or
                  bacteria, including the cost of                   (5) The terms of this Limited Coverage
                  removal of the "fungus", wet or                       do not increase or reduce the
                  dry rot or bacteria;                                  coverage provided under Paragraph
                                                                        (2) of Covered Cause Of Loss k.
              (b) The cost to tear out and replace
                                                                        Sprinkler Leakage.
                  any part of the building or other
                  property as needed to gain                 5. Coverage Extensions
                  access to the "fungus", wet or                Except as otherwise provided, the fol-
                  dry rot or bacteria; and                      lowing Extensions apply to property located




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       in or on the building described in the                               (i) Personal property of others
       Declarations or in the open (or in a vehicle)                            that is temporarily in your
       within 100 feet of the described premises.                               possession in the course of
       The following Extensions apply only to                                   installing or    performing
       property located in the "state" in which the                             work on such property; or
       described premises is located.                                       (ii) Personal property of others
       If a Coinsurance percentage of 80% or                                     that is temporarily in your
       more, or a Value Reporting period symbol,                                 possession in the course of
       is shown in the Declarations, you may ex-                                 your    manufacturing    or




   CE
       tend the insurance provided by this policy                                wholesaling activities.
       as follows:                                                   (3) Period Of Coverage
       a.   Newly Acquired Or Constructed Prop-                         With respect to insurance provided
            erty                                                        under this Coverage Extension for
            (1) Buildings                                               Newly Acquired Or Constructed
                                                                        Property, coverage will end when
               If this policy covers Building, you                      any of the following first occurs:




                            RT
               may extend that insurance to apply
               to:                                                      (a) This policy expires;

               (a) Your new buildings while being                       (b) 30 days expire after you ac-
                   built on the described premises;                         quire the property or begin
                   and                                                      construction of that part of the
                                                                            building that would qualify as
               (b) Buildings you acquire at loca-                           covered property; or




                                                   IF
                   tions, other than the described
                   premises, intended for:                              (c) You report values to us.

                   (i) Similar use as the building                   We will charge you additional premium
                       described in the Declara-                     for values reported from the date you
                                                                     acquire the property or begin con-




                                                                     IE
                       tions; or
                                                                     struction of that part of the building
                   (ii) Use as a warehouse.                          that would qualify as covered property.
               The most we will pay for loss or                 b.   Personal   Effects    And   Property   Of
               damage under this Extension is                        Others




                                                                       D
               $250,000 at each building.
                                                                     You may extend the insurance that
            (2) Your Business Personal Property                      applies to Your Business Personal Prop-
               (a) If this policy covers Your                        erty to apply to:
                   Business Personal Property, you                   (1) Personal effects owned by you,
                   may extend that insurance to                          your officers, your partners or
                   apply to:                                             members, your managers or your
                   (i) Business personal property,                       employees. This Extension does not
                       including such property that                      apply to loss or damage by theft.
                       you newly acquire, at any                     (2) Personal property of others in your
                       location you acquire other                        care, custody or control.
                       than at fairs, trade shows
                       or exhibitions; or                            The most we will pay for loss or
                                                                     damage under this Extension is $2,500
                   (ii) Business personal property,                  at each described premises. Our pay-
                        including such property that                 ment for loss of or damage to personal
                        you newly acquire, located                   property of others will only be for the
                        at your newly constructed                    account of the owner of the property.
                        or acquired buildings at the
                        location described in the               c.   Valuable Papers And Records (Other
                        Declarations.                                Than Electronic Data)

               The most we will pay for loss or                      (1) You may extend the insurance that
               damage under this Extension is                            applies to Your Business Personal
               $100,000 at each building.                                Property to apply to the cost to
                                                                         replace or restore the lost infor-
               (b) This Extension does not apply                         mation on valuable papers and
                   to:



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              records for which duplicates do not                    shrubs or plants which are "stock" or
              exist. But this Extension does not                     are part of a vegetated roof), including
              apply to valuable papers and                           debris removal expense, caused by or
              records which exist as electronic                      resulting from any of the following
              data. Electronic data has the                          causes of loss if they are Covered
              meaning described under Property                       Causes of Loss:
              Not Covered, Electronic Data.                          (1) Fire;
           (2) Under this Extension, the most we                     (2) Lightning;
               will pay to replace or restore the




   CE
               lost information is $2,500 at each                    (3) Explosion;
               described premises, unless a higher                   (4) Riot or Civil Commotion; or
               limit is shown in the Declarations.
                                                                     (5) Aircraft.
               Such amount is additional insur-
               ance. We will also pay for the cost                   The most we will pay for loss or
               of blank material for reproducing                     damage under      this  Extension is
               the records (whether or not dupli-                    $1,000, but not more than $250 for
                                                                     any one tree, shrub or plant. These




                           RT
               cates exist) and (when there is a
               duplicate) for the cost of labor to                   limits apply to any one occurrence,
               transcribe or copy the records. The                   regardless of the types or number of
               costs of blank material and labor                     items lost or damaged in that occur-
               are subject to the applicable Limit                   rence.
               of Insurance on Your Business Per-                    Subject to all aforementioned terms and
               sonal Property and, therefore, cov-                   limitations of coverage, this Coverage




                                                   IF
               erage of such costs is not addi-                      Extension includes the expense of
               tional insurance.                                     removing from the described premises
      d.   Property Off-premises                                     the debris of trees, shrubs and plants
                                                                     which are the property of others,
           (1) You may extend the insurance
                                                                     except in the situation in which you are




                                                                     IE
               provided by this Coverage Form to
                                                                     a tenant and such property is owned by
               apply to your Covered Property
                                                                     the landlord of the described premises.
               while it is away from the described
               premises, if it is:                              f.   Non-owned Detached Trailers
              (a) Temporarily at a location you                      (1) You may extend the insurance that




                                                                       D
                  do not own, lease or operate;                          applies to Your Business Personal
                                                                         Property to apply to loss or damage
              (b) In storage at a location you
                                                                         to trailers that you do not own,
                  lease, provided the lease was
                                                                         provided that:
                  executed after the beginning of
                  the current policy term; or                            (a) The trailer is used in your busi-
                                                                             ness;
              (c) At any fair, trade show or
                  exhibition.                                            (b) The trailer is in your care, cust-
                                                                             ody or control at the premises
           (2) This Extension does not apply to
                                                                             described in the Declarations;
               property:
                                                                             and
              (a) In or on a vehicle; or
                                                                         (c) You have a contractual re-
              (b) In the care, custody or control                            sponsibility to pay for loss or
                  of your salespersons, unless                               damage to the trailer.
                  the property is in such care,
                                                                     (2) We will not pay for any loss or
                  custody or control at a fair,
                                                                         damage that occurs:
                  trade show or exhibition.
                                                                         (a) While the trailer is attached to
           (3) The most we will pay for loss or
                                                                             any motor vehicle or motorized
               damage under this Extension is
                                                                             conveyance, whether or not the
               $10,000.
                                                                             motor vehicle or motorized con-
      e.   Outdoor Property                                                  veyance is in motion;
           You may extend the insurance provided                         (b) During hitching or unhitching
           by this policy to apply to your outdoor                           operations, or when a trailer
           fences, radio and television antennas                             becomes accidentally unhitched
           (including   satellite dishes),   trees,                          from a motor vehicle or motor-
           shrubs and plants (other than trees,                              ized conveyance.

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            (3) The most we will pay for loss or                            under this policy or any endorse-
                damage under this Extension is                              ment to this policy, and does not
                $5,000, unless a higher limit is                            apply to loss or damage to the
                shown in the Declarations.                                  storage unit itself.
            (4) This insurance is excess over the                      Each of these Extensions is additional
                amount due (whether you can                            insurance unless otherwise indicated.
                collect on it or not) from any other                   The Additional Condition, Coinsurance,
                insurance covering such property.                      does not apply to these Extensions.
       g.   Business Personal Property Temporarily          B. Exclusions




   CE
            In Portable Storage Units                          1. We will not pay for loss or damage caused
            (1) You may extend the insurance that                 directly or indirectly by any of the fol-
                applies to Your Business Personal                 lowing. Such loss or damage is excluded
                Property to apply to such property                regardless of any other cause or event that
                while temporarily stored in a                     contributes concurrently or in any sequence
                portable storage unit (including a                to the loss.
                detached trailer) located within 100




                             RT
                                                                  a.   Ordinance Or Law
                feet of the building or structure
                described in the Declarations or                       The enforcement of or compliance with
                within 100 feet of the premises                        any ordinance or law:
                described in      the Declarations,                    (1) Regulating the construction, use or
                whichever distance is greater.                             repair of any property; or
            (2) If   this  policy,   including   any                   (2) Requiring the tearing down of any




                                                     IF
                endorsement, contains a limitation                         property, including the cost of
                or exclusion concerning loss or                            removing its debris.
                damage from sand, dust, sleet,
                                                                       This exclusion, Ordinance Or Law,
                snow, ice or rain to property in a
                                                                       applies whether the loss results from:
                structure, such limitation or ex-




                                                                       IE
                clusion also applies to property in a                  (1) An ordinance or law that is en-
                portable storage unit.                                     forced even if the property has not
                                                                           been damaged; or
            (3) Coverage under this Extension:
                                                                       (2) The increased costs incurred to
                (a) Will end 90 days after the




                                                                         D
                                                                           comply with an ordinance or law in
                    business personal property has
                                                                           the course of construction, repair,
                    been placed in the storage unit;
                                                                           renovation, remodeling or demo-
                (b) Does not apply if the storage                          lition of property, or removal of its
                    unit itself has been in use at the                     debris, following a physical loss to
                    described premises for more                            that property.
                    than 90 consecutive days, even
                                                                  b.   Earth Movement
                    if the business personal prop-
                    erty has been stored there for                     (1) Earthquake, including tremors and
                    90 or fewer days as of the time                        aftershocks and any earth sinking,
                    of loss or damage.                                     rising or shifting related to such
                                                                           event;
            (4) Under this Extension, the most we
                will pay for the total of all loss or                  (2) Landslide, including any earth
                damage to business personal prop-                          sinking, rising or shifting related to
                erty is $10,000 (unless a higher                           such event;
                limit is indicated in the Declarations                 (3) Mine subsidence, meaning subsid-
                for such Extension) regardless of                          ence of a man-made mine, whether
                the number of storage units. Such                          or not mining activity has ceased;
                limit is part of, not in addition to,
                                                                       (4) Earth sinking (other than sinkhole
                the applicable Limit of Insurance on
                                                                           collapse, if sinkhole collapse is a
                Your Business Personal Property.
                                                                           Covered Cause of Loss), rising or
                Therefore, payment under this Ex-
                                                                           shifting including soil conditions
                tension will not increase the ap-
                                                                           which cause settling, cracking or
                plicable Limit of Insurance on Your
                                                                           other disarrangement of foun-
                Business Personal Property.
                                                                           dations or other parts of realty. Soil
            (5) This Extension does not apply to                           conditions include contraction, ex-
                loss or damage otherwise covered                           pansion, freezing, thawing, erosion,

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               improperly compacted soil and the                      would not have occurred but for an
               action of water under the ground                       event causing a failure of power.
               surface.                                               But if the failure or surge of power, or
           But if Earth Movement, as described in                     the failure of communication, water or
           b.(1) through (4) above, results in fire                   other utility service, results in a Cov-
           or explosion, we will pay for the loss or                  ered Cause of Loss, we will pay for the
           damage caused by that fire or ex-                          loss or damage caused by that Covered
           plosion.                                                   Cause of Loss.
           (5) Volcanic eruption, explosion or ef-                    Communication services include but are




   CE
               fusion. But if volcanic eruption,                      not limited to service relating to Inter-
               explosion or effusion results in fire                  net access or access to any electronic,
               or Volcanic Action, we will pay for                    cellular or satellite network.
               the loss or damage caused by that                 f.   War And Military Action
               fire or Volcanic Action (if Volcanic
               Action is a Covered Cause of Loss).                    (1) War, including undeclared or civil
                                                                          war;
           This exclusion applies regardless of




                              RT
           whether any of the above, in Para-                         (2) Warlike action by a military force,
           graphs (1) through (5), is caused by an                        including action in hindering or de-
           act of nature or is otherwise caused.                          fending against an actual or ex-
                                                                          pected attack, by any government,
      c.   Governmental Action                                            sovereign or other authority using
           Seizure or destruction of property by                          military personnel or other agents;
           order of governmental authority.                               or




                                                    IF
           But we will pay for loss or damage                         (3) Insurrection, rebellion, revolution,
           caused by or resulting from acts of                            usurped power, or action taken by
           destruction ordered by governmental                            governmental authority in hindering
           authority and taken at the time of a fire                      or defending against any of these.




                                                                      IE
           to prevent its spread, if the fire would              g.   Water
           be covered under this policy.
                                                                      (1) Flood, surface water, waves (in-
      d.   Nuclear Hazard                                                 cluding tidal wave and tsunami),
           Nuclear reaction or radiation, or radio-                       tides, tidal water, overflow of any




                                                                        D
           active contamination, however caused.                          body of water, or spray from any of
           But if nuclear reaction or radiation, or                       these, all whether or not driven by
           radioactive contamination, results in                          wind (including storm surge);
           fire, we will pay for the loss or damage                   (2) Mudslide or mudflow;
           caused by that fire.                                       (3) Water that backs up or overflows
      e.   Utility Services                                               or is otherwise discharged from a
           The failure of power, communication,                           sewer, drain, sump, sump pump or
           water or other utility service supplied to                     related equipment;
           the described premises, however caus-                      (4) Water under the ground surface
           ed, if the failure:                                            pressing on, or flowing or seeping
           (1) Originates away from the described                         through:
               premises; or                                              (a) Foundations, walls, floors or
           (2) Originates at the described prem-                             paved surfaces;
               ises, but only if such failure in-                        (b) Basements, whether paved or
               volves equipment used to supply                               not; or
               the utility service to the described                      (c) Doors, windows or other open-
               premises from a source away from                              ings; or
               the described premises.
                                                                      (5) Waterborne material carried or
           Failure of any utility service includes                        otherwise moved by any of the
           lack of sufficient capacity and reduction                      water referred to in Paragraph (1),
           in supply.                                                     (3) or (4), or material carried or
           Loss or damage caused by a surge of                            otherwise moved by mudslide or
           power is also excluded, if the surge                           mudflow.




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            This exclusion applies regardless of                            (a) Electrical current, including arc-
            whether any of the above, in Para-                                  ing;
            graphs (1) through (5), is caused by an                         (b) Electrical charge produced or
            act of nature or is otherwise caused.                               conducted by a magnetic or
            An example of a situation to which this                             electromagnetic field;
            exclusion applies is the situation where
            a dam, levee, seawall or other boun-                            (c) Pulse of electromagnetic ener-
            dary or containment system fails in                                 gy; or
            whole or in part, for any reason, to                            (d) Electromagnetic     waves      or
            contain the water.




   CE
                                                                                microwaves.
            But if any of the above, in Paragraphs                       But if fire results, we will pay for the
            (1) through (5), results in fire, ex-                        loss or damage caused by that fire.
            plosion or sprinkler leakage, we will pay
                                                                    b.   Rupture or bursting of water pipes
            for the loss or damage caused by that
                                                                         (other than Automatic Sprinkler Sys-
            fire, explosion or sprinkler leakage (if
                                                                         tems if sprinkler leakage is a Covered
            sprinkler leakage is a Covered Cause of
                                                                         Cause of Loss) unless caused by a




                               RT
            Loss).
                                                                         Covered Cause of Loss.
       h.   "Fungus",    Wet   Rot,    Dry   Rot And
                                                                    c.   Leakage or discharge of water or steam
            Bacteria
                                                                         from any part of a system or appliance
            Presence, growth, proliferation, spread                      containing water or steam (other than
            or any activity of "fungus", wet or dry                      an Automatic Sprinkler System if
            rot or bacteria.                                             sprinkler leakage is a Covered Cause of




                                                      IF
            But if "fungus", wet or dry rot or bac-                      Loss), unless the leakage or discharge
            teria result in a Covered Cause of Loss,                     occurs because the system or appliance
            we will pay for the loss or damage                           was damaged by a Covered Cause of
            caused by that Covered Cause of Loss.                        Loss. But we will not pay for loss or
                                                                         damage caused by or resulting from




                                                                         IE
            This exclusion does not apply:                               continuous or repeated seepage or
            (1) When "fungus", wet or dry rot or                         leakage of water, or the presence or
                bacteria result from fire or lightning;                  condensation of humidity, moisture or
                or                                                       vapor, that occurs over a period of 14
                                                                         days or more.




                                                                           D
            (2) To the extent that coverage is pro-
                vided in the Additional Coverage,                   d.   Explosion of steam boilers, steam
                Limited Coverage For "Fungus",                           pipes, steam engines or steam turbines
                Wet Rot, Dry Rot And Bacteria,                           owned or leased by you, or operated
                with respect to loss or damage by a                      under your control.
                cause of loss other than fire or                         But if explosion of steam boilers, steam
                lightning.                                               pipes, steam engines or steam turbines
       Exclusions B.1.a. through B.1.h. apply                            results in fire or combustion explosion,
       whether or not the loss event results in                          we will pay for the loss or damage
       widespread damage or affects a substantial                        caused by that fire or combustion
       area.                                                             explosion.
   2. We will not pay for loss or damage caused                     e.   Mechanical breakdown, including rup-
      by or resulting from:                                              ture or bursting caused by centrifugal
       a.   Artificially generated electrical, mag-                      force.
            netic or electromagnetic energy that                         But if mechanical breakdown results in
            damages, disturbs, disrupts or other-                        a Covered Cause of Loss, we will pay
            wise interferes with any:                                    for the loss or damage caused by that
            (1) Electrical or electronic wire, device,                   Covered Cause of Loss.
                appliance, system or network; or                    f.   Neglect of an insured to use all rea-
            (2) Device, appliance, system or net-                        sonable means to save and preserve
                work utilizing cellular or satellite                     property from further damage at and
                technology.                                              after the time of loss.

            For the purpose of this exclusion,               C. Limits Of Insurance
            electrical, magnetic or electromagnetic             The most we will pay for loss or damage in any
            energy includes but is not limited to:              one occurrence is the applicable Limit Of Insur-
                                                                ance shown in the Declarations.

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   The most we will pay for loss or damage to out          The Deductible applies once per occurrence and
   door signs, whether or not the sign is attached         therefore is not subtracted in determining the
   to a building, is $2,500 per sign in any one            amount of loss payable for Building 2. Loss
   occurrence.                                             payable for Building 2 is the Limit of Insurance of
   The amounts of insurance stated in the                  $80,000.
   following Additional Coverages apply in accord-         Total amount of loss payable:
   ance with the terms of such coverages and are           $59,850 + $80,000 = $139,850
   separate from the Limit(s) Of Insurance shown
   in the Declarations for any other coverage:             Example 2




    CE
   1. Fire Department Service Charge;                      (This example, too, assumes there is no Coinsur-
   2. Pollutant Clean-up And Removal; and                  ance penalty.)
   3. Electronic Data.                                     The Deductible and Limits of Insurance are the
                                                           same as those in Example 1.
   Payments under the Preservation Of Property
   Additional Coverage will not increase the               Loss to Building 1:                      $   70,000
   applicable Limit of Insurance.




                              RT
                                                                (Exceeds Limit of Insurance plus Deductible)
D. Deductible
                                                           Loss to Building 2:                      $   90,000
   In any one occurrence of loss or damage
                                                                (Exceeds Limit of Insurance plus Deductible)
   (hereinafter referred to as loss), we will first
   reduce the amount of loss if required by the            Loss Payable – Building 1:               $   60,000
   Coinsurance Condition. If the adjusted amount                (Limit of Insurance)
   of loss is less than or equal to the Deductible,        Loss Payable – Building 2:               $   80,000




                                                    IF
   we will not pay for that loss. If the adjusted
                                                                (Limit of Insurance)
   amount of loss exceeds the Deductible, we will
   then subtract the Deductible from the adjusted          Total amount of loss payable:            $ 140,000
   amount of loss, and will pay the resulting              E. Cancellation Common Policy Condition
   amount or the Limit of Insurance, whichever is




                                                                      IE
   less.                                                        1. The first Named Insured shown in the
                                                                   Declarations may cancel this policy by
   When the occurrence involves loss to more                       mailing or delivering to us advance written
   than one item of Covered Property and sep-                      notice of cancellation.
   arate Limits of Insurance apply, the losses will




                                                                        D
   not be combined in determining application of                2. We may cancel this policy by mailing or
   the Deductible. But the Deductible will be                      delivering to the first Named Insured
   applied only once per occurrence.                               written notice of cancellation at least five
                                                                   days    before  the   effective   date of
Example 1                                                          cancellation.
(This example assumes there is no Coinsurance                   3. We will mail or deliver our notice to the
penalty.)                                                          first Named Insured's last mailing address
                                                                   known to us.
Deductible:                               $       250
Limit of Insurance – Building 1:          $   60,000            4. Notice of cancellation will state the effec-
                                                                   tive date of cancellation. The policy period
Limit of Insurance – Building 2:          $   80,000               will end on that date.
Loss to Building 1:                       $   60,100
                                                                5. If this policy is cancelled, we will send the
Loss to Building 2:                       $   90,000               first Named Insured any premium refund
The amount of loss to Building 1 ($60,100) is less                 due. If we cancel, the refund will be pro-
than the sum ($60,250) of the Limit of Insurance a                 rata. If the first Named Insured cancels, the
pplicable to Building 1 plus the Deductible.                       refund may be less than pro rata. The
                                                                   cancellation will be effective even if we
The Deductible will be subtracted from the amount                  have not made or offered a refund.
of loss in calculating the loss payable for Building
1:                                                              6. If notice is mailed, proof of mailing will be
                                                                   sufficient proof of notice.
    $    60,100                                            F.   Other Common Policy Conditions
    –         250
                                                                1. Changes
    $ 59,850          Loss Payable – Building 1
                                                                    This policy contains all the agreements be
                                                                    tween you and us concerning the insurance



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       afforded. The first Named Insured shown in                         premiums we pay.
       the Declarations is authorized to make                    5. Transfer Of Your Rights And Duties Under
       changes in the terms of this policy with our                 This Policy
       consent. This policy's terms can be amend-
       ed or waived only by endorsement issued                       Your rights and duties under this policy
       by us and made a part of this policy.                         may not be transferred without our written
                                                                     consent except in the case of death of an
   2. Examination Of Your Books And Records                          individual Named Insured.
       We may examine and audit your books and                       If you die, your rights and duties will be
       records as they relate to this policy at any                  transferred to your legal representative but




   CE
       time during the policy period and up to                       only while acting within the scope of duties
       three years afterward.                                        as your legal representative. Until your
   3. Inspections And Surveys                                        legal representative is appointed, anyone
                                                                     having proper temporary custody of your
       a.   We have the right to:
                                                                     property will have your rights and duties
            (1) Make inspections and surveys at                      but only with respect to that property.
                any time;




                              RT
                                                              G. Loss Conditions
            (2) Give you reports on the conditions
                                                                 1. Abandonment
                we find; and
                                                                     There can be no abandonment of any
            (3) Recommend changes.
                                                                     property to us.
       b.   We are not obligated to make any inspe
                                                                 2. Appraisal
            ctions, surveys, reports or recom-
            mendations and any such actions we                       If we and you disagree on the values of the




                                                       IF
            do undertake relate only to insurability                 property or the amount of loss, either may
            and the premiums to be charged. We                       make written demand for an appraisal of
            do not make safety inspections. We do                    the loss. In this event, each party will
            not undertake to perform the duty of                     select a competent and impartial appraiser.




                                                                          IE
            any person or organization to provide                    The two appraisers will select an umpire. If
            for the health or safety of workers or                   they cannot agree, either may request that
            the public. And we do not warrant that                   selection be made by a judge of a court
            conditions:                                              having jurisdiction. The appraisers will state
                                                                     separately the value of the property and
            (1) Are safe or healthful; or




                                                                            D
                                                                     amount of loss. If they fail to agree, they
            (2) Comply with laws,           regulations,             will submit their differences to the umpire.
                codes or standards.                                  A decision agreed to by any two will be
       c.   Paragraphs a. and b. of this condition                   binding. Each party will:
            apply not only to us, but also to any                    a.   Pay its chosen appraiser; and
            rating, advisory, rate service or similar
                                                                     b.   Bear the other expenses of the ap-
            organization which makes insurance
                                                                          praisal and umpire equally.
            inspections, surveys, reports or recom-
            mendations.                                              If there is an appraisal, we will still retain
                                                                     our right to deny the claim.
       d.   Paragraph b. of this condition does not
            apply to any inspections, surveys,                   3. Duties In The Event Of Loss Or Damage
            reports or recommendations we may                        a.   You must see that the following are
            make relative to certification, under                         done in the event of loss or damage to
            state or municipal statutes, ordinances                       Covered Property:
            or regulations, of boilers, pressure
            vessels or elevators.                                         (1) Notify the police if a law may have
                                                                              been broken.
   4. Premiums
                                                                          (2) Give us prompt notice of the loss or
       The first Named Insured shown in the                                   damage. Include a description of
       Declarations:                                                          the property involved.
       a.   Is responsible for the payment of all                         (3) As soon as possible, give us a de-
            premiums; and                                                     scription of how, when and where
       b.   Will   be   the   payee   for   any   return                      the loss or damage occurred.




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           (4) Take all reasonable steps to protect                 (1) Pay the value of lost or damaged
               the Covered Property from further                        property;
               damage, and keep a record of your                    (2) Pay the cost of repairing or re-
               expenses necessary to protect the                        placing the lost or damaged
               Covered Property, for consideration                      property, subject to b. below;
               in the settlement of the claim. This
               will not increase the Limit of In-                   (3) Take all or any part of the property
               surance. However, we will not pay                        at an agreed or appraised value; or
               for any subsequent loss or damage                    (4) Repair, rebuild or replace the prop-
               resulting from a cause of loss that                      erty with other property of like kind




   CE
               is not a Covered Cause of Loss.                          and quality, subject to b. below.
               Also, if feasible, set the damaged                   We will determine the value of lost or
               property aside and in the best                       damaged property, or the cost of its
               possible order for examination.                      repair or replacement, in accordance
           (5) At our request, give us complete                     with the applicable terms of the Val-
               inventories of the damaged and                       uation Condition in this policy or any




                           RT
               undamaged property. Include quan-                    applicable provision which amends or
               tities, costs, values and amount of                  supersedes the Valuation Condition.
               loss claimed.                                   b.   The cost to repair, rebuild or replace
           (6) As often as may be reasonably                        does not include the increased cost
               required, permit us to inspect the                   attributable to enforcement of or com-
               property proving the loss or dam-                    pliance with any ordinance or law
               age and examine your books and                       regulating the construction, use or re-




                                                  IF
               records.                                             pair of any property.
              Also, permit us to take samples of               c.   We will give notice of our intentions
              damaged and undamaged property                        within 30 days after we receive the
              for inspection, testing and analysis,                 sworn proof of loss.




                                                                    IE
              and permit us to make copies from                d.   We will not pay you more than your
              your books and records.                               financial interest in the Covered Prop-
           (7) Send us a signed, sworn proof of                     erty.
               loss containing the information we              e.   We may adjust losses with the owners
               request to investigate the claim.




                                                                      D
                                                                    of lost or damaged property if other
               You must do this within 60 days                      than you. If we pay the owners, such
               after our request. We will supply                    payments will satisfy your claims
               you with the necessary forms.                        against us for the owners' property.
           (8) Cooperate with us in the invest-                     We will not pay the owners more than
               igation or settlement of the claim.                  their financial interest in the Covered
      b.   We may examine any insured under                         Property.
           oath, while not in the presence of any              f.   We may elect to defend you against
           other insured and at such times as may                   suits arising from claims of owners of
           be reasonably required, about any                        property. We will do this at our
           matter relating to this insurance or the                 expense.
           claim, including an insured's books and             g.   We will pay for covered loss or damage
           records. In the event of an examin-                      within 30 days after we receive the
           ation, an insured's answers must be                      sworn proof of loss, if you have
           signed.                                                  complied with all of the terms of this
   4. Insurance Under Two Or More Coverages                         Coverage Part, and:
      If two or more of this policy's coverages                     (1) We have reached agreement with
      apply to the same loss or damage, we will                         you on the amount of loss; or
      not pay more than the actual amount of the                    (2) An appraisal award has been made.
      loss or damage.
                                                               h.   A party wall is a wall that separates
   5. Loss Payment                                                  and is common to adjoining buildings
      a.   In the event of loss or damage covered                   that are owned by different parties. In
           by this policy, at our option, we will                   settling covered losses involving a
           either:                                                  party wall, we will pay a proportion of




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            the loss to the party wall based on your                     (a) When this policy is issued to a
            interest in the wall in proportion to the                        tenant, and with respect to that
            interest of the owner of the adjoining                           tenant's interest in Covered
            building. However, if you elect to repair                        Property, building means the
            or replace your building and the owner                           unit or suite rented or leased to
            of the adjoining building elects not to                          the tenant.
            repair or replace that building, we will                     (b) When this policy is issued to
            pay you the full value of the loss to the                        the owner or general lessee of a
            party wall, subject to all applicable                            building, building means the
            policy provisions including Limits of




   CE
                                                                             entire building. Such building is
            Insurance, the Valuation and Coin-                               "vacant" or "unoccupied" when
            surance Conditions and all other                                 70% or more of its total square
            provisions of this Loss Payment Con-                             footage is "vacant" or "unoc-
            dition.   Our    payment     under    the                        cupied".
            provisions of this paragraph does not
            alter any right of subrogation we may                     (2) Buildings under construction or
            have against any entity, including the                        renovation   are not considered




                             RT
            owner or insurer of the adjoining                             "vacant" or "unoccupied".
            building, and does not alter the terms               b.   Vacancy Provisions
            of the Transfer Of Rights Of Recovery
                                                                      We will not pay for any loss or damage
            Against Others To Us Condition in this
                                                                      if the building where loss or damage
            policy.
                                                                      occurs has been "vacant" or "unoc-
   6. Other Insurance                                                 cupied" for more than:




                                                    IF
       a.   You may have other insurance subject                      (1) 30 consecutive days before that
            to the same plan, terms, conditions and                       loss or damage if caused by Van-
            provisions as the insurance under this                        dalism (if it is a Covered Cause of
            policy. If you do, we will pay our share                      Loss); or




                                                                      IE
            of the covered loss or damage. Our
                                                                      (2) 60 consecutive days before that
            share is the proportion that the appli-
                                                                          loss or damage if caused by any
            cable Limit of Insurance under this
                                                                          other Covered Cause of Loss;
            policy bears to the Limits of Insurance
            of all covering on the same basis.                        whether or not such vacancy or un-




                                                                        D
                                                                      occupancy begins before the inception
       b.   If there is other insurance covering the
                                                                      of this policy.
            same loss or damage, other than that
            described in a. above, we will pay only                   But we will pay if the building is
            for the amount of covered loss or                         "unoccupied" due to circumstances
            damage in excess of the amount due                        that are usual or incidental to the de-
            from that other insurance, whether you                    scribed occupancy.
            can collect on it or not. But we will not                 This condition does not apply if the
            pay more than the applicable Limit of                     Vacancy Permit endorsement is attach-
            Insurance.                                                ed.
   7. Recovered Property                                      9. Valuation
       If either you or we recover any property                  We will determine the value of Covered
       after loss settlement, that party must give               Property in the event of loss or damage as
       the other prompt notice. At your option,                  follows:
       the property will be returned to you. You
                                                                 a.   At actual cash value as of the time of
       must then return to us the amount we paid
                                                                      loss or damage, except as provided in
       to you for the property. We will pay
                                                                      b., c. and d. below.
       recovery expenses and the expenses to
       repair the recovered property, subject to                 b.   "Stock" you have sold but not
       the Limit of Insurance.                                        delivered at the selling price less
                                                                      discounts and expenses you otherwise
   8. Vacancy
                                                                      would have had.
       a.   Description Of Terms
                                                                 c.   Glass at the cost of replacement with
            (1) As used in this Vacancy Condition,                    safety-glazing material if required by
                the term building has the meanings                    law.
                set forth in (1)(a) and (1)(b) below:
                                                                 d.   Tenants'   Improvements   and    Better-



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           ments at:                                               loss yourself.
           (1) Actual cash value of the lost or           Example 1 (Underinsurance)
               damaged property if you make re-
                                                           When:    The value of the property is: $ 250,000
               pairs promptly.
                                                                        The Coinsurance percentage
           (2) A proportion of your original cost if                    for it is:                           80%
               you do not make repairs promptly.
               We will determine the proportionate                      The Limit of Insurance
               value as follows:                                        for it is:                     $ 100,000
                                                                        The Deductible is:             $      250
              (a) Multiply the original cost by the




   CE
                  number of days from the loss or                       The amount of loss is:         $   40,000
                  damage to the expiration of the          Step (1): $250,000 x 80% = $200,000
                  lease; and                                            (the minimum amount of insurance to
              (b) Divide the amount determined                          meet your Coinsurance requirements)
                  in (a) above by the number of            Step (2): $100,000 $200,000 = .50
                  days from the installation of
                                                           Step (3): $40,000 x .50 = $20,000




                            RT
                  improvements to the expiration
                  of the lease.                            Step (4): $20,000 – $250 = $19,750
              If your lease contains a renewal            We will pay no more than $19,750. The remaining
              option, the expiration of the re-           $20,250 is not covered.
              newal option period will replace the
                                                          Example 2 (Adequate Insurance)
              expiration of the lease in this pro-
              cedure.                                      When:        The value of the property is: $ 250,000




                                                   IF
           (3) Nothing if others pay for repairs or                     The Coinsurance percentage
               replacement.                                             for it is:                           80%
H. Additional Conditions                                                The Limit of Insurance
                                                                        for it is:                     $ 200,000




                                                                        IE
   1. Coinsurance
                                                                        The Deductible is:             $      250
       If a Coinsurance percentage is shown in
       the Declarations, the following condition                        The amount of loss is:         $   40,000
       applies:                                           The minimum amount of insurance to meet your
       We will not pay the full amount of any loss        Coinsurance requirement is $200,000 ($250,000 x




                                                                          D
       if the value of Covered Property at the time       80%). Therefore, the Limit of Insurance in this
       of loss times the Coinsurance percentage           example is adequate and no penalty applies. We
       shown for it in the Declarations is greater        will pay no more than $39,750 ($40,000 amount
       than the Limit of Insurance for the prop-          of loss minus the deductible of $250).
       erty.                                                 2. Concealment, Misrepresentation Or Fraud
       Instead, we will determine the most we will                 This policy is void in any case of fraud by
       pay using the following steps:                              you as it relates to this policy at any time.
           (1) Multiply the value of Covered                       It is also void if you or any other insured,
               Property at the time of loss by the                 at any time, intentionally conceals or
               Coinsurance percentage;                             misrepresents a material fact concerning:
           (2) Divide the Limit of Insurance of the                a.   This policy;
               property by the figure determined in                b.   The Covered Property;
               Step (1);
                                                                   c.   Your interest in the Covered Property;
           (3) Multiply the total amount of loss,                       or
               before the application of any de-
               ductible, by the figure determined                  d.   A claim under this policy.
               in Step (2); and                              3. Control Of Property
           (4) Subtract the deductible from the                    Any act or neglect of any person other
               figure determined in Step (3).                      than you beyond your direction or control
       We will pay the amount determined in Step                   will not affect this insurance.
       (4) or the Limit of Insurance, whichever is                 The breach of any condition of this policy
       less. For the remainder, you will either have               at any one or more locations will not affect
       to rely on other insurance or absorb the




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       coverage at any location where, at the time                      mortgageholder.
       of loss, the breach of condition does not                     All of the terms of this policy will then
       exist.                                                        apply directly to the mortgageholder.
   4. Knowledge Or Control                                      e.   If we pay the mortgageholder for any
       We will not pay for loss or damage while                      loss or damage and deny payment to
       the chance of loss or damage is increased                     you because of your acts or because
       by any means within your knowledge or                         you have failed to comply with the
       control.                                                      terms of this policy:
                                                                     (1) The mortgageholder's rights under




   CE
   5. Legal Action Against Us
                                                                         the mortgage will be transferred to
       No one may bring a legal action against us
                                                                         us to the extent of the amount we
       under this policy unless:
                                                                         pay; and
       a.   There has been full compliance with all
                                                                     (2) The mortgageholder's right to
            of the terms of this policy; and
                                                                         recover the full amount of the
       b.   The action is brought within two years                       mortgageholder's claim will not be
            after the date on which the direct phys-




                            RT
                                                                         impaired.
            ical loss or damage occurred.
                                                                     At our option, we may pay to the
   6. Liberalization                                                 mortgageholder the whole principal on
       If we adopt any revision that would                           the mortgage plus any accrued interest.
       broaden the coverage under this policy                        In this event, your mortgage and note
       without additional premium within 45 days                     will be transferred to us and you will
       prior to or during the policy period, the                     pay your remaining mortgage debt to




                                                   IF
       broadened coverage will immediately apply                     us.
       to this policy.                                          f.   If we cancel this policy, we will give
   7. Mortgageholders                                                written notice to the mortgageholder at
                                                                     least 10 days before the effective date
       a.   The term     mortgageholder    includes




                                                                     IE
                                                                     of cancellation.
            trustee.
                                                                g.   If we elect not to renew this policy, we
       b.   We will pay for covered loss of or
                                                                     will give written       notice    to the
            damage to buildings or structures to
                                                                     mortgageholder at least 10 days before
            each mortgageholder shown in the
                                                                     the expiration date of this policy.




                                                                       D
            Declarations in their order of preced-
            ence, as interests may appear.                   8. No Benefit To Bailee
       c.   The mortgageholder has the right to                 No person or organization, other than you,
            receive loss payment even if the mort-              having custody of Covered Property will
            gageholder has started foreclosure or               benefit from this insurance.
            similar action on the building or struc-         9. Policy Period, Coverage Territory
            ture.
                                                                Under this policy:
       d.   If we deny your claim because of your
                                                                a.   We cover loss or damage commencing:
            acts or because you have failed to com-
            ply with the terms of this policy, the                   (1) During the policy period shown in
            mortgageholder will still have the right                     the Declarations; and
            to receive loss payment if the mort-                     (2) Within the coverage territory.
            gageholder:
                                                                b.   The coverage territory is the "state" in
            (1) Pays any premium due under this                      which the premises described in the
                policy at our request if you have                    Declarations is located.
                failed to do so;
                                                             10. Transfer Of Rights Of Recovery Against
            (2) Submits a signed, sworn proof of                 Others To Us
                loss within 60 days after receiving
                notice from us of your failure to do            If any person or organization to or for
                so; and                                         whom we make payment under this policy
                                                                has rights to recover damages from
            (3) Has notified us of any change in                another, those rights are transferred to us
                ownership, occupancy or sub-
                stantial change in risk known to the




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         to the extent of our payment. That person                   fungus, including mold or mildew, and any
         or organization must do everything nec-                     mycotoxins, spores, scents or by-products
         essary to secure our rights and must do                     produced or released by fungi.
         nothing after loss to impair them. But you               2. "Pollutants" means any solid, liquid,
         may waive your rights against another                       gaseous or thermal irritant or contaminant,
         party in writing:                                           including smoke, vapor, soot, fumes, acids,
         a.   Prior to a loss to your Covered Prop-                  alkalis, chemicals and waste. Waste
              erty.                                                  includes materials to be recycled, recon-
         b.   After a loss to your Covered Property                  ditioned or reclaimed.




     CE
              only if, at time of loss, that party is one         3. "State" includes the District of Columbia
              of the following:                                      and Puerto Rico.
              (1) Someone insured by this insurance;              4. "Stock" means merchandise held in storage
              (2) A business firm:                                   or for sale, raw materials and in-process or
                                                                     finished goods, including supplies used in
                   (a) Owned or controlled by you; or                their packing or shipping.
                   (b) That owns or controls you; or




                                 RT
                                                                  5. "Unoccupied" means containing contents
              (3) Your tenant.                                       pertaining to the occupancy of the building
                                                                     while operations or other customary
              This will not restrict your insurance.
                                                                     activities are suspended.
I.   Definitions
                                                                  6. "Vacant" means containing no contents per
     1. "Fungus" means any type or form of                           taining to operations or activities cust-
                                                                     omary to occupancy of the building.




                                                        IF
                                                                        IE
                                                                          D

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                           Contact and Complaints Notice

If you should have questions or concerns about your policy, or if you feel that you have
not been offered excellent service please first contact your insurance agent through whom
this insurance was placed. Your agent will be able to advise and provide assistance in




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many cases.

If you are unable to resolve your concern and wish to contact us about a complaint or for
further assistance you may reach us at:




                     RT
By email:
     Complaints@AmRISC.com

By telephone:
       252-247-8760 local number to Morehead City, NC office
       877-284-4900 toll free number to Morehead City, NC office




                                          IF
By mail:
      AmRISC, LLC




                                                       IE
      Complaints Department
      20405 State Highway 249
      Suite 430
      Houston, TX 77070




                                                         D
AmRISC, LLC, including its subsidiary divisions, is the managing general agent and/or
Correspondent and/or Program Manager that has placed your insurance policy with the
insurance carrier(s) listed on your policy declarations page.

We strive to provide excellent service to all of our customers and will take all concerns
seriously and will endeavor to resolve all questions or complaints promptly.




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               U.S. Terrorism Risk Insurance Act of 2002 as amended
                               Not Purchased Clause
 This Clause is issued in accordance with the terms and conditions of the "U.S. Terrorism Risk
 Insurance Act of 2002" as amended as summarized in the disclosure notice.

 It is hereby noted that the Underwriters have made available coverage for “insured losses”
 directly resulting from an "act of terrorism" as defined in the "U.S. Terrorism Risk Insurance Act of
 2002", as amended (“TRIA”) and the Insured has declined or not confirmed to purchase this
 coverage.




CE
 This Insurance therefore affords no coverage for losses directly resulting from any "act of
 terrorism" as defined in TRIA except to the extent, if any, otherwise provided by this policy.

 All other terms, conditions, insured coverage and exclusions of this Insurance including
 applicable limits and deductibles remain unchanged and apply in full force and effect to the
 coverage provided by this Insurance.




                       RT
 LMA5390
 09 January 2020


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                 IF
                  EXCLUSION OF CERTIFIED ACTS OF TERRORISM

   A. The following definition is added with respect to the provisions of this endorsement:




                                                                  IE
        "Certified Act of Terrorism" means an act that is certified by the Secretary of the Treasury,
        in accordance with the provisions of the federal Terrorism Risk Insurance Act, to be an act
        of terrorism pursuant to such Act. The criteria contained in the Terrorism Risk Insurance
        Act for a "Certified Act of Terrorism" include the following:
        1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to




                                                                    D
        all types of insurance subject to the Terrorism Risk Insurance Act; and
        2. The act is a violent act or an act that is dangerous to human life, property or
        infrastructure and is committed by an individual or individuals as part of an effort to coerce
        the civilian population of the United States or to influence the policy or affect the conduct of
        the United States Government by coercion.


    B. The following exclusion is added:
       CERTIFIED ACT OF TERRORISM EXCLUSION
        The Companies will not pay for loss or damage caused directly or indirectly by a "Certified
        Act of Terrorism". Such loss or damage is excluded regardless of any other cause or event
        that contributes concurrently or in any sequence to the loss.


    C. Exception Covering Certain Fire Losses
        As respects to property located in states that have Standard Fire Policy or similar laws
        mandating that insurance Companies provide coverage for “fire following” any Certified
        Acts of Terrorism, the following exception to the exclusion in Paragraph B. applies:
        If a "Certified Act of Terrorism" results in fire, the Companies will pay for the loss or
        damage caused by that fire. Such coverage for fire applies only to direct loss or damage
        by fire to Covered Property. Therefore, for example, the coverage does not apply to
        insurance provided under Business Income and/or Extra Expense coverage forms or




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      endorsements which apply to those forms, or to the Legal Liability Coverage Form or the
      Leasehold Interest Coverage Form.
      If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk
      Insurance Act exceed $100 billion in a calendar year and the Companies have met their
      insurer deductible under the Terrorism Risk Insurance Act, the Companies shall not be
      liable for the payment of any portion of the amount of such losses that exceeds $100
      billion, and in such case insured losses up to that amount are subject to pro rata allocation
      in accordance with procedures established by the Secretary of the Treasury.


   D. Application Of Other Exclusions




CE
      The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a
      terrorism exclusion, do not serve to create coverage for any loss which would otherwise be
      excluded under this Coverage Part or Policy, such as losses excluded by the Nuclear
      Hazard Exclusion or the War and Military Action Exclusion.


    All other terms and conditions remain unchanged.




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                                              IF
                                                              IE
                                                                D

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                 ENHANCEMENT PLUS ENDORSEMENT


 In consideration of the premium charged, it is agreed and understood that the following changes
 are made to this policy:

 1. The following amendments are made to the indicated forms, if attached to this policy:




CE
         A. Property AR PE or AROL PE Endorsement:

                 The “Ordinance or Law Coverage Amendment” clause is deleted.

         B. Business Income (without Extra Expense) CP 00 32 or Business Income (and Extra
            Expense) CP 00 30:




                      RT
            1) The Extended Period of Indemnity is amended on the following forms:

                 a) Business Income (without Extra Expense) CP 00 32:

                     Par. A.4.d. (1) (b) (ii) is amended to state:




                                                IF
                      (ii) 180 consecutive days after the date determined in (1) (a) above.

                     Par. A.4.d. (2) (b) (ii) is amended to state:
                      (ii) 180 consecutive days after the date determined in (2) (a) above.




                                                               IE
                 b) Business Income (and Extra Expense) CP 00 30:

                     Par. A.5.c. (1) (b) (ii) is amended to state:




                                                                 D
                      (ii) 180 consecutive days after the date determined in (1) (a) above.

                     Par. A.5.c. (2) (b) (ii) is amended to state:
                      (ii) 180 consecutive days after the date determined in (2) (a) above.

            2) If shown on the Supplemental Declarations CP 12 05 - Optional Coverages:

                 The 1/12th Monthly Limitation as respects Business Income is revised to 1/3rd
                 monthly limitation SUBJECT TO verification at the time and place of loss that
                 the Insured has reported on the submitted Property App-SOV 100% of the annual
                 Business Income (or Rental Income), including Extra Expense (if covered).

            3) Civil Authority:
                a) Business Income (without Extra Expense) CP 00 32:

                   Par. A.4.b.is amended to state:

                         b. Civil Authority

                            In this Additional Coverage – Civil Authority, the described premises
                            are premises to which this Coverage Form applies, as shown in the
                            Declarations.

 AR EPE 08 18                                 Page 1 of 4
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                          When a Covered Cause of Loss causes damage to property other than
                          property at the described premises, we will pay for the actual loss of
                          Business Income you sustain caused by action of civil authority that
                          prohibits access to the described premises, provided that both of the
                          following apply:
                           (1) Access to the area immediately surrounding the damaged
                                property is prohibited by civil authority as a result of the damage,




CE
                               and the described premises are within that area but are not more
                               than one mile from the damaged property; and
                            (2) The action of civil authority is taken in response to dangerous
                                physical conditions resulting from the damage or continuation of
                                the Covered Cause of Loss that caused the damage, or the action
                                is taken to enable a civil authority to have unimpeded access to




                     RT
                                the damaged property.

                       Civil Authority Coverage will begin 72 hours after the time of the first
                       action of civil authority that prohibits access to the described premises
                       and will apply for a period of up to six consecutive weeks from the date
                       on which such coverage began.




                                              IF
                       The Company shall not be liable for more than the lesser of: the
                       scheduled Business Income limit or $2,500,000 per occurrence.




                                                               IE
                b) Business Income (and Extra Expense) CP 00 30:

                       Par. A.5.a. is amended to state:

                       a. Civil Authority




                                                                 D
                          In this Additional Coverage – Civil Authority, the described premises
                          are premises to which this Coverage Form applies, as shown in the
                          Declarations.

                          When a Covered Cause of Loss causes damage to property other than
                          property at the described premises, we will pay for the actual loss of
                          Business Income you sustain and necessary Extra Expense caused by
                          action of civil authority that prohibits access to the described
                          premises, provided that both of the following apply:
                           (1) Access to the area immediately surrounding the damaged
                                property is prohibited by civil authority as a result of the damage,
                               and the described premises are within that area but are not more
                               than one mile from the damaged property; and
                            (2) The action of civil authority is taken in response to dangerous
                                physical conditions resulting from the damage or continuation of
                                the Covered Cause of Loss that caused the damage, or the action
                                is taken to enable a civil authority to have unimpeded access to
                                the damaged property.

                       Civil Authority Coverage for Business Income will begin 72 hours after
                       the time of the first action of civil authority that prohibits access to the


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                         described premises and will apply for a period of up to six consecutive
                         weeks from the date on which such coverage began.

                         Civil Authority Coverage for Extra Expense will begin immediately after
                         the time of the first action of civil authority that prohibits access to the
                         described premises and will end:

                           (1) Six consecutive weeks after the date of that action; or




CE
                           (2) When your Civil Authority Coverage for Business Income ends;

                           whichever is later.

                 The Company shall not be liable for more than the lesser of: the scheduled
                 Business Income limit or $2,500,000 per occurrence.




                      RT
           4) Ingress/Egress:

                 This Policy is extended to cover the actual loss sustained during the period of
                 time when ingress to or egress from the Insured’s real or personal property is
                 prohibited as a direct result of a Covered Cause of Loss to real property not




                                                 IF
                 insured hereunder.

                 Coverage will begin 72 hours after the Covered Cause of Loss that prohibits
                 ingress or egress to the insured premises and will apply for a period of up to six




                                                                IE
                 consecutive weeks from the date on which such coverage began.

                 In no event will the Company pay more than $2,500,000 any one occurrence.




                                                                  D
                 In the event loss or damage involves this Ingress/Egress extension and the Civil
                 Authority extension, the Company shall not be liable for more than the scheduled
                 Business Income limit or $2,500,000 any one occurrence, whichever is less, as
                 respects both coverages combined.


        C. Building & Personal Property CP 00 10 and Condominium Association CP 00 17:

           1) The Vacancy Provisions (CP 00 10 - Par. E.6.b. and CP 00 17 - Par. E. 7.b.) are
              waived for properties identified as “vacant” on the Statement of Values (SOV).
              For a newly vacated property, the Insured has 60 days to report it to the Property
              Manager before a coverage change. If the Insured reports within this 60 day
              period, the property will be considered “identified vacant” and will have the full
              coverage of the policy and the Vacancy Provisions will be waived.

                If a vacant location is not identified and reported to the Program Manager on the
                SOV or within 60 days of becoming vacant, the location will be subject to twice
                the original applicable Deductible, or $50,000, whichever is higher. The Vacancy
                Provisions will be waived.

                The carriers have the option to surcharge the vacant location effective as of the
                vacancy date for up to 15% of the account rate when the location’s values are
                more than 10% of the total values insured by the policy.


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        D. Cat Covered Property AR CCP Endorsement:

              1) The following additional sublimits shall apply:

                 $ As per Statement of Values: Per Occurrence as regards signs, fences or
                 lightpoles, provided these items & limits are scheduled as such.




CE
                 $ As per Statement of Values: Per Occurrence as regards garages and sheds,
                 provided these items & limits are scheduled as such.

                 The scheduled items sublimited above are not subject to the separate Wind
                 deductible provisions. The Wind deductibles as stated in the policy will apply.




                      RT
         E. Ordinance or Law Coverage AR 04 05

                 Item 2 on Page 1 regarding the 50% damage requirement point is deleted.




                                               IF
 2. Ordinance or Law Increased Period of Restoration CP 15 31:

    Provided this policy covers both Business Income (with or without Extra Expense) and
    Ordinance or Law (per Form AR 04 05), the policy is extended to cover Ordinance or Law




                                                                IE
    Increased Period of Restoration per the attached form (if not already attached to the policy).

 3. Special Premium Provisions as respects deletion or addition of locations:

     A. Subject to receipt of closing documents within 30 days of closing, this policy allows pro-




                                                                  D
        rata return premium for locations sold (but not for loss of management contract), subject
        to a maximum of 25% of scheduled values.

     B. Subject to receipt of closing documents, this policy allows pro-rata additional premium for
        locations purchased during the policy term. Construction of like kind and quality shall be
        added at the account rate. Locations of differing kind and quality or locations in Dade,
        Broward or Palm Beach counties of Florida must be approved by the Program Manager
        prior to attachment.




 All extensions of coverage and sublimits provided herein are within the Limits of Liability
 otherwise stated in the policy, not in addition to the Limits of Liability.



 All other terms and conditions remain unchanged.




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                                                                                     COMMERCIAL PROPERTY
                                                                                           CP 15 31 10 12

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             ORDINANCE OR LAW – INCREASED PERIOD
                       OF RESTORATION

This endorsement modifies insurance provided under the following:




    CE
   BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
   BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM
   EXTRA EXPENSE COVERAGE FORM

A. If a Covered Cause of Loss occurs to property                     (2) Immediately after the time of direct




                            RT
   at the premises described in the Declarations,                        physical loss or damage for Extra
   coverage is extended to include the amount of                         Expense coverage;
   actual and necessary loss you sustain during                      caused by or resulting from any Cov-
   the increased period of "suspension" of "oper-                    ered Cause of Loss at the described
   ations" caused by or resulting from a require-                    premises; and
   ment to comply with any ordinance or law
   that:                                                        b.   Ends on the earlier of:




                                                   IF
   1. Regulates the construction or repair of any                    (1) The date when the property at the
      property;                                                          described premises should be re-
                                                                         paired, rebuilt or replaced with rea-
   2. Requires the tearing down of parts of any                          sonable speed and similar quality;
      property not damaged by a Covered Cause                            or




                                                                     IE
      of Loss; and
                                                                     (2) The date when business is resumed
   3. Is in force at the time of loss.                                   at a new permanent location.
   However, coverage is not extended under this                 "Period of restoration" includes any in-
   endorsement to include loss caused by or re-                 creased period required to repair or recon-




                                                                       D
   sulting from the enforcement of or compli-                   struct the property to comply with the
   ance with any ordinance or law which requires:               minimum standards of any ordinance or
   1. The demolition, repair, replacement, recon-               law, in force at the time of loss, that reg-
      struction, remodeling or remediation of                   ulates the construction or repair, or re-
      property due to contamination by "pol-                    quires the tearing down of any property.
      lutants" or due to the presence, growth,                  The expiration date of this policy will not
      proliferation, spread or any activity of                  cut short the "period of restoration".
      "fungus", wet or dry rot or bacteria; or
                                                         C. The following definition is added:
   2. Any insured or others to test for, monitor,
      clean up, remove, contain, treat, detoxify            "Fungus" means any type or form of fungus,
      or neutralize, or in any way respond to, or           including mold or mildew, and any mycotoxins,
      assess the effects of "pollutants", "fun-             spores, scents or by-products produced or re-
      gus", wet or dry rot or bacteria.                     leased by fungi.

B. The period of restoration definition is replaced
   by the following:
   "Period of restoration" means the period of
   time that:
       a.   Begins:
            (1) 72 hours after the time of direct
                physical loss   or damage for
                Business Income coverage; or




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